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             EXHIBIT 7
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          Alan C. Whitehouse, M.D.

   In re: W.R. Grace & Co., Debtor

                    June 16, 2009




                    Phone: 206 287 9066
                     Fax: 206 287 9832
               Email: info@buellrealtime.com
              Internet: www.buellrealtime.com
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         In re: W.R. Grace & Co., Debtor                                                            Alan C. Whitehouse, M.D.


                                                                                                                     Page 1
              1                        IN THE UNITED STATES BANKRUPTCY COURT
              2                                   FOR THE DISTRICT OF DELAWARE
              3       _____________________________________________________
              4       In re:                                                ) Chapter 11
                                                                            )
              5       W.R. GRACE & CO., et al.,                             ) No. 01-01139 (JKF)
                                                                            )
              6                                          Debtors.           )
              7       _____________________________________________________
              8           Videotaped Deposition Upon Oral Examination Of
                                    ALAN C. WHITEHOUSE, M.D.
              9       _____________________________________________________
           10
                                       Taken at 17620 International Boulevard
           11                                   Seattle, Washington
           12
           13
           14
           15
           16
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           18
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           20
           21
           22
           23
           24         DATE TAKEN:                 June 16, 2009
           25         REPORTED BY:                  CATHY ZAK, CCR# 1922


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           5            P.O. Box 2325                                                4
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          19             202.659.6619                                               20
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          22           Attorney at Law                                                           with Growth and Aging
                       1401 Elm Street, Suite 4620                                  23
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           5             AXELBERG                                                   4               Permanent Impairment
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           6           P.O. Box 7370                                                                Medicine and Toxicology
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           7           406.751.6010                                                      12          Lung Function Testing:       102
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           9           BRAD M. ELIAS                                                                and Interpretative Strategies
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                                                                                    8
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                       7 Times Square                                                    13          Asbestos-Induced Pleural             102
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          12                                                                        10
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          16            212.269.4900                                                14   16          CARD Mortality Study       253
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          18            ANDREW K. CRAIG                                             16   ***** (* Denotes phonetic spelling.)
                        CUYLER BURK                                                 17
          19            4 Century Drive                                             18
                        Parsippany, New Jersey 07054                                19
          20            973.734.3225
                                                                                    20
          21   Also Present:
          22            CECIL GRANT - Videographer                                  21
                        JEANNA RICKARDS                                             22
          23                                                                        23
          24                 * * * * *                                              24
          25                                                                        25


                                                                                                                                                       2 (Pages 2 to 5)
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                                                                 Page 6                                                         Page 8
           1              BE IT REMEMBERED that on Tuesday,                1             COURT REPORTER: I'm sorry. Could you
           2    June 16, 2009, at 17620 International Boulevard,           2   repeat the name again? I can't hear you.
           3    Seattle, Washington, at 8:33 a.m., before CATHY M.         3             MS. DeCRISTOFARO: Sure. It's
           4    ZAK, CCR, Notary Public in and for the State of            4   Elizabeth DeCristofaro. That's
           5    Washington, appeared ALAN C. WHITEHOUSE, M.D., the         5   D-E-C-R-I-S-T-O-F-A-R-O.
           6    witness herein;                                            6             MR. RICH: Alan Rich for the Property
           7              WHEREUPON, the following proceedings             7   Damage Future Claimants' Representative.
           8    were had, to wit:                                          8             THE VIDEOGRAPHER: Is that everyone on
           9                                                               9   the phone?
          10                    <<<<<< >>>>>>                             10             MR. CRAIG: Hi. Andrew Craig,
          11                                                              11   C-R-A-I-G, for Allstate Insurance.
          12              THE VIDEOGRAPHER: Good morning. We're           12             THE VIDEOGRAPHER: The court reporter
          13    now on the record. Today is June 16th, 2009, and the      13   today is Cathy Zak with Buell Realtime Reporting.
          14    time is now 8:33 a.m. The location of today's             14         Please swear in the witness and proceed with
          15    deposition is 17620 International Boulevard, SeaTac,      15   the deposition.
          16    Washington 98188.                                         16
          17          My name is Cecil Grant, video specialist            17   ALAN C. WHITEHOUSE, M.D., having been first duly
          18    representing Buell Realtime Reporting out of Seattle,     18                  sworn by the Notary,
          19    Washington, for this cause number 01-1139 JKF in re       19                  deposed and testified as
          20    W.R. Grace & Company, et al.                              20                  follows:
          21          Today's deponent is Dr. Alan C. Whitehouse.         21
          22          Would counsel please identify themselves and        22
          23    state whom you represent?                                 23                EXAMINATION
          24              MR. FINCH: My name is Nathan Finch. I           24   BY MR. FINCH:
          25    represent W.R. Grace and Official Committee of            25     Q Dr. Whitehouse, as you heard before, my name

                                                                 Page 7                                                         Page 9
           1    Asbestos Personal Injury Claimants. With me is my          1   is Nate Finch and I represent the Grace ACC or
           2    colleague Jeanna Rickards.                                 2   Official Committee of Asbestos Personal Injury
           3              MR. LONGOSZ: My name Edward Longosz              3   Claimants.
           4    and I represent Maryland Casualty and Zurich.              4           Are you taking any medications that would
           5              MR. STANSBURY: Brian Stansbury,                  5   preclude your ability to understand questions or
           6    Kirkland & Ellis, and I represent W.R. Grace &             6   remember things?
           7    Company.                                                   7        A No.
           8              MR. LEWIS: Tom Lewis. I represent the            8        Q Is there any reason as you sit here today you
           9    Libby claimants.                                           9   can think of why you wouldn't be able to understand
          10              MS. BLOOM: Heather Bloom with                   10   and remember things as well today as you normally do?
          11    Kirkland & Ellis and I represent W.R. Grace.              11        A No. I do wear hearing aids and people need
          12              THE VIDEOGRAPHER: Counsel on the                12   to talk up.
          13    phone.                                                    13        Q Okay. I'll do that. If you don't understand
          14              MR. FINCH: Hello? Is there any                  14   one of my questions, can you please let me know and
          15    counsel on the telephone.                                 15   I'll attempt to rephrase it and make it more clear?
          16              MR. ELIAS: Hello. This is Brad Elias            16        A I will.
          17    from O'Melveny & Myers. We represent Arrowood             17               MR. FINCH: Madam Court Reporter, can
          18    Indemnity Company. I'm here with my colleague Gary        18   we mark this as Whitehouse Exhibit-1?
          19    Svirsky.                                                  19                  (Exhibit-1 marked for
          20              MS. TRAVIS: Hello. This is Samantha             20                    identification.)
          21    Travis representing the State of Montana.                 21        Q (By Mr. Finch) Dr. Whitehouse, do you have
          22              MS. DeCRISTOFARO: Hello. This is                22   Whitehouse Deposition Exhibit-1 in front of you?
          23    Elizabeth DeCristofaro of Ford Marrin representing        23        A I do.
          24    Continental Casualty Company and Continental              24        Q Could you just verify that this is your May
          25    Insurance Company.                                        25   2009 expert witness report in the Grace bankruptcy

                                                                                                                      3 (Pages 6 to 9)
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                                                              Page 10                                                        Page 12
           1    case with the attachments except that I haven't          1   mesothelioma medical exposure criteria; is that
           2    included all of the CD ROMs? I've just not included      2   correct?
           3    those, but the rest of the attachments I believe we      3      A Show me that paragraph again before I answer
           4    have collected and --                                    4   that question to be sure. Where's it located again?
           5        A It would appear that way.                          5      Q Well, you talk about mesothelioma.
           6        Q Okay. Now, you have submitted in addition to       6      A Yeah, I don't think so, but I want to make
           7    this May 2009 report a report in December of 2008 and    7   sure.
           8    another report in March of 2009; is that correct?        8      Q You want to see the paragraph from the TDP?
           9        A I believe so.                                      9      A No, the paragraph in here relative to it.
          10        Q Is the May 2009 report that is Whitehouse         10      Q Well, you talk about --
          11    Deposition Exhibit-1 -- as I read this, it looks like   11      A And the paragraph in the TDP too.
          12    it appears to supplement and update and replace the     12              MR. FINCH: Why don't we mark the TDP
          13    March report and the December report?                   13   as Deposition Exhibit-2.
          14        A Yeah, basically it does. It just updates          14                 (Exhibit-2 marked for
          15    what's been done before.                                15                   identification.)
          16        Q Okay. So this report, Whitehouse Exhibit-1,       16      Q (By Mr. Finch) And the reason,
          17    the May 2009 report contains -- leaving aside your      17   Dr. Whitehouse, I don't want to refer you to your
          18    rebuttals to the other medical experts, but this        18   reports is because I've read through all your reports
          19    contains your opinions and conclusions you've been      19   and I didn't see anything in there that criticized
          20    asked to testify about in the Grace case?               20   the mesothelioma medical exposure criteria and the
          21        A Yes.                                              21   TDP.
          22        Q Do you understand what the purpose of an          22      A I don't know there is actually, but I want
          23    expert witness report is?                               23   to -- I want to be sure.
          24        A Yes.                                              24                 (Mr. Bernick enters.)
          25        Q And what's your understanding of what the         25      Q (By Mr. Finch) Okay. Page 24 of the TDP.

                                                              Page 11                                                        Page 13
           1    purpose of that expert witness report is?                1       A No, I don't have any problems with it.
           2       A I guess the best way to put it is to put up         2       Q When you came in the room today, your counsel
           3    front the opinions relative to the situation at hand.    3   handed out this document.
           4       Q To put forth the opinions you're going to           4              MR. FINCH: Let's make this Whitehouse
           5    give and the basis for those opinions; is that fair?     5   Exhibit-3.
           6       A That's correct.                                     6                  (Exhibit-3 marked for
           7       Q Okay. I've read -- and you understand that          7                   identification.)
           8    this is a bankruptcy case where the Court is going to    8              MR. LEWIS: Actually, Dr. Whitehouse --
           9    be asked to either approve or disapprove a plan of       9       A I have a copy of it already, so... (Pause.)
          10    reorganization. Do you have that understanding?         10              MR. BERNICK: Well, is there --
          11       A That's true.                                       11       A I didn't bring this one with me.
          12       Q And as I understand it, you have reviewed the      12       Q (By Mr. Finch) Okay.
          13    medical and exposure criteria in what's called the      13              MR. LEWIS: And it was prepared by my
          14    Grace Trust Distribution Procedures, TDP?               14   co-counsel, Jon Heberling and his firm, so I don't
          15       A I have.                                            15   want to mislead anybody on that.
          16       Q And you have some opinions about the Grace         16       Q (By Mr. Finch) Dr. Whitehouse, what is
          17    TDP? Can I call it the Grace TDP?                       17   Whitehouse Deposition Exhibit-3?
          18       A I do.                                              18       A What is what?
          19       Q Do you have opinions about the medical and --      19       Q What is Whitehouse Deposition Exhibit-3?
          20    well, you have some opinions about the Grace TDP that   20   What is this document?
          21    you have described at various places in your reports,   21       A Oh, basically, I don't understand all the
          22    correct?                                                22   machinations that went into this except that in order
          23       A Correct.                                           23   to maintain confidentiality of patients that are not
          24       Q I've read through all of your reports in this      24   clients of these two attorneys and to not violate
          25    case and I didn't see any criticism of the              25   HIPAA rules, they were identified by number and by

                                                                                                                 4 (Pages 10 to 13)
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                                                              Page 14                                                        Page 16
           1    initials in here and this is basically the numbering     1   Libby with various forms of asbestos disease due to
           2    of all their clients, plus all the other people that     2   what we call Libby asbestos, but I also in my
           3    are involved in studies and things like that that are    3   practice have been involved in seeing a large number
           4    presented here like that paper and the mortality         4   of people with predominantly chrysotile disease,
           5    study.                                                   5   basically commercial chrysotile disease from Hanford
           6           So it totals about 1,030 numbers, of which a      6   and Wallula Paper Mill and a beet factory in Moses
           7    good number of are initials because they're              7   Lake and the shipyards in western Washington, a lot
           8    confidential.                                            8   of them sent to me by State of Washington for
           9        Q Okay. And on the first page of this separate       9   evaluation of their disease, and then a lot of them
          10    cover page, there's a column that says Libby            10   that I followed over a period of years.
          11    Claimant --                                             11      Q What do you mean in your report and opinions
          12        A Yes.                                              12   by Libby asbestos?
          13        Q -- do you see that?                               13      A Well, basically what's happened is that when
          14           So if it says yes, that means there's            14   Libby -- or when the asbestos problems in Libby were
          15    somebody that sued or would otherwise sue W.R. Grace    15   originally defined, the fiber itself was
          16    there because they filed a lawsuit?                     16   characterized not as tremolite, which is what it -- a
          17        A That's correct and then if you'll notice, the     17   term that it had been used for for years. It was
          18    ones that say Libby Claimant, no, they're usually --    18   then defined as winchite, richterite, with some
          19    there should be initials by those.                      19   degree of tremolite, and was a different -- different
          20        Q Okay. And those --                                20   compound and in order to not have a mouthful of
          21        A I actually haven't seen this much myself, but     21   words, everybody has been calling it Libby asbestos
          22    that's what I understand.                               22   since that time.
          23        Q Okay. The people that are nos are people who      23      Q Okay. So for purposes of your definition,
          24    were not the clients of either Mr. Heberling's law      24   Libby asbestos refers to the mix of winchite,
          25    firm or Mr. Lewis' law firm, right?                     25   richterite, and tremolite that is a contaminant in

                                                              Page 15                                                        Page 17
           1       A Right.                                              1   the vermiculite or that was mined at Libby Mountain
           2       Q Okay. And as I read this, it looks like             2   in Montana?
           3    there's 1,030 people listed on this chart; is that       3      A Yeah, basically.
           4    right?                                                   4      Q Okay. Do you have some kind of position with
           5       A I understand that, mm-hm.                           5   the CARD Clinic?
           6       Q Now, this doesn't -- these are the people           6      A I'm a pulmonary consultant to the CARD
           7    that -- this doesn't include all 1,800 patients with     7   Clinic. I go up there on a fairly regular basis. I
           8    asbestos-related disease that have been seen by the      8   have been for a number of years.
           9    CARD Clinic, does it?                                    9      Q Are you paid a salary at all by the CARD
          10       A No.                                                10   Clinic?
          11       Q So you haven't -- or people have not produced      11      A I am.
          12    the medical records for about 800 of the 1,800          12      Q What's that salary?
          13    people; is that correct?                                13      A It basically is $1,000 a day when I'm there.
          14       A As far as I know. I -- I've really not been        14      Q And I noticed in your expert report that you
          15    privy to all that's gone on with that.                  15   say that your hourly rate is $350 an hour. What do
          16       Q Okay. Could you turn in your expert report,        16   you charge $350 an hour to do?
          17    Whitehouse Deposition Exhibit-1, on Page 1? The         17      A Depositions.
          18    bottom of Page 1, you write, I am in a position to      18      Q Did you charge for your time in preparing the
          19    compare asbestos disease from Libby asbestos to         19   expert report?
          20    asbestos disease from chrysotile asbestos.              20      A I do.
          21          Do you see that?                                  21      Q Did you charge for your time in either
          22       A Yes.                                               22   testimony before workers compensation boards or other
          23       Q What do you mean by asbestos disease from          23   kind of courtroom testimony in addition to deposition
          24    Libby asbestos?                                         24   testimony?
          25       A Well, I've seen a large number of people from      25      A I do.

                                                                                                                 5 (Pages 14 to 17)
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                                                              Page 18                                                        Page 20
           1       Q Approximately how much money have you made          1              MR. LEWIS: Are you representing that
           2    over the past five years as a result of being asked      2   this is accurate --
           3    to give expert reports or testimony on matters           3              MR. FINCH: Yes.
           4    relating to Libby asbestos?                              4              MR. LEWIS: -- an accurate
           5       A Well, there's also the Department of Justice        5   reproduction?
           6    that had paid me as well, which you probably know as     6              MR. FINCH: Yes.
           7    well. I guess probably over $100,000, but I'm not        7              MR. LEWIS: Thank you.
           8    sure I know the exact amount. I've never added it        8              MR. FINCH: It's an accurate
           9    up.                                                      9   reproduction of what's on the Web site.
          10               MR. FINCH: Why don't we mark this as         10      A I see it.
          11    the next exhibit.                                       11      Q (By Mr. Finch) All right. Can you go to
          12       Q (By Mr. Finch) Are you aware that the CARD         12   the -- can I see your copy, Dr. Whitehouse, just for
          13    Clinic maintains a Web site?                            13   a second?
          14       A Yes.                                               14      A Sure. (Document passed.)
          15                   (Exhibit-4 marked for                    15      Q All right. I've put a tab on the page I want
          16                    identification.)                        16   you to turn to.
          17       Q (By Mr. Finch) Did you have any -- who --          17      A Okay.
          18    did you have any role in reviewing the information      18              MR. LEWIS: Let me see that.
          19    put on the Web site?                                    19              THE WITNESS: (Document passed.)
          20       A No, and I have no idea what's on it now.           20      Q (By Mr. Finch) Do you see that the title of
          21       Q Would you expect that things that the CARD         21   that says, Libby Amphibole Asbestos Exposure in
          22    Clinic would say about Libby asbestos disease and       22   Libby, Montana?
          23    asbestos disease in general on their Web site to be     23      A Yes.
          24    truthful and accurate?                                  24      Q The one, two, three, fourth -- fifth
          25       A Yeah, I can't -- I can't answer that               25   paragraph down -- and I'm going to read from the

                                                              Page 19                                                        Page 21
           1    question. I have not looked at the Web site since        1   typewritten version of this as opposed to the
           2    the first draft, and the thing's came out probably       2   printout version because it's -- you can see all the
           3    over five, six years ago. I haven't even looked at       3   words better, but it says, Zonolite and Monocote are
           4    it since then.                                           4   two trade names under which Libby vermiculite
           5        Q Okay. Would you turn to what's been marked         5   products were marketed. There are two overwhelming
           6    as Whitehouse Deposition Exhibit-4, and this is          6   examples of the extent to which exposure can spread
           7    what -- I'll represent to you this is what I printed     7   through commercial products.
           8    out from the CARD Clinic Web site a couple of weeks      8          And then it talks about vermiculite --
           9    ago. There's a section that says, frequently asked       9   Zonolite attic insulation and Monocote spray-on
          10    questions. Do you see that?                             10   fire -- fire proofing. Do you see that?
          11        A What page are --                                  11       A I do.
          12        Q Oh, the front page.                               12       Q Did you -- do you have the understanding that
          13        A Right here?                                       13   Libby asbestos was a contaminant in both Monocote
          14        Q If you skip past all of the -- and what I         14   spray-on fire proofing and Zonolite attic insulation?
          15    have done -- because when I printed this out, it cut    15       A That's my understanding.
          16    off the columns on the right-hand side. I had my        16       Q Did you also understand that it was in -- a
          17    secretary go and cut and paste all the words into the   17   contaminant in many of Grace's other commercial
          18    document behind it so that you can see -- for           18   construction products as well?
          19    example, if you go about seven pages back, you see      19       A Yeah, although I don't know the exact extent
          20    where the text type changes? All we've done is we've    20   of them.
          21    taken the text that -- as it appears --                 21       Q Okay. So to the extent that it is -- let me
          22        A Oh, I see what you've done.                       22   back up.
          23        Q -- on the Web page so you can see the whole       23          You're of the view that asbestos Libby (sic)
          24    sentence wrap around as opposed to being cut off. Do    24   from Libby asbestos causes pleural disease that's
          25    you see that?                                           25   more severe than seen in cohorts of people who were

                                                                                                                  6 (Pages 18 to 21)
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                                                              Page 22                                                        Page 24
           1    exposed to asbestos that is not Libby asbestos?          1   cancer?
           2       A Both in degree and in amount for a number of        2      A Yes.
           3    patient -- people that were exposed to it, yes.          3      Q Okay. And that's the same whether they're
           4       Q Let me back up.                                     4   exposed to Libby asbestos or chrysotile asbestos?
           5          What do you mean by degree?                        5      A Yes.
           6       A It's very hard to quantitate to what degree         6      Q Okay. So to that extent, lung cancer isn't
           7    because you can find examples of people with exposure    7   any more severe if you get it from being exposed to
           8    that have severe pleural disease, but the frequency      8   Libby asbestos than if you got exposed to it from
           9    of people with severe pleural disease and the            9   chrysotile asbestos?
          10    frequency of death from severe pleural disease          10      A Probably not.
          11    appears to be significantly worse with Libby            11      Q Okay. What about gastrointestinal tract
          12    asbestos.                                               12   cancer? There's no difference in severity for those
          13       Q With Libby asbestos.                               13   kinds of cancers if you were exposed to Libby
          14          Now, mesothelioma is a disease caused by          14   asbestos as opposed to chrysotile asbestos?
          15    exposure to asbestos, right?                            15      A As far as I know.
          16       A Yes.                                               16      Q Now, most of your opinions focus on pleural
          17       Q Would you agree with me that the prognosis         17   disease. Have you -- I didn't see anywhere in your
          18    for someone who develops mesothelioma as a result of    18   report where you asserted or indicated that
          19    being exposed to pure chrysotile asbestos is no         19   asbestosis -- and by asbestosis, I mean interstitial
          20    different than the prognosis for someone who was        20   fibrosis of the parenchyma of the lung. Do you
          21    exposed to Libby asbestos?                              21   understand that definition of asbestos?
          22       A Well, they're all going to die from it.            22      A I do.
          23       Q So would you agree with me that at least for       23      Q Okay. I didn't see any assertion that
          24    mesothelioma, mesothelioma caused by Libby asbestos     24   asbestosis caused by Libby asbestos, that the
          25    isn't more severe or more fatal than mesothelioma       25   prognosis for that person is any different than

                                                              Page 23                                                        Page 25
           1    caused by chrysotile asbestos?                           1   asbestosis caused by chrysotile asbestos.
           2       A No, I would agree with that.                        2      A I think the school is still out on that.
           3       Q Okay. Would you also agree with me that the         3      Q Okay. So you don't -- sitting here today,
           4    prognosis from someone who develops lung cancer as a     4   you can't give an opinion that asbestosis caused by
           5    result of exposure to Libby asbestos is no better or     5   Libby asbestos is more severe or more likely to lead
           6    no worse than the prognosis of someone who develops      6   to death than asbestosis caused by chrysotile
           7    lung cancer as a result of exposure to chrysotile        7   asbestos?
           8    asbestos?                                                8      A I can't make that statement, no.
           9       A It's probably not any different, but it may         9      Q Okay. So really what you're talking about as
          10    depend, on an individual case, on the degree of         10   being more severe asbestos disease from Libby
          11    underlying asbestos disease they have.                  11   asbestos as opposed to chrysotile asbestos is pleural
          12       Q But generally speaking, if you get lung            12   disease, correct?
          13    cancer, nine times out of ten you're going to die       13      A The pleural disease and the things that are
          14    from lung cancer, right?                                14   associated with pleural disease than Libby which does
          15       A I don't think that that has been our               15   not necessarily exclude interstitial disease or
          16    experience.                                             16   subpleural interstitial disease.
          17       Q What's been your experience?                       17      Q Well, would you also agree with me -- let me
          18       A Well, we do a lot screening for lung cancer        18   back up, Doctor.
          19    and we found a significant number of small nodules      19         You know Dr. Art Frank, correct?
          20    that I'm reasonably certain we have cures from. I       20      A I do.
          21    don't have the data as to what percentage of death      21      Q Did you read his deposition in preparation
          22    from lung cancer in Libby we have, but it's, I think,   22   for your deposition today?
          23    less than nine out of ten.                              23      A I did.
          24       Q Okay. Would you agree with me that the             24      Q Did you -- did you see where I asked him the
          25    majority of people who get lung cancer die from lung    25   question of whether there was some kind of magical

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                                                               Page 26                                                        Page 28
           1    shield around Lincoln County, Montana, that would         1   Ph.D. who has tested various Grace commercial
           2    make exposure to Libby asbestos in Montana more           2   construction products and is of the view or actually
           3    likely to lead to disease or death as compared to         3   has confirmed that they, A, contain Libby asbestos --
           4    exposure with Libby asbestos in New York City, for        4   a lot of them contain asbestos in the vermiculite fix
           5    example?                                                  5   that went in as filler to those products like
           6        A I don't have any evidence to, you know,             6   Monocote. I take it you don't dispute or have any
           7    really make any real comment on that because what         7   basis to challenge his conclusions about that?
           8    I've studied has been strictly asbestos in Libby.         8              MR. LEWIS: Object to the form of the
           9        Q Okay. So you can't say, for example, that           9   question on the grounds that it's compound.
          10    people who are exposed to Libby asbestos in Libby are    10              MR. FINCH: Let me rephrase.
          11    any sicker or have a different severity of their         11              MR. LEWIS: And it's unintelligible as
          12    pleural disease as compared to people who are exposed    12   stated.
          13    to Libby asbestos in Ohio at a vermiculite processing    13       Q (By Mr. Finch) Did you understand my
          14    facility or in New York at a construction site, can      14   question?
          15    you?                                                     15       A Yeah, I understand your question, but, you
          16        A No, except that I have seen about a half of a      16   know, I can't recall. That was a long report with, I
          17    dozen patients over ten years from various expansion     17   mean, all kinds of permutations and combinations of
          18    plants and other jobs, not only in Spokane, in           18   times and compounds that he was obviously aware of
          19    California, Minnesota who had very severe disease.       19   and I wasn't, so I'm not sure I can really comment on
          20        Q They had very severe disease as a result of        20   it.
          21    being exposed to the Libby asbestos?                     21       Q Okay. So you're just not in a position to
          22        A Yes.                                               22   comment on it one way --
          23        Q And so would you agree with me then that           23       A No.
          24    the -- let me back up.                                   24       Q -- or another?
          25           Mr. Lewis used a term when he said who he         25         And so if he were to come in and testify that

                                                               Page 27                                                        Page 29
           1    represented. He said he represents the Libby              1   Libby asbestos ended up in vermiculite that went into
           2    claimants. And I understood that to mean people who       2   a broad range of Grace's asbestos containing
           3    have filed a lawsuit or would have filed a lawsuit        3   products, you couldn't comment on that one way or
           4    against W.R. Grace. Do you have that understanding?       4   another?
           5       A Yes.                                                 5      A No, I could comment on it that there's a
           6       Q Okay. But you're a doctor and you look at            6   significant risk to people that are exposed to that
           7    people who -- or a patient with asbestos disease,         7   compound.
           8    correct?                                                  8      Q Okay. Let's go back to your report. Put
           9       A That's correct.                                      9   aside, at least for now, the CARD Clinic Web page
          10       Q And you treat people regardless of whether          10   printout, and you have the TDP over there.
          11    they're a claimant or not a claimant?                    11          Okay. You see at paragraph 22 in your
          12       A Yeah. Most of the time when I see them, I           12   report?
          13    don't even know whether they're a claimant or not.       13      A Paragraph 22?
          14       Q Okay. And so would you agree with me that to        14      Q Paragraph 22, Page 10.
          15    the extent there is something different about the        15      A I do.
          16    Libby asbestos that causes more severe pleural           16      Q You're describing the impact on asbestos
          17    disease that would affect people who aren't Libby        17   disease due to Libby asbestos exposure. Do you see
          18    claimants, i.e., people who were exposed to Libby        18   that?
          19    asbestos outside of Libby, Montana, just as it would     19      A Yes.
          20    affect people in Libby, Montana?                         20      Q In that paragraph, you're talking about the
          21       A I'd make that assumption, yes.                      21   progression of non-malignant disease; is that
          22       Q And have you read William Longo's* report in        22   correct?
          23    the Grace case?                                          23      A That's correct.
          24       A It's been quite a while since I read it.            24      Q Okay. At the last sentence, you write, At
          25       Q He is -- he is not a medical doctor. He is a        25   the end stage, the patient is bedridden, oxygen

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           1    dependent, and generally the hypoxia will lead to          1   fact that we don't know where they started from. You
           2    organ malfunction and death.                               2   start with healthy people who have been hard working
           3          Do you see that?                                     3   all their life, particularly people who've done
           4       A Yes.                                                  4   physical labor. You may find normal values that are
           5       Q And just for purposes of the record, please           5   in the range of 140 percent of predicted, and so then
           6    define hypoxia.                                            6   you cannot always assume that somebody that has 100
           7       A Hypoxia is a low -- low oxygen level beyond           7   percent of predicted that that's normal for them,
           8    the lower limits of what is considered to be normal.       8   that they may have lost 40 percent, but you have no
           9       Q Now, when someone reaches the point -- would          9   way of knowing that, but that may correlate with
          10    you agree with me that people that -- shortness of        10   their shortness of breath.
          11    breath is a symptom. Someone comes -- a patient           11       Q Okay. I understand that that's sometimes
          12    comes to you and says, I'm having problems breathing.     12   called the healthy worker phenomenon where the people
          13    That's a symptom that a patient describes to a            13   that may be outliers in the sense that they started
          14    doctor, correct?                                          14   out at 120 percent of predicted or 140 percent of
          15       A Correct.                                             15   predicted, they can lose a significant amount of
          16       Q Okay. Now, a doctor can do a variety of lung         16   their lung function, but would still show up as,
          17    function tests to see how their lung function has         17   quote, normal on a spirometry test or a lung capacity
          18    been impacted and may be causing shortness of breath,     18   test?
          19    correct?                                                  19       A They could, although I've never seen that
          20       A They don't usually start there though.               20   term healthy worker used that way.
          21       Q Where do they usually start?                         21       Q Okay. Let's say if you took somebody who was
          22       A The physical history and physical exam.              22   a subforeman, they may have super optimal lung
          23       Q Okay. So you do the physical history and the         23   capacity and that guy might be, say, 150 percent of
          24    physical exam, and then at some point, you do a           24   predicted and lose 50 percent of his lung capacity
          25    series of lung function tests, correct?                   25   and still show up as 100 percent of predicted as a

                                                                Page 31                                                        Page 33
           1       A Correct.                                              1   normal population even though he's suffered lung
           2       Q Okay. And the lung function test that you             2   function, correct?
           3    normally do in someone who's an asbestos-exposed           3      A That's possible, although, you know, he's not
           4    person would be what?                                      4   going to be running four minute miles any more.
           5       A Well, we do, routinely, spirometry before and         5      Q I rather suspected that.
           6    after bronchodilator, lung volumes in a body               6         But would you agree with me that the way
           7    plethysmograph and diffusion capacities.                   7   the -- what does it mean to be -- to be above the
           8       Q Okay. Diffusion capacities is sometimes               8   lower limit of normal?
           9    called DLCO?                                               9      A Well, the problem -- I don't know if it's a
          10       A Never heard that used. D-L-C-O.                      10   problem with lung function tests, but lung function
          11       Q D-L-C-O.                                             11   tests have to be -- they don't get interpreted in a
          12          And how do -- and would you agree with me           12   vacuum meaning the nominal norms plus or minus two
          13    that the patient's score on the various lung function     13   standard deviations, which is a range of 80 to 120
          14    tests that you administer provide an objective            14   percent, there's at least twenty different sets of
          15    measurement as to how, if at all, their lung function     15   normal values out there that have been done over the
          16    has been affected or damaged, correct?                    16   years and --
          17       A It may.                                              17      Q You're speaking of the reference equation?
          18       Q It may.                                              18      A Yeah, the reference equations and all, so,
          19          So there could be people who genuinely and          19   you know, the ones that I use and the ones that have
          20    truthfully and honestly say, I'm experiencing             20   been used for timing memorial for a lung function,
          21    shortness of breath, yet when you do a total lung         21   probably the most commonly used ones, but there's
          22    capacity or forced vital capacity or DLCO, the lung       22   always change in it, and so you have to interpret
          23    function tests could be in -- you know, within the        23   your pulmonary function studies in light of what you
          24    normal ranges, correct?                                   24   know about the patient and the problems and all
          25       A Well, the problem that you describe is the           25   that -- all the variety of stuff that goes into doing

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                                                              Page 34                                                        Page 36
           1    a diagnostic workup on somebody.                         1      A Well, there was 110 of them that died either
           2        Q But you mentioned two standard deviations          2   with lung cancer that was related to that or with
           3    from normal. Do you understand that basically 95         3   pleural or interstitial disease. Asbestos disease
           4    percent of the people are going to fall between 80       4   was non-malignant.
           5    percent of predicted and 120 percent of predicted?       5      Q Right. The 110 include people who died of
           6        A Yeah, I think that's what it is, yeah.             6   cancer, right?
           7        Q Okay. Would you agree with me that if              7      A It did.
           8    someone dies from -- well, how does the non-malignant    8      Q Okay. And my understanding is of the 110, 76
           9    asbestos diseases caused by Libby asbestos lead to       9   of them died from -- and by that, I'll use quotes --
          10    death? What does it do physiologically to the person    10   died from a non-malignant disease as opposed to a
          11    that kills them?                                        11   cancer?
          12        A It leads to a number of things. It leads to       12      A That's correct.
          13    progressive shortness of breath. Most of them seem      13      Q Okay. Of the 76 people who died from a
          14    to die of -- not most of them, but a large number of    14   non-malignant disease, would you agree with me that
          15    them die of severe loss of lung volume, so they wind    15   the majority of them by the end stage, but a few days
          16    up with vital capacities in the 30 to 40 percent        16   before they died, if you measured their lung
          17    range of predicted or they wind up with diffusion       17   function, it would be well below 60 percent of
          18    capacities down to 20 or 30 percent.                    18   predicted?
          19           So they either -- for the most part, either      19      A Which numbers are you talking about?
          20    die of hypoxia with carbon dioxide retention or they    20      Q Total lung capacity, forced vital capacity or
          21    die of what's called a cor pulmonale which is heart     21   DLCO.
          22    failure due to pulmonary hypertension disease within    22      A Yeah, well, I think that's probably right
          23    their asbestos disease.                                 23   because we had almost 50 percent of them that had
          24        Q But would you agree with me that the majority     24   DLCO as their isolated abnormality and they may have
          25    of people who die from a non-malignant disease caused   25   had minor degrees of lung -- volume loss, but they

                                                              Page 35                                                        Page 37
           1    by exposure to asbestos, at the end stage, they will     1   had a very severe defusion defect.
           2    have lung function test scores that are significantly    2      Q Could you pick up the TDP which is an exhibit
           3    below the lower limits of normal, at least on one of     3   to your deposition? I'm not sure what number it is.
           4    the three tests you mentioned?                           4              MR. LEWIS: Two.
           5       A Well, most of the time. There have been rare        5      Q (By Mr. Finch) Number two. I have reviewed
           6    examples of people that will have only modest degrees    6   your reports and your criticisms of the TDP. I
           7    of loss of lung function and develop severe hypoxia      7   didn't see any criticisms of the amounts of money
           8    associated with that because hypoxia does not            8   that are scheduled to be paid on expedited review to
           9    directly correlate with the lung function test.          9   people that qualify for various levels of disease; is
          10       Q Meaning you can be -- you can still for            10   that correct?
          11    whatever reason be able to get more oxygen in through   11              MR. LEWIS: Object. That's beyond his
          12    your blood even if you have decreased lung function     12   expertise. We're not talking about that question to
          13    and, conversely, you can have not so significant lung   13   this witness.
          14    function decline, but less oxygen in your blood?        14              MR. FINCH: Well, let me just establish
          15       A Right.                                             15   that.
          16       Q But for the majority of people who die from        16      Q (By Mr. Finch) You don't have any expertise
          17    Libby -- you did something called the CARD mortality    17   in the dollar amounts that asbestos bankruptcy trusts
          18    study, correct?                                         18   pay to resolve asbestos personal injury claims, do
          19       A Yes.                                               19   you?
          20       Q And I think the numbers are right here.            20      A No, they just -- they seemed a little bit
          21    Basically, you determined out of 186 people who had     21   paltry to me, but I'm not -- I'm not an expert in
          22    died who had at one time been diagnosed with an         22   that.
          23    asbestos-related disease, that 110 of them, their       23      Q Okay. And you're not an expert in what kind
          24    death was caused in whole or in part by exposure to     24   of values Grace paid when it was a defendant in the
          25    Libby asbestos; is that right?                          25   tort system, both to people in Libby and people

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                                                              Page 38                                                        Page 40
           1    elsewhere? You're not offering any opinions about        1   and all.
           2    that?                                                    2       Q Okay. Now, the TDP was not drafted by you,
           3        A As to how much they have paid?                     3   obviously, correct?
           4        Q Yes.                                               4       A No.
           5        A I have a few numbers in my head from prior         5       Q Have you ever drafted trust distribution
           6    trials, but that's all. That's not enough to draw        6   procedures for any kind of a bankruptcy trust?
           7    any long-term conclusions probably.                      7       A No, and I don't want to.
           8        Q Okay. And so what -- as I understand it,           8       Q Would you agree with me that it's not purely
           9    what you focused on was the medical and exposure         9   a medical document?
          10    criteria for certain of the diseases in the TDP,        10       A I'm not sure I could even answer that. I
          11    correct?                                                11   know it's designed as a way to distribute money to
          12        A Yeah, I try to stick with things that I know.     12   people who are injured, but I'm not sure what I would
          13        Q Okay. And I read all of your reports and I        13   actually call it.
          14    didn't see in any of your reports in the Grace          14       Q Well, it has -- do you understand that the
          15    bankruptcy case any criticism of the exposure           15   medical and exposure criteria are presumptive
          16    requirements, is that correct, for Libby claimants,     16   criteria so that if someone satisfies them, the trust
          17    at least?                                               17   will offer them a settlement in the values in the
          18        A No, actually, it probably isn't dealt with in     18   grid? Do you understand that?
          19    there, although that six-month criteria in there I      19               MR. LEWIS: I'm going to -- I'm going
          20    think is subject to knowing what I know to a fair       20   to object to this on the grounds that this witness is
          21    amount of criticism and mainly because of people that   21   not qualified to answer the question, and based on
          22    have vacationed there for a few weeks or so and then    22   his prior testimony, there's no foundation for -- to
          23    wound up with severe asbestos with interstitial lung    23   ask the question.
          24    disease. In fact, I've got one particular patient       24       Q (By Mr. Finch) You can answer.
          25    that does have that.                                    25       A Repeat the question for me.

                                                              Page 39                                                        Page 41
           1        Q But you haven't -- you know, understand that       1      Q I'll reask it.
           2    the purpose of the report though is to lay out your      2         Do you understand that the medical and
           3    criticisms so I can ask you the basis for them. You      3   exposure criteria in the TDP are set so that if
           4    haven't anywhere in your report, as I read them,         4   people meet them for -- let's pick any of the
           5    criticized the exposure criteria in the TDP.             5   particular disease levels -- if they meet them for
           6        A The exposure criteria as far as time or the        6   that disease, the trust will offer them a settlement
           7    extent of exposure?                                      7   in the amount of money shown in the schedule values?
           8        Q Either or.                                         8   Do you have that understanding that's how the thing
           9        A Or level of exposure?                              9   works?
          10        Q Either one.                                       10              MR. LEWIS: Object on the prior basis
          11        A Well, the level of exposures are not well         11   and also on the grounds that it's compound.
          12    known. And we know that the miners had a lot            12      A Well, I assume so, but I'm not sure I know
          13    exposure, but we don't know the level of exposure       13   enough to know how it actually works when it comes
          14    that is required to get significant pleural disease.    14   right down to it. Who gets paid what for how much or
          15    We think it's pretty small, but we don't -- we don't    15   what the pitfalls are in it or things like that. I
          16    have exact numbers on any of that.                      16   know some of the pitfalls, but I don't know all of
          17        Q But my question is a little bit more              17   them.
          18    technical than that.                                    18      Q (By Mr. Finch) Okay. You don't have any
          19           You just haven't -- I didn't see anywhere in     19   expertise in evaluating asbestos personal injury
          20    any of your reports you writing down and saying, I am   20   claims for purposes of whether or not you should
          21    criticizing the definition of Grace's exposure or in    21   settle them or not, do you?
          22    the six months requirement in the TDP.                  22      A You mean from a legal standpoint?
          23        A No, I have not and I think that that's better     23      Q Yes.
          24    left to people that are -- that know a lot about        24      A No.
          25    exposure and things like that about asbestos levels     25      Q Do you have any understanding as to what

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                                                              Page 42                                                        Page 44
           1    happens with someone who has, let's say, a               1       A Yes.
           2    non-malignant disease that the TDP would call            2       Q I haven't seen anywhere in your reports or in
           3    asbestos pleural disease level three and they submit     3   the medical literature an analysis of if you took all
           4    a claim to the trust and they qualify, if they later     4   of those 1,800 people and tracked their lung function
           5    get sicker and their lung function test scores           5   over time what, if any, decline you would see; is
           6    decline further from what they were at the time they     6   that correct?
           7    settled with the trust, whether or not they can come     7       A No, I haven't, and several reasons for that.
           8    back and make a new claim for the trust and get more     8   First off, I did -- as you know, have a database for
           9    money?                                                   9   a while that was basically tracking the same sort of
          10        A I do not know the answer to that.                 10   thing as in that paper.
          11        Q Okay. One of your opinions, as I understand       11       Q That was a database of 550 people?
          12    it, about how Libby -- a non-malignant asbestos         12       A Or whatever it was. I don't know. It's been
          13    disease caused by exposure to Libby asbestos, how       13   called that by you guys. I don't think there was
          14    that is different than non-malignant asbestos disease   14   550. I don't remember. Stopped using it because it
          15    caused by exposure to, let's say, chrysotile asbestos   15   was so sporadic. When I started working up at Libby
          16    is that the pleural disease is more progressive.        16   eight days a month in 2004, closed my office, it sort
          17    You've written those words?                             17   of became irrelevant because we had a new database up
          18        A Yes.                                              18   there and it got to -- when I was in my office, then
          19        Q What do you mean by more progressive?             19   I would track them all because they were almost all
          20        A There are good documentation now that we have     20   down in my office, not all of them, but most of them,
          21    watched the disease progress far more rapidly, and      21   but then it just got so sporadic, so we didn't follow
          22    particularly when I compare it with my past             22   it anymore.
          23    experience than what's described or what's actually     23          I have not -- we do not have a database that
          24    described in the literature, cases in which there's     24   is adequate at this point at Libby to track that
          25    been progression from fairly modest disease to death    25   18- -- the whole 1,800. And as you can imagine, a

                                                              Page 43                                                        Page 45
           1    within short periods of time, several years. I think     1   lot of it's bogged down in bureaucracy and grant
           2    that's sort of the gist of it, and that happens          2   things that we have no control over.
           3    frequently.                                              3      Q So to the extent that you have opinions that
           4        Q And by progression, do you mean a decline in       4   pleural disease caused by exposure to Libby asbestos
           5    lung function?                                           5   is more -- leads to a more rapid decline in lung
           6        A Well, not necessarily. It may be a decline         6   function than pleural disease caused by exposure to
           7    in lung function. It may be a significant change in      7   other types of asbestos, is it fair to say that's
           8    the chest x-ray.                                         8   primarily based upon the 2004 paper you wrote?
           9          We have one of the largest data banks of           9      A No, not entirely. I think, to explain that
          10    CT -- HRCTs, high resolution CAT scans on asbestos      10   statement, first off, is we have a preponderance of
          11    patients anywhere. We have CTs on practically           11   pleural disease. My experience in looking at people
          12    everybody. We have multiple CTs. So we have that        12   from Hanford is that I really only had a couple of
          13    data, so we can measure what's actually happened in     13   deaths in all of the years that I was doing that of
          14    various parts of the lung.                              14   Hanford workers and it was all from severe
          15          And so when I say that we're seeing               15   interstitial disease. There just -- there wasn't
          16    progression in a lot of people, we are. And why some    16   that much significant pleural disease, whereas, in
          17    do and some don't, I have no idea.                      17   Libby there's a tremendous amount of pleural disease.
          18        Q Okay. You did a paper in 2004 where you           18          And so you would expect, I think, the extent
          19    tracked the progression of decline in lung function     19   of it, that there would be people who will progress
          20    test scores for 123 of your patients, correct?          20   and die of that disease.
          21        A Yes.                                              21          I have numbers from the mortality study which
          22        Q Okay. Have you -- there are approximately         22   is only patients in CARD that died, so we had -- have
          23    1,800 people that have been diagnosed with asbestos     23   good data on it. There's a lot of other ones that
          24    disease in the CARD Clinic as a result of being         24   have died of pleural disease prior to that time, but
          25    exposed to Libby asbestos?                              25   there has not been a definitive study on the whole --

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                                                               Page 46                                                        Page 48
           1    of all the claimants of Mr. Lewis and Mr. Heberling's  1      type of asbestos-related non-malignant disease is not
           2    that that's been done. Probably at some point in       2      something that exists only as a result of being
           3    time, it will get done.                                3      exposed to Libby asbestos, correct?
           4       Q Okay. Have you done anything to analyze the       4         A No, that's correct.
           5    differences in either the type of disease that people  5         Q And you on Page 29 --
           6    have or how severe it is as compared between           6         A Page 29 or paragraph 29?
           7    Mr. Heberling's and Mr. Lewis' clients and the 850     7         Q Excuse me. Paragraph 29.
           8    people who aren't -- who have Libby asbestos disease   8         A Yes.
           9    who aren't their clients to see if there are any       9         Q You're citing to something called the
          10    differences between those two groups?                 10      Rosenstock text?
          11       A No, we haven't done a formal study of that.      11         A Yes.
          12       Q Do you have any expertise or knowledge as to     12         Q What is the Rosenstock text?
          13    whether there are qualitative differences between     13         A That's a textbook by a lady in -- who's a
          14    asbestos disease patients who decide to pursue a      14      research physician at the University of Washington
          15    lawsuit as compared to asbestos disease patients who 15       and she's still there.
          16    don't in terms of their disease severity?             16         Q Do you know what, if any, role Dr. Laura
          17       A I can't answer that question. I know that        17      Welch* had in working on or editing that medical
          18    there was a whole flurry of lawsuits very early on in 18      textbook?
          19    this process, but whether or not there was more than 19          A I do not.
          20    there would have been in the rest of the community or 20         Q The Rosenstock -- you cite the Rosenstock
          21    not, I don't know.                                    21      text for the proposition, In contrast to the mild
          22       Q So you can't say whether the 950 people who      22      effect of plaques on lung function, diffuse pleural
          23    are clients of Mr. Heberling or Mr. Lewis are         23      thickening may result in more significant restrictive
          24    different in significant ways from the 800 people who 24      respiratory impairment.
          25    have Libby asbestos disease or not?                   25            I take it you agree with that statement?

                                                               Page 47                                                        Page 49
           1        A I'm not in a position to make that -- any           1      A Yeah, that's a fair statement.
           2    judgments on that. I do think that there are 950          2      Q Okay. By plaques, I assume that you're
           3    claimants that they have who I know -- probably do        3   talking about pleural plaques?
           4    know better because I've seen them more times are         4      A Yes.
           5    likely to follow the same path as the 110 that were       5      Q Okay. Would you agree with me that -- well,
           6    in that mortality study.                                  6   how would -- would you agree with me that pleural
           7        Q That's your -- let me back up.                      7   plaques by -- well, let me get some definitions.
           8           On paragraph 27 of your report, Page 13, you       8         What is your understanding of the term
           9    write, An overwhelming majority in the Libby cohort       9   pleural plaque?
          10    have not only pleural plaques, but also diffuse          10      A Well, the pleural plaque is originally and
          11    pleural thickening, a more serious form of pleural       11   currently, I guess, defined as -- or defined as an
          12    disease.                                                 12   area of scarring and fibrosis generally on the
          13           Do you see that?                                  13   parietal pleural with demarcated edges, and it
          14        A Yes.                                               14   doesn't really define the size of it very much,
          15        Q Would you agree with me that diffuse pleural       15   although for practical standpoints, most of them are
          16    thickening is a disease process that has been            16   four or five centimeters in diameter at the largest
          17    described in the medical literature for at least         17   for the most part.
          18    thirty years?                                            18      Q And would you agree with me that -- and I
          19        A That's probably for thirty years, yeah, most       19   guess the Rosenstock text states this -- is that
          20    of the stuff that I've read has been since the '80s.     20   generally speaking pleural plaques only have a mild
          21    Well, 1980s. That's thirty years, isn't it?              21   effect, if any, on lung function?
          22        Q 1980 is almost thirty years ago,                   22      A You have to define pleural plaques under
          23    unfortunately.                                           23   those terms as isolated non-confluent pleural
          24        A That's what happens as you get older.              24   plaques.
          25        Q So diffuse pleural thickening as a disease, a      25      Q Would you agree with me that pleural plaques

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                                                               Page 50                                                       Page 52
           1     have been defined in the medical literature for at       1       Q So it talks about different diseases
           2     least thirty years as well?                              2   caused -- different non-malignant diseases caused by
           3          A Yes, they have.                                   3   exposure to asbestos, correct?
           4                 MR. FINCH: Okay. We have been going a        4       A Yes.
           5     little over an hour. I don't know about you, but I       5       Q Would you also agree with me that the 2004
           6     like to try and take a short break at least once an      6   ATS statement on non-malignant asbestos-related
           7     hour. Would this be a good time? I think this is a       7   diseases doesn't provide any guidance for how you
           8     good time for me to break. Would you like to take a      8   would divide a non-malignant disease by severity as
           9     break?                                                   9   it relates to lung function decline?
          10                 THE WITNESS: Sure, whatever you want.       10       A I'm not sure I understand your question.
          11                 MR. FINCH: Okay. Why don't we take a        11       Q Yeah, it was a crummy question. Let me
          12     five- or ten-minute break?                              12   rephrase it.
          13                 THE VIDEOGRAPHER: We're going off the       13          You would agree with me that demonstration of
          14     record. The time is now 9:32 a.m.                       14   functional impairment as shown by either spirometry
          15                    (Recess.)                                15   or total lung capacity or DLCO is not a requirement
          16                    (Ms. Bloom exits.)                       16   to diagnose somebody with a non-malignant
          17                 THE VIDEOGRAPHER: We're back on the         17   asbestos-related disease, correct?
          18     record. The time is now 9:43 a.m.                       18       A That's true.
          19                    (Exhibit-5 marked for                    19       Q So you can have asbestosis or pleural disease
          20                     identification.)                        20   and have completely normal lung function tests,
          21                  EXAMINATION (Continuing)                   21   correct?
          22     BY MR. FINCH:                                           22       A That's true.
          23          Q Dr. Whitehouse, do you have the Whitehouse       23       Q And so the 2004 ATS statement, whatever else
          24     Deposition Exhibit-5 in front of you?                   24   it does, it doesn't give you any guidance as to how
          25          A The what?                                        25   you would characterize someone as having -- for

                                                               Page 51                                                       Page 53
           1       Q The Whitehouse Deposition Exhibit-5 in front         1   purposes of lung function decline perspective,
           2    of you.                                                   2   whether they have severe asbestosis or severe pleural
           3       A Oh, yes, I do.                                       3   disease, it doesn't speak to that, does it?
           4       Q And do you recognize that document, sir?             4      A No.
           5       A I do.                                                5      Q It doesn't give you any tests or ranges for
           6       Q What is Whitehouse-5?                                6   lung function test scores to say this person is
           7       A That's the ATS. I think this is the -- is            7   mildly impaired, this person is severely impaired, or
           8    this the '04 statement?                                   8   this person is not impaired at all, correct?
           9       Q Yes.                                                 9      A No, I don't think it does.
          10       A I assume it is, yes.                                10      Q Okay. There's something called the AM --
          11       Q Okay. This is the American Thoracic Society         11   American Medical Association Guides for the
          12    Diagnosis and Initial Management of Non-Malignant        12   Evaluation of Permanent Impairment. Are you familiar
          13    Diseases Related to the Asbestos. Do you see that?       13   with those?
          14       A That's correct.                                     14      A Yes.
          15       Q Do you regard these guidelines for the              15      Q I think that you recently put out a sixth
          16    diagnosis and management of non-malignant diseases to    16   edition, but you cite to the fifth edition in your
          17    be authoritative?                                        17   paper?
          18       A Yes.                                                18      A Mm-hm. (Answers affirmatively.)
          19       Q Do you rely on them when you're diagnosing          19      Q And you rely on that as one basis for
          20    people with asbestos-related disease?                    20   dividing disease by severity as it relates to lung
          21       A Yes, I actually follow what they do, what           21   function loss?
          22    they say.                                                22      A I rely on that only insofar as I'm required
          23       Q Would you agree with me that this document          23   to for disability evaluations for the State of
          24    uses the word diseases, plural, in the title?            24   Montana.
          25       A Yes.                                                25      Q Okay.

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                                                                Page 54                                                         Page 56
           1         A Other than that, I do not.                          1   classification in both interstitial and pleural
           2         Q Do you understand that the TDP divides the          2   disease with a variety of diseases originally
           3     non-malignant -- the Grace TDP divides the                3   starting in pneumoconiosis and black lung and coal
           4     non-malignant diseases by severity in terms of the        4   miner's lung and then has been extrapolated as
           5     decline in lung function test scores?                     5   asbestos disease subsequent to that.
           6         A Yes.                                                6      Q Okay. And is it -- it is a -- it is a
           7         Q Okay. So there's a low level criteria where         7   grading system for dividing chest radiographs for
           8     it doesn't require any kind of lung function decline      8   pneumoconiosis caused by exposure to asbestos and
           9     at all, correct?                                          9   various categories, correct?
          10         A Right.                                             10      A Correct.
          11         Q And that would be category one or category         11      Q It's one of the things that it does?
          12     two, correct?                                            12      A Yes.
          13         A And I'd have to look up all the categories         13      Q And have you ever in your clinical practice
          14     again because there's As and Bs and --                   14   or otherwise used the ILO system in describing a
          15         Q Why don't --                                       15   chest x-ray, what a chest x-ray shows to another
          16         A -- things like that, but, yes, take your word      16   doctor?
          17     for it.                                                  17      A Well, yes, I -- actually, the part of the ILO
          18         Q The 2004 ATS statement, if you could turn in       18   system that relates to interstitial lung disease, I
          19     there to Page 697.                                       19   pretty much agree with. That's the 1/0, 1/1, 2/1,
          20         A Okay.                                              20   et cetera, et cetera of interstitial disease.
          21         Q The second full paragraph on Page 697 refers       21   There's far more difficulty with the pleural disease,
          22     to something called HRCT. Do you see that?               22   particularly as far as what people see and how they
          23         A Second on which side?                              23   read it and things like that.
          24         Q On 697.                                            24      Q Okay. Would you agree with me that in
          25         A Yeah.                                              25   reading chest x-rays generally, two people who are

                                                                Page 55                                                         Page 57
           1       Q Second full paragraph begins, HRCT and detect         1   equally qualified and competent at reviewing x-rays
           2    early --                                                   2   can come to different conclusions as to whether or
           3       A Okay.                                                 3   not the -- what the profusion level is on the ILO
           4       Q -- pleural thickening.                                4   scale for purposes of interstitial disease?
           5       A I got it.                                             5      A Yes, they can.
           6       Q Do you see that?                                      6      Q That's a phenomenon called interreader
           7       A Yes.                                                  7   variability?
           8       Q HRCT refers to high resolution CAT scans --           8      A True.
           9       A Yes.                                                  9      Q And would you also agree with me that same
          10       Q -- computed tomography?                              10   phenomenon, i.e., two doctors looking at the same
          11       A Yes.                                                 11   x-ray that shows pleural disease can with the best
          12       Q Okay. And then later on in the same column           12   will in the world come to different conclusions about
          13    in the next paragraph, the 2004 ATS statement authors     13   what that x-ray shows?
          14    write, A proposal has been put forward for a              14      A Yes.
          15    classification system analogous to that of the ILO        15      Q But the -- do you have an understanding of
          16    system for plain chest radiographs, but none has been     16   how the ILO guidelines are promulgated?
          17    widely adopted.                                           17      A You mean originally or --
          18           Do you see that?                                   18      Q Well, originally and then -- let's back up.
          19       A Yes.                                                 19          They were originally put out in 1980,
          20       Q This document was published in 2004. To your         20   correct?
          21    knowledge, has there -- well, let me back up.             21      A Yeah.
          22           What's your understanding of what's the ILO        22      Q All right. Do you have an understanding of
          23    system for plain crest radiographs?                       23   how they came into existence?
          24       A Well, the ILO system is an epidemiologic             24      A Oh, a bit, not a lot. They came in -- I'm
          25    study or was designed as an epidemiologic study for       25   not sure that I do know. I think they came about

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                                                                Page 58                                                        Page 60
           1     because of trying to use it as a goal for disability      1   doctor was asked to give an opinion about whether or
           2     for coal miners was the original which is why             2   not someone had pleural thickening versus pleural
           3     (inaudible), West Virginia, and I suspect that's -- I     3   plaque, that doctor relied on the definition of
           4     think that's how it originally started. I'm not           4   pleural thickening in the ILO -- 2000 ILO guidelines
           5     absolutely certain of all that.                           5   that he or she was operating completely out of the
           6        Q And one of the goals was that it was to              6   bounds of mainstream medical science?
           7     create sort of a unified system of rules for how you      7       A They would be operating with what's written
           8     can describe chest x-rays to another doctor in a way      8   in the ILO guidelines.
           9     that's shorthand as opposed to both of you having to      9       Q And that would be acceptable medical
          10     look at the film, correct?                               10   practice, correct?
          11        A Yes, I guess -- I guess that was the original       11       A That's a whole other issue because there's
          12     reason. I don't know the -- that one in particular,      12   significant differences between what the ILO
          13     I'm not sure whether that was an original goal or        13   guidelines are and certain diffuse pleural thickening
          14     not.                                                     14   and confluent plaques and things like that that are
          15        Q Okay. And what is your understanding of how         15   at issue with the problems of these people that died
          16     the -- and the ILO was revised in about the year         16   with Libby asbestos.
          17     2000, correct?                                           17       Q But I understand that you have some
          18        A Yes.                                                18   criticisms of the way the 2000 ILO guidelines defined
          19        Q It became publically available sometime after       19   pleural thickening versus pleural plaque, I take it?
          20     that?                                                    20       A Yes.
          21        A It became what?                                     21       Q But you wouldn't say that a doctor who relied
          22        Q Publically available. The ILO guidelines            22   on the 2000 ILO guidelines for purposes of deciding
          23     from the year 2000 became publically available           23   whether someone had pleural plaques or pleural
          24     sometime after the year 2000, right?                     24   thickening was being completely arbitrary and not
          25        A Well, I know they're publically available.          25   following accepted medical science?

                                                                Page 59                                                        Page 61
           1    Were they not before that?                                 1      A Those are two different parts of the
           2        Q At some point in the year 2000, the ILO              2   question. I think you should separate them.
           3    guidelines were revised, correct?                          3      Q Okay. Would you say that someone who relies
           4        A Yes.                                                 4   on the 2000 ILO guidelines is not following accepted
           5        Q Did you have any role in revising those              5   medical practice if they follow those definitions for
           6    guidelines?                                                6   purposes of trying to determine -- give an opinion
           7        A Not at all.                                          7   about whether someone has diffuse pleural thickening
           8        Q Do you have an understanding as to who the           8   or pleural plaques?
           9    people were that made the revisions to those               9      A No, they would be following the guidelines.
          10    guidelines?                                               10      Q And that would be acceptable medical practice
          11        A Not all of them, no.                                11   to do so?
          12        Q Do you understand that at least some of the         12      A I think there's very large exceptions in that
          13    people involved were experts in asbestos-related          13   relative to Libby asbestos and there's also a fair
          14    medical issues?                                           14   number or significant amount of exceptions to that in
          15        A Oh, I believe they were, yes.                       15   the medical literature, particularly McCloud, and
          16        Q You wouldn't say that the -- if a doctor were       16   we're talking -- we're talking about blunting and
          17    to rely on the ILO guidelines for purposes of             17   diffuse pleural thickening, so we might as well cut
          18    defining pleural disease that that doctor is outside      18   to the -- cut to the meat of this.
          19    the medical mainstream, would you?                        19      Q Sure.
          20        A Well, probably not, although there are --           20      A And McCloud only found, I think, 45 percent
          21    becoming evident with time more discrepancies             21   of the people had blunting with diffuse pleural
          22    relative to that particularly when you review the         22   thickening. I think there's one other where I can't
          23    literature. There are -- well, there's exceptions to      23   remember the name of who wrote it in a similar vain.
          24    everything as you can imagine.                            24   It also wrote that everybody that had diffuse pleural
          25        Q But you wouldn't say, for example, if a             25   thickening had a prior pleural effusion and there's

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                                                               Page 62                                                        Page 64
           1    evidence in the literature that that -- there are         1      Q Okay.
           2    more than one view of that, and for whatever reasons      2      A There is -- we actually -- other people in
           3    and I obviously wasn't privy to any of those              3   the CARD clinic are actually working on this and
           4    discussions, they selected that piece of information      4   trying to develop something that is simple because
           5    as opposed to McCloud's article which very well           5   the one that's out there takes over an hour to do a
           6    details the incidence of blunting associated with         6   CT, and if you think about that, you can read a CT in
           7    diffuse pleural thickening.                               7   about five or ten minutes and then you take an hour
           8           And that amazingly correlates almost exactly       8   and -- it isn't going to happen.
           9    with what we have in Libby in these people who died.      9      Q Nobody would use it?
          10               MR. BERNICK: I'm sorry. Your voice            10      A Nobody will use it, no.
          11    trailed off a little bit, Dr. Whitehouse. What           11      Q Well --
          12    corresponded almost identically with the --              12      A That's exactly what's happened.
          13               THE WITNESS: Oh, the McCloud numbers          13      Q Okay. So, I mean, my understanding of the
          14    correlate almost exactly with the Libby numbers for      14   ILO -- the way the ILO system works is it's a big box
          15    the incidents of blunting as a criteria for diffuse      15   with sample films in it that you can compare 1/1
          16    pleural thickening. We have all these people with        16   versus whatever x-ray you're looking at to see how
          17    diffuse pleural thickening that don't have blunting.     17   those two things line up. Is that basically how it
          18        Q (By Mr. Finch) Okay. Mr. Bernick probably          18   works?
          19    has lots of questions about diffuse pleural              19      A Supposedly.
          20    thickening and blunting, but I'm just asking you in      20      Q Okay. Supposedly and theoretically, that's
          21    general --                                               21   how it works, right?
          22               MR. BERNICK: Don't count on it.               22      A Theoretically, that's how it works.
          23        Q (By Mr. Finch) In general, if someone              23      Q Okay. Some doctors follow that to a greater
          24    followed the ILO guidelines requirement for saying       24   or lesser degree, right?
          25    that blunting would be required to define something      25      A I would agree with you on that.

                                                               Page 63                                                        Page 65
           1    as diffuse pleural thickening, that person would not      1      Q Okay. But -- and there's not something
           2    be outside of the bounds of generally accepted            2   similarly developed yet where somebody can quickly
           3    medical practice, correct?                                3   and easily take a picture of HRCT and this is what a
           4       A Probably not.                                        4   1/1 should look like or the equivalent of this is
           5       Q Now, before we got into the discussion of            5   what diffuse pleural thickening should look like and
           6    blunting, there -- I'm still at the 2004 ATS              6   compare it to some kind of master image that is
           7    statement. The statement says, A proposal has been        7   widely adopted or easy to use, right?
           8    put forward for a classification system analogous to      8      A No, there isn't anything out there like that
           9    that of the ILO system for plain chest radiographs,       9   yet.
          10    but none has been widely adopted.                        10      Q Okay. On Page 697, there is a column -- in
          11          Do you see that language?                          11   the second column, there's something called -- the
          12       A Yeah.                                               12   heading is Pulmonary Function Tests. Do you see
          13       Q And what they're referring to is a proposal         13   that?
          14    has been put forward for a way to grade HRCT in a way    14      A Mm-hm, I do.
          15    that is descriptive much like the ILO system is          15      Q The third paragraph in that section says, In
          16    descriptive for chest x-rays, correct?                   16   addition to diminished lung volumes, the carbon
          17       A Correct.                                            17   monoxide diffusing capacity is commonly reduced due
          18       Q Okay. And this statement was put out --             18   to diminished alveolar-capillary gas diffusion as
          19    well, the date on it is December 12, 2003, but that's    19   well as ventilation-profusion mismatching.
          20    almost six years ago.                                    20         Do you see that?
          21          To your knowledge, has there been a widely         21      A Yes.
          22    adopted way to classify high resolution CAT scans of     22      Q Okay. And then it goes on to say, Although a
          23    the chest that is similar to the ILO system for          23   low diffusing capacity for carbon monoxide is often
          24    x-rays?                                                  24   reported as the most sensitive indicator of early
          25       A It hasn't been widely adopted.                      25   asbestosis, it is also a relatively non-specific

                                                                                                                 17 (Pages 62 to 65)
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                                                                Page 66                                                       Page 68
           1     finding.                                                  1   mismatches and interstitial lung disease, whether
           2            Do you agree with that statement?                  2   seen or not seen on the film. Those are the two big
           3         A I don't entirely because I would agree that         3   factors.
           4     it's not a specific finding because there's basically     4       Q That affect that DLCO?
           5     two categories of things that will modify the             5       A Those are the two things that affect.
           6     diffusion capacity, but that could be separated out       6       Q And obstructive disease can be caused by many
           7     pretty quickly with the pulmonary function studies as     7   things other than asbestos exposure, correct?
           8     to the etiology of the diffusion capacity                 8       A True, except that a recent article on
           9     abnormality.                                              9   obstructive disease was the most common abnormality
          10         Q Well, first, there's -- actually, there's          10   associated with asbestos disease. I mean it was the
          11     really two statements in that sentence, right, Dr.       11   most common pulmonary function abnormality. There's
          12     Whitehouse?                                              12   an article by O'Hare* about that.
          13         A Mm-hm. (Answers affirmatively.)                    13       Q But you would agree with me there are lots of
          14         Q The first one is a low diffusing capacity for      14   things that can cause obstructive disease in the
          15     carbon monoxide is often reported as the most            15   lungs that aren't asbestos related?
          16     sensitive indicator of early asbestosis.                 16       A Surely.
          17            Now, do you agree with that?                      17       Q I mean, chronic obstructive pulmonary disease
          18         A I do agree with that that's a very                 18   is something that can happen as a result of smoking,
          19     sensitive -- not necessarily early asbestosis, but it    19   correct?
          20     may be the only indicator of pulmonary functionwise      20       A It may be due to emphysema due to smoking,
          21     to correlate what you're seeing radiographically.        21   but it may be also a manifestation of asbestos
          22         Q Okay. And sensitive and specific have              22   disease.
          23     defined meetings within the field of epidemiology,       23       Q What else -- what other -- what other things
          24     correct? Or let me back up.                              24   can cause obstructive disease other than asbestos
          25            Sensitive and specific have defined meanings      25   exposure?

                                                                Page 67                                                       Page 69
           1    within the medical literature, right?                      1       A You mean other than smoking --
           2       A Yes.                                                  2       Q Other than smoking.
           3       Q All right. What is your understanding of              3       A -- and emphysema?
           4    sensitive?                                                 4           Chronic asthma can be for many, many years.
           5       A Well, specific means nailing it down to a             5   If you have asthma that's never been treated, it
           6    single -- make it simplistic. Specific means you           6   could result in chronic obstructive disease. There's
           7    nail it down to one cause or something clearly             7   also a fair number of much less common diseases that
           8    definable, whereas, sensitivity means it's the             8   can do it such as bronchiectasis and some pulmonary
           9    abnormal, but there could be a bunch of causes.            9   vascular diseases can do it.
          10       Q Okay. And so -- excuse me. Please finish.            10           Potentially if you have enough lung
          11       A That's fine.                                         11   obstruction, you can get overexpansion and enough
          12       Q So if something is a non-specific finding --         12   lung resection from surgery, you can get a little
          13    and here we're talking about DLCO, you said a little      13   overexpansion and cause it, but for the most part,
          14    while ago that there are other things that can cause      14   it's either emphysema, chronic asthma, or asbestos.
          15    a reduction in DLCO besides asbestos-related disease,     15       Q Okay. Could you turn to Page 705?
          16    correct?                                                  16       A 700 and what?
          17       A That's true.                                         17       Q 705 --
          18       Q That would be smoking, for example?                  18       A 705.
          19       A Smoking is a minimal. I mean, that's so              19       Q -- of the 2004 ATS.
          20    overblown it's unbelievable. In the literature,           20       A (Complies.)
          21    current smokers may be down, particularly in              21       Q The carryover paragraph -- the bottom of the
          22    Australia literature, a small amount in their DLCO,       22   first column carrying over says, Although pleural
          23    but not to a significant degree.                          23   plaques has long been considered inconsequential
          24           Two things that make the difference is             24   markers of asbestos exposure, studies of large
          25    obstructive disease with ventilation-protrusion           25   cohorts have shown a significant reduction in lung

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                                                               Page 70                                                        Page 72
           1     function attributable to the plaques averaging about     1      Q Would you agree with me that if you have
           2     five percent of forced vital capacity even when          2   pathologic specimens of someone's lungs, you can
           3     interstitial fibrosis asbestosis is absent               3   definitely determine whether or not they have a
           4     radiographically.                                        4   non-malignant asbestos-related disease or not?
           5            Do you see that?                                  5      A No, you can't.
           6         A Yes.                                               6      Q You cannot?
           7         Q Would you agree with me that a -- what             7      A No, because frequently you cannot find the
           8     they're talking about here is a decline of five          8   asbestos fibers except for in very sophisticated
           9     percent as seen over a population of people, not the     9   techniques in the lung, and so many of the pathologic
          10     decline of five percent in any individual?              10   specimens in people known to have asbestosis do not
          11         A Oh, I'm sure, yeah, it's a large population       11   turn up asbestos bodies or asbestos fibers.
          12     group. I don't know how big, but... (Pause.)            12      Q Have you ever heard pathology described as
          13         Q If a forced vital capacity declines by five       13   the gold standard for determining whether or not
          14     percent in an individual, that may or may not be        14   somebody has interstitial fibrosis?
          15     clinically significant, correct?                        15      A I haven't heard that. I'm not sure I'd agree
          16         A Depends over what period of time. And you're      16   with it either.
          17     talking about five percent of predicted or five         17      Q Okay. So you would -- you would dispute the
          18     percent of actual numbers? Because you lose a           18   idea that pathology would be the best indicator as to
          19     certain percentage every year.                          19   whether or not someone has an asbestos-related
          20         Q Well, I'm just talking about the literature       20   non-malignant disease?
          21     cited by the ATS statement.                             21      A I think the best indicators are what we do
          22            Do you know whether the five percent they're     22   day in and day out. We take an environmental
          23     talking about is five percent of predicted or five      23   history, we look at the x-rays, listen to the
          24     percent over a longitudinal period of time?             24   patient's chest, we look at the pulmonary functions,
          25         A I do not know the answer to that. I'm not         25   and make that decision, and I think we're probably

                                                               Page 71                                                        Page 73
           1    familiar with those articles.                             1   right almost all the time.
           2        Q Okay. At the bottom of that paragraph, the          2       Q Okay. So is it fair to say that you do not
           3    ATS writes, Even so, most people with pleural plaques     3   rely on pathology for your opinions about the
           4    alone have well-preserved lung functions, and they        4   severity or the distinctness of pleural disease
           5    cite to a study.                                          5   caused by exposure to Libby asbestos as compared to
           6           Do you agree with that?                            6   pleural disease caused by other asbestos?
           7        A I don't have any problem with that.                 7       A No, except that I have seen some things on
           8        Q Do you agree with me that the medical               8   thoracoscopy photographs on the lungs which I have in
           9    literature as it relates to asbestos-related diseases     9   my collection of photographs from a surgeon that I
          10    is quite extensive?                                      10   worked with in Spokane that demonstrates some things
          11        A It's voluminous.                                   11   that are unusual and look different, but they aren't
          12        Q And do you agree with me that equally              12   documented beyond that point, but... (Pause.)
          13    qualified doctors can read the same literature and       13                 (Mr. Stansbury exits.)
          14    come to differing views about asbestos-related           14       Q (By Mr. Finch) Who was the surgeon you used
          15    medical issues?                                          15   to work with in Spokane?
          16        A Certainly.                                         16       A Vern Holbert*.
          17        Q Are you familiar with the debate in the            17       Q Would you agree with me that from the
          18    medical literature about whether you can attribute       18   perspective of pathology, there is no difference
          19    lung cancer to asbestos exposure in the absence of       19   between pleural disease caused by exposure to Libby
          20    underlying asbestosis?                                   20   asbestos and pleural disease caused by anything else?
          21        A I've seen that. I don't know that I have an        21       A I think there may be, but I can't tell you
          22    opinion about it.                                        22   for certain. We see a lot more inflammatory disease.
          23        Q Okay. You are -- you're familiar with the          23   We see plaques that are scarlet red, very highly
          24    concept of pathology, right?                             24   inflamed, which correlates with a high degree of
          25        A Certainly.                                         25   chest pain and pleurisy in the people from Libby, and

                                                                                                                 19 (Pages 70 to 73)
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                                                              Page 74                                                        Page 76
           1    we see that when we look at the photographs and it's     1   study to be valid, you have to define the cohort
           2    described by the surgeon that I'm referring to, who      2   upfront and follow them over time to see how --
           3    actually I've known for many, many years because I       3   whatever it is you're trying to determine has an
           4    practiced in Spokane.                                    4   affect on them has an impact?
           5       Q Okay. But you haven't taken pathology from          5      A It can.
           6    people who died of -- according to you, died as a        6      Q You're familiar with the Selikoff study of
           7    result of pleural disease caused by exposure to Libby    7   the insulators that was done by Mount Sinai, correct?
           8    asbestos and compared that to pathology taken from       8      A I am.
           9    people who have pleural disease caused by other types    9      Q That's an example of a cohort study?
          10    of asbestos exposure?                                   10      A Yes.
          11       A No, although those specimens are being             11      Q Would you agree with me that your -- the
          12    collected.                                              12   people described in your 2004 paper, that's not a
          13       Q But you haven't -- in any of your academic         13   cohort study?
          14    writings or in any of your reports, you have not made   14      A No, I think in a sense it is because of the
          15    any kind of comparison of pathology between the         15   way it was selected. It was selected as every
          16    asbestos disease caused by exposure to Libby asbestos   16   patient that came into my office that had an asbestos
          17    and asbestos disease caused by exposure to anything     17   disease, had zero pulmonary function studies every
          18    else?                                                   18   year, and so looking at that cohort, I just looked at
          19       A No.                                                19   everybody that had had two pulmonary function studies
          20       Q Okay. So you can't say that there's anything       20   over a period, and as it turned out, it was over a
          21    that is distinct or different about asbestos disease    21   period of a number of years, but -- so that's a
          22    caused by exposure to Libby asbestos as compared to     22   cohort.
          23    asbestos disease caused by exposure to some other       23      Q Well, it wasn't defined -- you didn't start
          24    type of asbestos from the perspective of a              24   out the way Selikoff did, with defining the cohort
          25    pathologist relying on pathological evidence?           25   people who were exposed to asbestos and then

                                                              Page 75                                                        Page 77
           1       A Probably not, but I don't have enough               1   following them over time, correct?
           2    evidence to say one way or the other at this point.      2       A These were already people that I knew had
           3       Q Okay. Have you read Dr. Sam Hammer's report         3   asbestos abnormality on their x-rays and had the
           4    in this case?                                            4   exposure history on them.
           5       A Yes.                                                5       Q Okay. So the selection criteria wasn't --
           6       Q His opinion is based on the work that he's          6   wasn't controlled by a level of exposure. It was
           7    done, there's no difference from the pathology           7   just people who happened to have two or more
           8    between asbestos disease seen in Libby patients and      8   pulmonary function tests?
           9    asbestos disease seen elsewhere?                         9       A Basically that was it. It was a very simple
          10       A I believe that's his opinion, yes.                 10   study.
          11       Q And you're not in a position to dispute that?      11       Q What did -- strike that.
          12       A No. I have a high regard for Sam Hammer.           12         In your expert witness report, you described
          13                  (Mr. Stansbury returns.)                  13   some of the medical literature about the differences
          14       Q (By Mr. Finch) Do you have an understanding        14   between chrysotile asbestos and other amphiboles
          15    of the term used in epidemiology called a cohort        15   asbestos being productive of mesothelioma or lung
          16    study?                                                  16   cancer. Do you recall that section of your report?
          17       A Yes.                                               17       A Repeat, please, so I'm sure --
          18       Q And what's your understanding of a cohort          18       Q In your report -- in your report, you have a
          19    study?                                                  19   section where you describe what your view of the
          20       A Well, a cohort study is a group of people          20   medical literature is about whether or not chrysotile
          21    that have something that you want to study and you      21   asbestos is more or less likely to cause mesothelioma
          22    put together in that cohort, either with or without     22   or lung cancer than amphiboles asbestos?
          23    controls, the nature of whatever it is you're           23       A Yes.
          24    studying and detailing it and outlining it.             24       Q Did you read Dr. Frank's testimony in his
          25       Q So would you agree with me that for a cohort       25   deposition last week or two weeks ago --

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                                                              Page 78                                                        Page 80
           1       A I did.                                              1   court.
           2       Q -- on that point?                                   2         Would you agree that 9,500 is a good
           3       A Mm-hm. (Answers affirmatively.)                     3   approximation of the people in Lincoln County,
           4       Q Did you have any understanding that the             4   Montana, who were likely exposed to Grace asbestos?
           5    Berman and Crump* work that you refer to at              5      A No.
           6    paragraph 57 of your report was reviewed by an EPA       6      Q What would be your figure for that?
           7    science advisory board this past summer of 2008?         7      A I have absolutely no idea. There were
           8       A I was not aware of that.                            8   hundreds and hundreds of people that worked in the
           9       Q Dr. Frank was aware of it, correct?                 9   Libby dam that lived there for a couple years. There
          10       A Yeah, no, I do understand he was.                  10   was a lot of construction going on at that point in
          11       Q Okay. And his -- he agreed with the EPA            11   time. There was a very transient population that
          12    Science Advisory Board that the Berman and Crump work   12   came in and out at that point. There could be in the
          13    that attempted to quantify the differences between      13   thousands. I just don't know the answer to that.
          14    fiber type in causing mesothelioma or lung cancer was   14         There's also a vacationing spot there.
          15    weak?                                                   15   There's been a lot of people that would spend summers
          16       A He didn't dismiss it. He said that the             16   up there that are not included in that population, so
          17    school was still out on it basically in his -- in his   17   the actual number of exposed people is probably a lot
          18    deposition.                                             18   higher but are not included in any of Grace's figures
          19       Q Right.                                             19   because they excluded anybody that wasn't a permanent
          20           And the EPA Science Advisory Board determined    20   resident.
          21    the scientific basis that is laid out on in the         21      Q Okay. So I think I pulled that figure out of
          22    technical document -- and they're referring to the      22   your report.
          23    Berman and Crump work -- in support of their method     23         Would you agree with me that at least 9,500
          24    to attempt to quantify the difference between fiber     24   people were exposed to Libby asbestos?
          25    types is weak and inadequate. That was his              25      A Oh, I assume that that's probably -- you

                                                              Page 79                                                        Page 81
           1    understanding of what the EPA Science Advisory Board 1       know, I don't think we really know for sure. I know
           2    determined, correct?                                   2     that -- that it's probably more than that, but on the
           3        A Correct.                                         3     other hand, I don't know whether the people that
           4        Q And I take it you weren't asked to               4     lived up in the far extremes of the county were ever
           5    participate in that science advisory board review of   5     exposed to it as far as I know. It's a big county.
           6    differences between fiber types, correct?              6         Q And then the ATSDR came in and did some
           7        A No.                                              7     screening a few years ago for -- to determine what --
           8        Q And you would agree with me that it's still      8     how many people had x-ray abnormalities as a result
           9    the official position of the United States government  9     of exposure to asbestos, right?
          10    that chrysotile is equally likely to cause            10         A And that was a -- they studied 6,000 and
          11    mesothelioma as amphibole asbestos?                   11     there was a significant number that were never looked
          12        A I don't think it says exactly that. It says     12     at, and of those 6,000, there were a fair number of
          13    that the information -- that the data was weak. It    13     people that were not Lincoln County residents. They
          14    doesn't say that it is not. It just says the school   14     were people from Spokane that used to live there or
          15    is still out on it, that Arthur's -- Dr. Frank's      15     from other parts of Montana, and I forget the exact
          16    comments on that reflected that.                      16     number that had abnormal x-rays. I think it was 19
          17                 MR. FINCH: Let's mark this as the next   17     percent or 17 percent, so it was about 1,000 or more.
          18    exhibit.                                              18         Q Okay. Could you turn to Page 30 in your
          19                    (Exhibit-6 marked for                 19     expert report?
          20                      identification.)                    20         A Sure. Page 30?
          21        Q (By Mr. Finch) Dr. Whitehouse, this is an       21         Q Page 30. It's Page 30. It's -- I think it's
          22    exhibit I used with Dr. Frank. I put it together      22     paragraph 35. Paragraph 35 runs on for several
          23    from a combination of either statements in your       23     pages. It's Page 30.
          24    expert witness report or statements that the Libby    24         A Okay.
          25    claimants' lawyers have made in papers filed with the 25         Q See at the top of the page, the Peipins, it

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                                                              Page 82                                                       Page 84
           1     talks about the 9,500 people --                        1       Q Okay. Would you agree with me that your
           2        A Right.                                            2   opinions about someone who has been diagnosed with an
           3        Q -- from Central Lincoln County?                   3   asbestos-related non-malignant disease as a result of
           4           So I take it that all of your opinions about     4   being exposed to Libby asbestos, that that person
           5     pleural disease caused by exposure to Libby asbestos   5   would have a probability of death are based on the
           6     are valid only for the people who have                 6   CARD mortality study?
           7     asbestos-related disease, and you're not making any    7       A I'm only going to base that on the ones that
           8     conclusions or analyses about the entire cohort        8   I know more about which is the Libby claimants, the
           9     people who were exposed to Libby asbestos; is that     9   950 there. I would point out one other point in this
          10     correct?                                              10   is that there's 1,800 clinic patients with a
          11        A Well, not really. I guess the best way to        11   diagnosis. There's also another three or four
          12     say that is that I'm sure that there are a fair       12   hundred that have been screened and do not have
          13     number of people out there still that have not been   13   disease.
          14     discovered and may have abnormalities on their films, 14       Q Do not have disease?
          15     but I'm not drawing any conclusions about that        15       A Do not have disease, but they're also part of
          16     because I haven't had a chance to study them.         16   the clinic.
          17        Q Okay. So you're only drawing conclusions         17       Q But there's -- there's 1,800 people that are
          18     about -- your conclusions are only valid with respect 18   part of the clinic and there's 950 of them that are
          19     to people who have already been diagnosed with        19   Libby claimants and you have more familiarity with
          20     asbestos-related disease; is that correct?            20   that group than the 850 diseased patients that you
          21        A That's correct.                                  21   see, but aren't the Libby claimants, correct?
          22        Q All right. And then the second page of this,     22       A That's true and particularly since there's
          23     there's --                                            23   been a lot added in the last year or so and I've been
          24                MR. LEWIS: Second page of what,            24   working less up there.
          25     Counsel?                                              25       Q And I believe I asked you this this morning,

                                                              Page 83                                                       Page 85
           1                MR. FINCH: Second page of Whitehouse       1    but you haven't done anything to compare and contrast
           2    Exhibit-6.                                             2    either the type of disease or the severity of the
           3       Q (By Mr. Finch) You have stated in your            3    disease between the 850 other patients and the 950
           4    report and elsewhere that there's approximately 1,800  4    who are Libby claimants, correct?
           5    CARD Clinic patients with asbestos-related disease?    5       A No.
           6       A Yeah, that's the number that I got from           6       Q You haven't -- you have not done that,
           7    the -- you know, the nurses that run the place about   7    correct?
           8    six months ago. They didn't have an exact number.      8       A No, I have not.
           9       Q Okay. Would you expect that those 1,800 are       9       Q Okay. And is it correct that you hold the
          10    largely overlapped with -- whether the exposed        10    opinion that someone who is diagnosed with a
          11    population was 9,500 or 6,600 or 10,000, that the     11    non-malignant asbestos disease caused by exposure to
          12    1,800 or the substantial majority of those people are 12    Libby asbestos is more likely than not going to die
          13    a subset of the exposed population?                   13    from an asbestos-related disease?
          14       A I would think so, but there's a certain          14       A Out of that 950?
          15    number of them that are not part of that Lincoln      15       Q Out of the 950 or the 1,800?
          16    County population, above, anymore. They were at one 16         A Will you read -- repeat the question again.
          17    time, but they're not now. They live -- there's a     17       Q Sure.
          18    lot of patients in Spokane, in Missoula, in           18       A I want to make sure I get it right.
          19    Kalispell, and some in Great Falls, and then we get   19       Q Do you have an opinion -- do you have an
          20    patients all over the country coming back that used   20    opinion to a reasonable degree of medical certainty
          21    to live there, so -- and I don't know the breakdown   21    that for the 950 Libby claimants who have been
          22    in numbers. I have no idea what it is.                22    diagnosed with a non-malignant asbestos-related
          23       Q Okay. Could you go to the last page about        23    disease, that each one of them is more likely than
          24    this -- last page of Whitehouse Exhibit-6?            24    not going to die from an asbestos-related disease?
          25       A Okay.                                            25       A The death rate, when we've gone through the

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                                                               Page 86                                                       Page 88
           1    death certificates in all of these people, it's           1   thickness, the non-malignant ones, the pleural
           2    something like 57 percent -- or I think it was 52         2   thickness, the blunting plaques, et cetera. We did
           3    percent on best information, 57 percent was               3   it independently.
           4    significant association with asbestos disease -- I        4                  (Ms. Bloom returns.)
           5    think that group of people has the same breakdown in      5       Q (By Mr. Finch) Okay. Let me see if I
           6    percentages as the 950 -- approximately a third           6   understand this. You started out with 227 people who
           7    miners, and the balance are community members and         7   were CARD Clinic patients --
           8    family members. Community members are the                 8       A Yes.
           9    majority -- I think you can make the extrapolation        9       Q -- that had died, right?
          10    having looked at those people myself, that most of       10       A Died through last year.
          11    the people that died are my patients, looking at         11       Q Through last year.
          12    those, then we're going to see the same thing in the     12          And this is the mortality study that you're
          13    950 and so that there is a high probability or not a     13   relying on for your opinion as to probability of
          14    high probability, there's probability that they're       14   death, correct?
          15    going to die more than 50 percent from asbestos          15       A That's right.
          16    disease.                                                 16       Q All right. Then you excluded 41 of them for
          17        Q Okay. What about related --                        17   various reasons, correct?
          18        A And then add to that the cancers on top of         18       A Well, basically, they either didn't have any
          19    it.                                                      19   asbestos diagnosis to begin with, we didn't have a
          20        Q What about the 850? The 850 on this that           20   death certificate, couldn't get one, didn't have a
          21    aren't --                                                21   chart, didn't get chest x-rays. There's a lot of
          22        A The 850?                                           22   reasons why, but unless we had a fairly complete set
          23        Q Yeah.                                              23   of data, we didn't -- they weren't included.
          24        A I'm not going to draw any conclusions. I           24       Q Okay. And that left you with 186 people?
          25    don't know anything about them.                          25       A Right.

                                                               Page 87                                                       Page 89
           1              MR. FINCH: Okay. This would be a good           1      Q And then of that, 34 of them died of
           2    time to take another break.                               2   mesothelioma or some other asbestos-related type
           3              THE WITNESS: Okay.                              3   cancer, right?
           4              MR. FINCH: I just want one for                  4      A Mm-hm, yes.
           5    personal reasons. Why don't we come back in five          5      Q And then you got 76 that were nos and 76 that
           6    minutes?                                                  6   were yeses, right?
           7              THE VIDEOGRAPHER: We're going off the           7      A Yes, exactly the same number. Sort of odd.
           8    record. The time now is 10:30 a.m. This is the end        8                 (Mr. Longosz returns from recess.)
           9    of disk number one in the continuing deposition.          9      Q (By Mr. Finch) What is it -- what is it --
          10                  (Recess.)                                  10   who determined what versus a yes or a no? That was
          11              THE VIDEOGRAPHER: We're back on the            11   you?
          12    record. The time is now 10:37 a.m. This is the           12      A And Dr. Frank.
          13    beginning of disk number two in the continuing           13      Q Well, he testified that he looked at the
          14    deposition of Dr. Alan Whitehouse.                       14   x-rays on the 76, but that you made the determination
          15                  (Exhibit-7 marked for                      15   as to whether or not --
          16                    identification.)                         16      A Well --
          17               EXAMINATION (Continuing)                      17      Q -- there was a -- the death was due to an
          18    BY MR. FINCH:                                            18   asbestos-related disease?
          19       Q Dr. Whitehouse, I've put what's been marked         19      A Yeah, actually --
          20    as Whitehouse Exhibit-7 in front of you.                 20              MR. LEWIS: Just a -- just a second.
          21       A Yes.                                                21   Object to that on the grounds it's not put in a form
          22       Q What is that document?                              22   of a question and it's just a comment on Dr. Frank's
          23       A Oh, that's a -- that's a counting sheet that        23   testimony and should be strickened from the record.
          24    was done basically on the basis of Dr. Frank's and my    24              MR. FINCH: Let me rephrase the
          25    reading all these x-rays and these people for pleural    25   question.

                                                                                                                23 (Pages 86 to 89)
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                                                              Page 90                                                         Page 92
           1       Q (By Mr. Finch) How did you determine that           1       A We didn't use the contributing cause in the
           2    someone was a yes versus a no?                           2   final numbers, okay, because that's always subject to
           3       A Dr. Frank actually did not do that part. I          3   a lot of discretion. What we did or what I did
           4    did that part of it. I misspoke. Basically what I        4   basically was to make certain that their death was
           5    did was I -- we looked at the death certificates or I    5   directly caused in some form or another by their
           6    looked at the death certificates. I looked at the        6   asbestosis. That means that having looked at their
           7    chart, the x-rays, and made basically a decision         7   x-ray and their pulmonary functions and all their
           8    based on all that information put together and some      8   charting, that they had severe disease, and then they
           9    of my -- made a decision that it was probably a          9   had to have some sort of a terminal event in which
          10    contributing cause and others which it was a direct     10   either the asbestosis killed them because they became
          11    cause, so you'll note that there was actually           11   a little bit more disabled or because of the fact
          12    different percentages for the direct cause versus the   12   that it led to another problem that killed them such
          13    contributing cause.                                     13   as a pneumonia or severe cor pulmonale resulting from
          14          I had the advantage of the fact that I knew       14   pulmonary hypertension, things like that.
          15    almost all of these patients within -- with just the    15       Q Okay.
          16    exception of a few because I had seen so many of them   16       A And that's how the decisions were made.
          17    over the years previously. That's how it came about.    17       Q Okay. Attached to your report and,
          18       Q Okay. And what standard did you use to             18   unfortunately, it doesn't have a page on it, but it's
          19    determine whether or not someone died as a result of    19   kind of near the back, there's something that is
          20    a non-malignant asbestos-related disease? Did you       20   entitled 116 Mortality List.xls.
          21    use a substantial contributing cause standard or did    21       A Let's see what number it is.
          22    you use some other standard?                            22       Q It's --
          23       A I used the best available information, sort        23       A Where is it?
          24    of an approach similar to what Selikoff did, tried to   24       Q In my copy of the report, it was -- it was
          25    reduplicate his studies with the insulators and I --    25   before your references. It wasn't in an exhibit to

                                                              Page 91                                                         Page 93
           1    a lot of them were obvious. They were asbestos           1   your report. It was just --
           2    deaths. They were signed out, their death                2       A Is that it?
           3    certificate, as asbestosis.                              3               MR. LEWIS: Is this it?
           4           There was a fair number in which they would       4       A 116 Mortality List?
           5    say a terminal pneumonia, but they had severe            5       Q (By Mr. Finch) Yes.
           6    asbestosis and that was considered an asbestos death,    6       A Excel?
           7    and there were a number in which they called COPD and    7       Q Yeah.
           8    they really didn't have COPD.                            8          What is that? What is that document,
           9           This, unfortunately, is one of the problems       9   Dr. Whitehouse?
          10    with death certificates is that family docs not only    10       A Well, that document is the -- first off, the
          11    in Montana, but in Spokane and everywhere else call     11   names of the people that are clients, plus the
          12    everything COPD that dies of respiratory disease, and   12   initials of people that are not clients. It gives a
          13    that's where you have to fare it out and look at all    13   diagnosis date, whether it was on the death
          14    the data before you can make that judgment because it   14   certificate they died or whether it was best evidence
          15    was asbestos related.                                   15   that caused it, who signed the death certificate,
          16       Q And when you were making the judgment as to        16   where they lived, things like that.
          17    whether or not it was asbestos related, how did --      17       Q Okay. And it's --
          18    what standard were you using to do that? Were you       18       A And it's basically the demographics of
          19    saying it's only asbestos related if I conclude to a    19   everybody.
          20    reasonable degree of medical certainty that the         20       Q Okay. This is the demographics of the people
          21    asbestos-related disease was the cause of the death     21   involved in the mortality study; is that correct?
          22    or did you also say that a death of asbestos disease    22       A Yeah, that's right. And if you'll note that
          23    related if you concluded to a reasonable degree of      23   a lot of them, even though I didn't sign most of the
          24    medical certainty that the asbestos disease             24   death certificates because a lot of them died in
          25    contributed to the death?                               25   Libby, I had seen them in enough proximity that I

                                                                                                                 24 (Pages 90 to 93)
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                                                              Page 94                                                        Page 96
           1    knew -- had seem them in Spokane and taken care of       1      Q And sub means somebody who was a
           2    them in Spokane, so I frequently did not sign the        2   subcontractor that worked at the mines?
           3    death certificates myself.                               3      A Yeah.
           4       Q Okay. Let me just -- let me just understand         4      Q And then FM means family member?
           5    what this is.                                            5      A Yeah.
           6          This is 116 people --                              6      Q Are you familiar with the medical literature
           7       A Right.                                              7   that exists that shows that females or other family
           8       Q -- that you determined their -- that their          8   members of workers who were occupationally exposed to
           9    death was due to an asbestos-related disease; is that    9   asbestos can be exposed to substantial amounts of
          10    right?                                                  10   asbestos in the home?
          11       A Yes.                                               11      A Oh, sure.
          12       Q And this would include both the cancers and        12      Q Would you agree with me that generally
          13    the non-cancers, right?                                 13   speaking of the people in Libby, the people that
          14       A Yes.                                               14   worked at the mine were exposed to significantly more
          15       Q Okay. Why the discrepancy between the 116          15   asbestos than the community exposures?
          16    shown here and if you add 76 and 34, you come up with   16      A In certain parts of the mine, almost
          17    110?                                                    17   certainly.
          18              MR. BERNICK: It's because you can't           18      Q And would you also agree with me that the
          19    add, Nate. Let the record reflect that was in gest.     19   family members of people who were occupationally
          20              MR. LEWIS: Perhaps it's my                    20   exposed to Grace's asbestos in and around Libby
          21    shortcoming, Counsel, but I don't understand the        21   probably had higher exposures on average than people
          22    question. I don't --                                    22   who just had pure community exposures?
          23       Q (By Mr. Finch) My question is -- my question       23      A That is undetermined. It probably is true,
          24    is: Is there -- are there six people on this            24   but it's undetermined.
          25    document, 116 Mortality List.xls that either didn't     25      Q Okay. And then C, I take it, stands for

                                                              Page 95                                                        Page 97
           1    die as a result of asbestos-related disease or           1   community exposure?
           2    there's a miscounting or what?                           2      A Right.
           3        A Those were the six that we took off to get         3      Q And what is C or FM? Is that just where you
           4    final numbers.                                           4   didn't know or couldn't tell?
           5        Q Okay. All right.                                   5      A Sometimes you couldn't tell.
           6        A Okay?                                              6      Q Okay. Going back to the counting sheet which
           7        Q I understand that now.                             7   is Exhibit-7.
           8           So this would be the --                           8      A Mm-hm. (Answers affirmatively.)
           9        A These are the ones that, originally, I             9      Q For the lung function tests, I take it these
          10    thought were and then --                                10   are all related to the 76 who had non-malignant
          11        Q And then you took off six?                        11   diseases, correct?
          12        A Well, and then Arthur gave me some static         12      A Yeah.
          13    about a couple of them and we -- because he had         13      Q And you mention in your answer -- some of
          14    looked at a lot of these as well and then we narrowed   14   your answers a little while ago, you were talking
          15    it down by, you know, going through it a second time    15   about people of the 76 who had died as a result of
          16    to come out.                                            16   asbestosis. Do you recall that?
          17           The problem was that the first time I did        17      A Mm-hm. (Answers affirmatively.)
          18    this was contributing cause and the second time I did   18      Q How many of them died as a result of
          19    it was more directly as the direct best estimate of     19   asbestosis versus died as a result of pleural
          20    underlying disease that was the causing factor.         20   disease?
          21        Q Okay. Now, let me make sure I understand the      21      A We -- you know, basically there were less
          22    categories.                                             22   than a third that had -- even had interstitial
          23           Worker W means somebody who worked for W.R.      23   disease when you looked at the x-rays. They may have
          24    Grace?                                                  24   had some interstitial disease on CT, but the majority
          25        A That was a miner, mm-hm.                          25   of them had pleural disease.

                                                                                                                25 (Pages 94 to 97)
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                                                               Page 98                                                       Page 100
           1           We finally came to the conclusion that when        1       A -- pure pleural, minimal IF? Okay.
           2    you excluded some of the ones that had it on CT, that     2       Q And IF stands for interstitial fibrosis?
           3    probably eight of them and as many as eleven or           3       A Yeah.
           4    twelve died of pure pleural disease. It's hard to         4       Q Okay. Now, back to the first page of
           5    determine for sure.                                       5   Exhibit-7. That is lung function tests. Am I
           6           And some of them we didn't have CT scans on,       6   correct that of the 76 that died, 53 percent of them
           7    and so you really didn't know for sure whether            7   had a reduction of either FVC or TLC below 65 percent
           8    there's underlying disease that you didn't see in the     8   of predicted?
           9    scans, but only a third of them had interstitial          9       A Repeat that.
          10    disease on their plain films, so... (Pause.)             10       Q Yeah. You say -- what the document says is
          11       Q Okay. So a third of them had interstitial           11   29 have only DLCO, less than 65.
          12    disease on x-ray; is that right?                         12       A Right.
          13       A Yeah, and it was all 1/1 -- 1/0 or less.            13       Q 29 of 61 have only DLCO, less than 65.
          14       Q And what about -- what -- in addition to that       14       A Right.
          15    third, were there any that had interstitial disease      15       Q My question is: Is the flip of that true,
          16    that was visible on HRCT, but not visible on x-ray?      16   i.e., do 32 out of the 61 have either forced vital
          17       A Of that third?                                      17   capacity or total lung capacity less than 65 percent?
          18       Q No, of the whole 176 people.                        18       A Well, we know we have 28 listed here and 12
          19       A Oh, yeah, there were more that had it on CT         19   with TLC. That's 40. I'm not sure that I can answer
          20    scan that we did not see on the plain films, yes.        20   your question on the basis of that.
          21       Q So those people had interstitial disease too?       21       Q Are you finished with your answer?
          22       A Yeah, they had minimal interstitial disease,        22       A Yeah.
          23    but, yes, they did.                                      23       Q Okay.
          24       Q Okay. So if it was -- if your test was, does        24       A Oh, I was waiting for you.
          25    someone have interstitial disease observable by x-ray    25       Q No, I thought you -- I thought you were still

                                                               Page 99                                                       Page 101
           1    or CT scan, is it correct that a majority of the          1   looking at the document and was going to add
           2    people in the 76 -- the group of 76 had interstitial      2   something. Sorry about that.
           3    disease?                                                  3          One of your -- in addition to the blunting
           4       A First off, you have to define what is                4   requirement, one of your major criticisms of the TDP
           5    significant in interstitial disease because according     5   criteria for severe pleural disease is that -- and
           6    to the ILO or the ATS standards, a 1/0 or 0/1 doesn't     6   for that and the other non-malignant diseases, it
           7    count as an independent diagnosis, and we're counting     7   doesn't allow for reduction of DLCO as a basis for
           8    a lot of those for 0/1s or 1/0s, so what absolute --      8   qualifying for the compensation, correct?
           9    the actual number that had significant interstitial       9       A That's correct.
          10    disease, I think it's in here somewhere.                 10       Q You would agree with me to the extent that is
          11       Q In the counting sheet, you're looking at            11   unfair or unequal or improper, whatever in fairness
          12    Exhibit-7, Dr. Whitehouse?                               12   about that exists, would equally apply to people who
          13       A Yes. I'm trying to remember where it is.            13   were exposed to Grace asbestos outside of Libby as in
          14    Thirteen --                                              14   Libby?
          15       Q What page?                                          15       A You know, I don't know enough about any of
          16       A -- another nine that had moderate.                  16   the exposures of the people that were exposed outside
          17       Q What page are you looking at?                       17   of Libby to really draw any decent conclusions on it,
          18       A At the second page, the back of the second          18   you know. I mean, I understand Libby quite well and
          19    page, the top of the thing.                              19   I understand chrysotile and the forms that I've seen
          20       Q Does it say Page 2 of 6 at the bottom there?        20   it, but I'm not sure that I can tell you about it.
          21       A Page 4 of 6.                                        21          I would suspect that it's probably similar,
          22       Q Page 4 of 6?                                        22   but I don't know for sure.
          23       A At the top. See at the top where it says            23               MR. FINCH: All right. I am just about
          24    group --                                                 24   done. What I'm going to do is mark very quickly a
          25       Q Got it.                                             25   set of references from the medical literature that

                                                                                                                26 (Pages 98 to 101)
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                                                              Page 102                                                       Page 104
           1     I -- that you cite in your various parts of the          1      A Yeah, mm-hm.
           2     report. I'm not going to ask you any questions about     2      Q The next exhibit, Exhibit-11 --
           3     them. I just want to make sure I've got the right        3      A Mm-hm. (Answers affirmatively.)
           4     documents to make sure I know exactly what you're        4      Q -- is titled -- it's from the Journal of
           5     citing, so if we take a two-minute break off the         5   Occupational Medicine and Toxicology?
           6     record, I can get my colleague to mark all these and     6      A Yes.
           7     then we can just hand them to you and I can just go      7      Q It's a paper by Susan Miles?
           8     through them in probably five minutes or so.             8      A Yeah, it's quoted in the article, I think, as
           9                THE WITNESS: Sure.                            9   Yates.
          10                THE VIDEOGRAPHER: We're going off the        10      Q It's, Clinical Consequences of
          11     record. The time is now 10:56 a.m.                      11   Asbestos-Related Diffuse Pleural Thickening: A
          12                    (Exhibit-8 through Exhibit-14            12   Review. Is this something that you cited and relied
          13                      marked for identification.)            13   on in one of your reports?
          14                THE VIDEOGRAPHER: We're back on the          14      A Correct.
          15     record. The time is now 11:01 a.m.                      15      Q What is Whitehouse Deposition Exhibit-12?
          16         Q (By Mr. Finch) Dr. Whitehouse, do you have        16      A Lung Function Testing: Selection of
          17     Whitehouse Exhibit-8 in front of you?                   17   Reference Values.
          18         A Have what?                                        18      Q This is an American Thoracic Society
          19         Q Whitehouse Deposition Exhibit-8 in front of       19   statement, correct?
          20     you?                                                    20      A Yes.
          21                MR. LEWIS: This one.                         21      Q This is something you cite and rely on in
          22                THE WITNESS: Oh, this one.                   22   your expert report?
          23         A Yes, I do.                                        23      A In part, yes.
          24                MR. LEWIS: Can you just identify it          24      Q Whitehouse-13 is something -- is an article
          25     for the record, please?                                 25   entitled, Asbestos-Induced Pleural Fibrosis and

                                                              Page 103                                                       Page 105
           1                MR. FINCH: Yeah, this is the --               1   Impaired Lung Function, David Schwartz, et cetera?
           2        Q (By Mr. Finch) Do you recognize this as             2      A Yes.
           3    the -- it's an article entitled, Changes in the           3      Q That's a document that you cite and rely upon
           4    Normal Maximal Expiratory Flow-Volume Curve with          4   in your expert report?
           5    Growth and Aging. The first lead author is Knudson?       5      A Yes.
           6        A Yeah, this is the -- where the pulmonary            6      Q Whitehouse-14 is an article -- 1992 article
           7    norms come from.                                          7   by Lilis Miller, et al., The Effect of
           8        Q This is the pulmonary norms for spirometry          8   Asbestos-Induced Pleural Fibrosis on Pulmonary
           9    that you use; is that correct?                            9   Function: Quantitative Evaluation?
          10        A Yes.                                               10      A Yes.
          11        Q The next exhibit, Whitehouse Exhibit-9, this       11      Q That's an article you cite and rely on in
          12    is a paper by -- entitled, Radiographic ILO Readings     12   your expert work in this case?
          13    Predict Arterial Oxygen Desaturation During Exercise     13      A Although is this '91 or the '92 one?
          14    in Subjects with Asbestos. This is a paper you cite      14      Q This is the '92 one. You cite both --
          15    in your report?                                          15      A I cite both.
          16        A Yeah, I've seen that.                              16      Q -- but you rely on the '91 one -- I mean the
          17        Q Whitehouse Exhibit-10 is the excerpt from the      17   '92 one as well, correct?
          18    AMA, Guides to the Evaluation of Permanent Impairment    18      A Yes.
          19    that contains sections about the respiratory system;     19              MR. FINCH: Okay. Let me look over my
          20    is that right, Dr. Whitehouse?                           20   notes, but I think I'm done. So, off the record.
          21        A Yes.                                               21              THE VIDEOGRAPHER: We are going off the
          22        Q And you cite this in your expert report?           22   record. The time is now 11:04 a.m.
          23        A Yeah, I'm sure we did.                             23                   (Recess.)
          24        Q By this, I mean Whitehouse Deposition              24              THE VIDEOGRAPHER: We're back on the
          25    Exhibit-10.                                              25   record. The time is now 11:18 a.m.

                                                                                                               27 (Pages 102 to 105)
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                                                              Page 106                                                       Page 108
           1                    EXAMINATION                               1      A Jon Heberling, the attorney, thought it was a
           2     BY MR. BERNICK:                                          2   good idea if I reviewed them.
           3        Q Good morning, Dr. Whitehouse. Last time I           3      Q Mr. Finch is reminding me that this is not a
           4     saw you was in the beautiful confines of Missoula,       4   case of plaintiffs and defendants any more, so I
           5     Montana.                                                 5   shouldn't refer to defendants. He's grinning
           6        A In the beautiful courthouse, right.                 6   because --
           7        Q In the beautiful courthouse; that's right.          7      A Oh.
           8           So I'm going to be asking you some questions       8      Q -- he jumped at the opportunity to correct
           9     here this morning that are focused on the somewhat       9   me, which I appreciate, of course.
          10     different context of this case.                         10         So to be clear --
          11           And let me just ask preliminary: I take it        11              MR. LEWIS: We thought you guys -- we
          12     from your testimony that you've had occasion to         12   understand you guys are in a lockstep on all these
          13     review the deposition that was taken of Dr. Frank a     13   issues.
          14     few days ago; is that correct?                          14              MR. BERNICK: Well, you'd be surprised.
          15        A Yes.                                               15   The most miserable, knock-down, drag-out fights you
          16        Q Is there any other testimony that you've           16   can possibly imagine. I go home and talk to my wife
          17     reviewed in connection with your work in this case?     17   about how difficult it is for us to get along.
          18        A Testimony or reports or both?                      18      Q (By Mr. Bernick) No, seriously,
          19        Q Just testimony.                                    19   Mr. Heberling thought it would be a good idea if you
          20        A Oh, I reviewed Dr. Welch's and Dr. Parker's.       20   reviewed the deposition testimony offered by the
          21        Q Okay.                                              21   experts who are appearing for the plan proponents; is
          22        A And Dr. Moolgavkar's. I don't know how you         22   that right?
          23     pronounce that.                                         23      A Yeah, he did and he provided me copies of
          24        Q Moolgavkar.                                        24   them.
          25        A Oh, Moolgavkar, okay.                              25      Q Okay. So -- but -- so did he make the

                                                              Page 107                                                       Page 109
           1          Remind me who else you've done recently.            1   selection of which transcripts you should read?
           2        Q Oh, I don't know. I've not really kept              2      A No, I think he just -- I think he's always
           3    careful --                                                3   given me everybody's transcripts for the most part,
           4        A That may be all. I'm not sure.                      4   not all of them maybe, but anything that's happened
           5        Q Did you review any of the testimony --              5   in the last month or so, I think I've got copies of.
           6        A Orrig*, yeah, I did review that.                    6      Q Okay.
           7        Q You did review Orrig?                               7      A He keeps me pretty well informed.
           8        A Yeah. Some of those, more detailed than             8      Q Whose idea was it for you to review the
           9    others admittedly.                                        9   transcript of Dr. Frank's deposition?
          10        Q Did you review any of the testimony that was       10      A That was mine actually.
          11    offered at the trial, at the criminal trial?             11      Q Okay. And why did you decide to read
          12        A Only my own.                                       12   Dr. Frank's deposition?
          13        Q Okay. Didn't review the testimony of               13      A I know Dr. Frank pretty well, okay, and
          14    Dr. Lockey* or --                                        14   basically I wanted to see what he had to say. I
          15        A No.                                                15   don't think he said anything that I particularly
          16        Q -- Dr. Lemon*?                                     16   disagreed with or modified anything I was going to
          17        A No.                                                17   say, but I -- I didn't know for sure that -- what he
          18        Q Whose idea was it to review the testimony --       18   thought about some things and I wanted to be sure
          19    the deposition testimony of the defense experts that     19   that I knew.
          20    you mentioned?                                           20      Q So you read it and read it carefully?
          21        A Oh --                                              21      A I don't know if I read it carefully. I spent
          22               MR. FINCH: Object to form.                    22   twenty hours Saturday and Sunday reading depositions
          23        A -- I think Jon Heberling asked me and thought      23   and reports, so I don't know how careful that is.
          24    it was a good idea if I did.                             24   There's an awful lot of pages there.
          25        Q (By Mr. Bernick) Huh?                              25      Q Well --

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                                                              Page 110                                                       Page 112
           1       A I speed-read which may be part of it. That's         1   caution him when he strays from --
           2    how I get through a lot of this stuff sometimes.          2              THE WITNESS: Well, that was a little
           3       Q Okay. But did you make sure to read his              3   bit of a stray; you're right.
           4    deposition?                                               4              MR. BERNICK: Well, we were interested
           5       A Yeah, I did read it, I think, as carefully as        5   in the golf tournament.
           6    I read any deposition which, I mean, I get bored to       6              MR. FINCH: Or the fees --
           7    tears after a little while.                               7              MR. LEWIS: You can talk that over with
           8       Q The twenty hours that you spent as                   8   the doctor at the next break, Counsel.
           9    basically -- this is Monday (sic), so over the last       9              MR. BERNICK: Okay. That's fine.
          10    two days, you spent roughly ten hours a day doing        10   You're thinking that I'll -- that I won't be finished
          11    some reading?                                            11   by the next break. Who knows? Maybe I'll be all
          12       A Yeah, I did a crash course basically to make        12   done.
          13    sure that I was informed of all the issues that were     13       Q (By Mr. Bernick) So, Dr. Whitehouse, how did
          14    coming up here and to make sure that I was informed      14   you -- did you make a special request of
          15    about all the -- you know, my own report and all and     15   Mr. Heberling to get the Frank transcript?
          16    that I didn't -- didn't miss anything or didn't          16       A I don't actually recall.
          17    forget anything. I mean, there's been an awful lot       17       Q Okay. As a result of reading any of the
          18    of water under the bridge here and --                    18   depositions, did you do any further work in
          19       Q Right.                                              19   connection with the case?
          20       A -- a lot of things that have happened. This         20       A No, I don't think so, but I did -- as part of
          21    mortality report has been ongoing right up until last    21   all the stuff that I was reading was making sure I
          22    week. I mean, I've been looking at that and making       22   went over all the data sheets on various things that
          23    sure I, you know, understood some of the numbers that    23   I've done over the last year or so to be sure that I
          24    came out of it which were sometimes difficult to         24   had all the numbers -- the important numbers in my
          25    comprehend in the absentia of the whole thing.           25   head.

                                                              Page 111                                                       Page 113
           1       Q Okay. Before this last week ended -- let's           1       Q So basically over this last weekend, you sat
           2    just strike that.                                         2   down to do the final prep for your dep and you had a
           3          The crash courses, you call it, and I'm             3   whole collection of materials that included expert
           4    not -- there's no particular magic to that term, but      4   reports, depositions, and other information that you
           5    was that in anticipation of your being deposed today?     5   wanted to make sure that you reviewed before you were
           6       A Yeah.                                                6   deposed, fair?
           7       Q Okay. That's fair and we appreciate your             7       A Fair enough.
           8    undertaking that effort.                                  8       Q Okay. I want to first ask you about your
           9          Prior to this last weekend, had you read            9   experience and seeing patients who had
          10    Dr. Frank's deposition?                                  10   asbestos-related illness outside of Libby, that is,
          11       A Prior to this last weekend?                         11   people whose exposure wasn't related to Libby. Okay?
          12       Q Yes.                                                12          How many cases -- how many people have you
          13       A I'm not sure. I only got it, I think, about         13   seen where you diagnosed asbestos-related illness
          14    Tuesday or Wednesday and then I had a number of other    14   from exposures outside of Libby?
          15    things that were going on, and so I don't -- I really    15       A I don't know the answer to that exactly. I
          16    could not. I would have done it sooner if I could        16   have estimated I probably have seen over the years as
          17    have.                                                    17   many as 500.
          18       Q Okay.                                               18       Q 500 people that you diagnosed or 500 people
          19       A But my wife was involved in a charity golf          19   that you saw in connection with the possibility that
          20    tournament and, of course, she enlisted me doing all     20   they had asbestos-related illness?
          21    the work.                                                21       A Well, that's a good question because -- and I
          22               MR. LEWIS: Doctor, I should remind you        22   don't know that I can answer that question. I mean,
          23    just to answer the question that's been asked. Okay?     23   it probably -- it may be half and half. There were a
          24               THE WITNESS: Okay.                            24   lot of them that were sent to me for confirmation of
          25               MR. BERNICK: And we'll be sure to             25   a diagnosis by Washington Labor and Industry.

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                                                               Page 114                                                       Page 116
           1         Q Okay. Is it true that with respect to your          1       A Well, it's treated as such in the literature.
           2     experience in seeing people with asbestos-related         2   There's obviously confusion in that literature though
           3     illness not related to Libby that you have published      3   in that there's data or reports concerning confluent
           4     no papers?                                                4   pleural plaques and their effect on lung function
           5         A No, I have published no papers.                     5   which makes you wonder whether -- about that -- where
           6         Q Is it also true that with respect to those          6   does confluent pleural plaques leave off and diffuse
           7     people you have not provided or you're not aware of       7   pleural thickening begins. It sort of sounds like
           8     anybody who's provided medical files relating to          8   the same thing, but it is treated pretty much as a
           9     those people to anybody involved in this bankruptcy       9   separate disease in the literature.
          10     case?                                                    10       Q I asked -- I just asked Dr. Frank, I said, is
          11         A No.                                                11   it true that the scientific literature defined a
          12         Q Is it true? Is what I said true?                   12   diagnostic entity called diffuse pleural thickening
          13         A That's correct. That's correct, yes.               13   at least as of the 1970s and without relationship to
          14         Q Is it true that in connection with your work       14   Libby, Montana, and his answer was yes.
          15     on this case and the reports that you've done and the    15       A I would concur with that.
          16     testimony that you've offered that you've provided --    16       Q Okay. And, in fact, we can go throughout the
          17     presented no data relating to patients that you've       17   literature during this whole period of time and
          18     seen with asbestos-related illness unrelated to          18   whether or not diffuse pleural thickening is defined
          19     Libby?                                                   19   to include what you called confluent plaques or not,
          20         A That's correct.                                    20   the literature has regarded diffuse pleural
          21         Q Okay. And I think you said in your own words       21   thickening as a distinct diagnostic entity, fair?
          22     this morning that pretty much you've studied strictly    22       A That's fair.
          23     asbestos disease in Libby; is that correct?              23       Q Okay. Is it also true that diffuse pleural
          24         A Not entirely. I read pieces of literature          24   thickening has been studied scientifically over those
          25     over the years, but the -- most of the work that I       25   years at least since the 1970s?

                                                               Page 115                                                       Page 117
           1    did concerning those people with chrysotile exposure       1      A Yes.
           2    was pretty well before the Libby thing all broke, and      2      Q Is it true that there are papers that have
           3    so there wasn't any driving force for me to maintain       3   been published and presented that specifically focus
           4    data or anything like that.                                4   on the pathology or pathological presentation of
           5        Q Okay. But let me -- that's fair and let me           5   diffuse pleural thickening?
           6    just ask you this question: Is it accurate that            6              MR. LEWIS: Objection. That's a
           7    you've not done any scientific analysis of diffuse         7   compound question.
           8    pleural thickening in any patient population outside       8      Q (By Mr. Bernick) Go ahead and answer.
           9    of Libby?                                                  9              MR. LEWIS: Which is it? Which
          10        A That's true.                                        10   question do you want him to answer, Counsel?
          11        Q Let's talk a little bit about diffuse pleural       11              MR. BERNICK: I don't think it's
          12    thickening in the literature which, of course, is         12   compound.
          13    going to relate to folks outside of Libby, right?         13      Q (By Mr. Bernick) Do you understand the
          14        A Most of it does, yes.                               14   question?
          15        Q Well, there's not any -- there's no published       15      A No. Why don't you repeat it, please?
          16    literature about diffuse pleural thickening in Libby      16      Q Is it true that there are papers that have
          17    specifically, correct?                                    17   been published and presented focused specifically on
          18        A That's correct.                                     18   the pathology or pathological presentation of diffuse
          19        Q So if we want to talk about diffuse pleural         19   pleural thickening?
          20    thickening in the published literature, we're talking     20      A I'm sure there have been.
          21    about that disease as it's been studied and published     21      Q Is it also true that there are papers that
          22    for people outside of Libby, fair?                        22   have specifically sought to measure the effect of
          23        A Yes.                                                23   diffuse pleural thickening on lung function?
          24        Q Okay. Would you agree that diffuse pleural          24      A Yes.
          25    thickening is a distinct diagnostic entity?               25      Q Okay. Now, I first want to talk about

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           1     Dr. Frank's background and then I want to talk about      1   those reports?
           2     your background. Let's begin with Dr. Frank.              2       A Well, I assume probably -- well --
           3             Is it true that Dr. Frank has published no        3       Q You don't have to assume. You just --
           4     papers regarding diffuse pleural thickening?              4       A I can't --
           5          A I would have to take your word for that.           5       Q As counsel will tell you, if you know, say.
           6          Q Are you aware of any?                              6   If you don't know, say you don't know.
           7          A I'm not aware of any.                              7              MR. LEWIS: Exactly correct. That's
           8          Q Are you aware of Dr. Frank ever presenting         8   what I'd like you to do. If you know, answer the
           9     any papers regarding diffuse pleural thickening?          9   question truthfully. If you don't know, say you
          10          A I have no idea.                                   10   don't know.
          11          Q Are you aware of whether Dr. Frank has ever       11       A I don't really know.
          12     even studied the scientific literature regarding the     12       Q (By Mr. Bernick) Okay. Well, did you review
          13     effect of diffuse pleural thickening on lung             13   those reports before they were issued?
          14     function?                                                14       A Yes.
          15                   MR. LEWIS: Objection. Argumentative.       15       Q Did you write those reports?
          16                   MR. BERNICK: Well, all                     16       A Yes.
          17     cross-examination is argumentative.                      17       Q You wrote them word by word?
          18                   MR. LEWIS: No, but that one --             18       A Not word for word. The way I do the reports
          19                   MR. BERNICK: You think that one was a      19   is that I write down all the various things, go over
          20     little bit over the line? I'll rephrase it.              20   the various things with the attorney or the
          21          Q (By Mr. Bernick) Is it true that Dr. Frank        21   secretaries and their secretaries type it up for me
          22     has not himself studied the scientific literature        22   because I don't have a typist available to me.
          23     regarding the impact of diffuse pleural thickening on    23       Q Okay. So you write them out in hand?
          24     lung function?                                           24       A I do some in hand and some of them I do
          25          A I have no idea what he's studied.                 25   verbally and then I check a draft and then make a lot

                                                               Page 119                                                       Page 121
           1        Q Well, we asked him those questions. Did you          1   of corrections to that and then send it back and get
           2    see in his deposition I asked him those questions?         2   it typed.
           3        A You know, I did miss that. Off the periphery         3       Q But the content of the reports that had both
           4    for a minute, I -- I didn't pay that much attention        4   your name and Dr. Frank's name, the content of the
           5    to --                                                      5   reports is all yours?
           6        Q Well, I will tell you that he testified in           6       A Mostly mine.
           7    his deposition that he had not done a review of the        7       Q Well --
           8    literature on the impairment associated with diffuse       8       A He added some things to it. I'm not quite
           9    pleural thickening.                                        9   sure what all was added in retrospect, but I know
          10        A Okay.                                               10   that it was run by him and then he made changes in
          11        Q And my question -- and was not able to answer       11   it.
          12    my questions on that, so I then get to this question:     12       Q Okay. But in terms of the original
          13    You -- in this case -- I should say -- in this case,      13   authorship, you are the original author of all
          14    we've received expert reports authored by you?            14   reports that bear your name?
          15        A Yes.                                                15       A Yeah, basically.
          16        Q And we've also received expert reports that         16       Q Okay. Whose idea was it to have both
          17    purport to be expert reports authored jointly by you      17   Dr. Frank and you be -- have the same report?
          18    and Dr. Frank and have both your names on them?           18       A I don't know.
          19        A Yes.                                                19       Q Well --
          20        Q Do you know what I'm talking about?                 20       A I don't know whether it was his idea or
          21        A I do.                                               21   whether it was the attorney's. It wasn't mine.
          22        Q Who actually wrote Dr. Frank's name on those        22       Q It wasn't yours?
          23    reports?                                                  23       A No.
          24        A Who actually wrote his name?                        24       Q Well, but if it wasn't your idea, why was it
          25        Q Yeah. Who decided to include his name on            25   done?

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                                                               Page 122                                                      Page 124
           1          A Well, there's no reason why we couldn't not        1   associated with pleural disease that were mentioned
           2     do a joint report. We've discussed all kinds of           2   in the ATS 2004 paper that you hadn't even read,
           3     things --                                                 3   right?
           4          Q Well, that report --                               4       A That I -- I didn't know whether I read them.
           5          A -- Dr. Frank and I have.                           5   I didn't -- I didn't look exactly at the sites.
           6          Q That report purports to reflect not only your      6   There were three of them there at that point and I
           7     opinions, but Dr. Frank's opinions, right?                7   don't know whether I read them or not. I don't think
           8          A That's correct.                                    8   I did, but I don't know for sure.
           9          Q And we learned from Dr. Frank that he didn't       9       Q Well, but you come here to offer expert
          10     know of some of the literature and some of the           10   opinions regarding diffuse pleural thickening and I
          11     opinions that were in the report, so whose idea was      11   know that you -- I know the basis of your expert
          12     it that the report would be for both him and you?        12   opinions insofar as Libby is concerned or I think I
          13                 MR. LEWIS: Objection. That question          13   do. We're going to get to that in a minute, but what
          14     has been asked and answered a couple of times now.       14   I'm really exploring is the degree to which you can
          15          Q (By Mr. Bernick) Well, let me just ask --         15   hold yourself out as being an expert in what the
          16     I'll withdraw it.                                        16   scientific literature says about diffuse pleural
          17             Didn't -- wasn't -- had you ever before          17   thickening outside of Libby.
          18     issued an expert report in connectin with litigation     18               MR. LEWIS: Objection. That's a speech
          19     which was a joint report of yourself and somebody        19   of counsel. It's not a question.
          20     else?                                                    20               MR. BERNICK: Then wait for the
          21          A No.                                               21   question.
          22          Q Well, didn't it strike you a little bit odd       22               MR. LEWIS: Well --
          23     that that was happening here?                            23               MR. BERNICK: I'll ask a question.
          24          A No, not particularly because, you know, I met     24               MR. LEWIS: It's completely loaded up.
          25     with Dr. Frank a number of times in Libby and we         25   It's an improper question, Counsel. You're very

                                                               Page 123                                                      Page 125
           1    discussed all kinds of things relative to Libby            1   experienced. You know it was improper.
           2    cases, and so having a joint report -- it didn't seem      2               MR. BERNICK: No, I think it's very
           3    that out of line to me, no.                                3   proper because it tells the witness very candidly
           4       Q And you just don't know whether it was his            4   exactly where I'm going.
           5    idea or the attorney's idea?                               5               MR. LEWIS: No, it's loaded up. It's
           6       A I don't.                                              6   very argumentative.
           7       Q Okay. Let's turn to your own background.              7      Q (By Mr. Bernick) Here's my question to you,
           8          It's true, is it not, that you have not              8   Dr. Whitehouse, in order to -- so as to not prolong
           9    published any papers at all on diffuse pleural             9   the agony: Have you done a comprehensive review of
          10    thickening?                                               10   the scientific literature regarding the impact of
          11       A That's correct.                                      11   diffuse pleural thickening on lung function?
          12       Q Is it true that you have presented no papers         12      A Define comprehensive.
          13    on diffuse pleural thickening?                            13      Q Well, it's not a huge piece of -- it's not a
          14       A True.                                                14   huge body of literature, is it?
          15       Q Is it true that you've not made a systematic         15      A Oh, there's a lot of literature. I mean,
          16    study of the literature, the scientific literature on     16   there's literature not only in the U.S., but in
          17    diffuse pleural thickening?                               17   Australia, South Africa, in Great Britain, and I've
          18       A I have read a lot of literature concerning           18   read literature from all those areas. Now, I don't
          19    diffuse pleural thickening.                               19   know what the definition of comprehensive is.
          20       Q I understand that.                                   20      Q Well, have you done a system -- have you done
          21       A Whether that's systematic or not, I don't            21   a -- have you done a literature search, a scientific
          22    know that I could answer that.                            22   articles search to gather those studies that focus
          23       Q Well, but that's -- I mean, you already told         23   specifically on diffuse pleural thickening and its
          24    Mr. Finch as an example that there were papers that       24   impact on lung function? Have you done that?
          25    dealt with the progressive loss of lung function          25      A I haven't done it systematically.

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                                                                Page 126                                                       Page 128
           1         Q If I were to ask you about different results         1       Q But a lot of other people do, people in your
           2     and different studies, that is, when does diffuse          2   field.
           3     pleural thickening lead to a measurable loss of lung       3       A Well, I don't.
           4     function or not, would you be able to tell me the          4       Q Well, I'm just asking you: Do you consider
           5     different studies and their different results on that      5   yourself to be a person who can speak authoritatively
           6     very specific issue?                                       6   to what all the literature says outside of Libby
           7         A You mean you want me to actually quote an            7   about the impact of diffuse pleural thickening on
           8     article and what the article says?                         8   specific lung function results?
           9         Q I want you to be able to talk with me about          9       A You used the term all the literature, and,
          10     it in the deposition because I really want to know if     10   no, I have not read all the literature, every piece
          11     you hold yourself out as an expert in the differing       11   of the literature. I've read a substantial portion
          12     results that have been seen when data has been            12   of the literature. I don't even know what the
          13     gathered on the impact of diffuse pleural thickening      13   percentage is.
          14     on lung function.                                         14       Q So you don't know what you don't know?
          15                MR. LEWIS: You finished?                       15       A Yeah, I think I know what I don't know.
          16                MR. BERNICK: Yeah.                             16       Q Okay.
          17                MR. LEWIS: Objection. That's not a             17       A What I don't know is -- also gets quoted in a
          18     question. That's a statement of counsel. I move           18   lot of these articles you read. What I haven't -- I
          19     that it be strickened.                                    19   shouldn't say don't know. What I haven't read
          20         Q (By Mr. Bernick) Can you hold yourself out          20   necessarily is also summarized in a lot of these
          21     as an expert in the differing results that have been      21   articles.
          22     recorded in the scientific literature when scientists     22       Q Okay. So if you give answers to my questions
          23     have asked what is the impact of diffuse pleural          23   today about when and under what conditions does
          24     thickening on lung function?                              24   diffuse pleural thickening actually cause a
          25         A Well, to begin with, I don't use the term           25   substantial reduction in lung function, you and I can

                                                                Page 127                                                       Page 129
           1    expert related to myself particularly. I basically          1   have a dialog on the actual data that's in the
           2    am a longstanding practitioner with very extensive          2   literature and you'll be able to respond? You're
           3    experience in lung disease and very extensive               3   being held out as an expert in this case. You'll be
           4    experience in Libby disease and I have read a lot of        4   able to respond to that as an expert; is that fair?
           5    literature concerning diffuse pleural thickening that       5       A I can respond very accurately to what happens
           6    I have utilized in formulating my opinions. Now, I          6   in people in Libby, what happens to their pulmonary
           7    don't guess that that would be considered systematic,       7   function relative to diffuse pleural thickening. I'm
           8    but that's the way it is.                                   8   not going to make any attempt to summarize what
           9        Q Fair enough. And I've always recognized that          9   happens in the chrysotile world in that regard.
          10    you are candid in responding to questions and get to       10       Q Can you make any attempt to summarize what
          11    the point. That is my point. We're going to get to         11   happens in the non-Libby -- you pick out chrysotile.
          12    the Libby experience in a minute, but I'm talking          12   I'm not just focused on chrysotile. I'm --
          13    about your -- I'm talking about your expertise in          13              MR. LEWIS: Counsel -- Counsel --
          14    what's been reported outside of Libby.                     14                  (Simultaneous talking.)
          15           Do you consider yourself to be an expert in         15              MR. LEWIS: I've got the floor now.
          16    the science, the scientific results of what's been         16   Don't argue with this witness. You'll have great
          17    reported outside of Libby when it comes to the impact      17   latitude. I understand this is cross-examination,
          18    of diffuse pleural thickening on specific lung             18   but just answer the -- ask questions, let the witness
          19    function tests?                                            19   answer. Don't make speeches, please.
          20        A I think I'm knowledgeable about what's in the        20       Q (By Mr. Bernick) Was your last answer
          21    literature relative to that.                               21   confined to chrysotile as opposed to amphibole?
          22        Q But do you consider yourself to be an expert         22       A Basically, I have reviewed a great deal of
          23    in what's in the literature with respect to that?          23   literature relative to amphiboles and diffuse pleural
          24        A I told you before, I don't use the term              24   thickening, particularly the Australian literature
          25    expert --                                                  25   which has a lot of information in it. I don't know

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           1     how much altogether there is in the chrysotile             1          And the other layer is called the visceral
           2     literature except that it's -- in many respects, it's      2   pleura, right?
           3     been neglected because of the fact there's been so         3       A That's correct.
           4     much emphasis on interstitial lung disease and             4       Q Okay. And when you refer to confluent
           5     chrysotile over the years, so that's where -- that's       5   plaques, that's a fibrotic process that affects and
           6     basically where I get my information from.                 6   is evident in the parietal pleura, correct?
           7         Q Okay. Let's pursue this a little bit and see         7       A Well, that's where it's considered that
           8     where it goes.                                             8   plaques begin and where -- where the majority of
           9                  MR. BERNICK: And I'm sorry. That was          9   plaques are. It's not totally exclusive, but I think
          10     a declaratory statement by me.                            10   that's probably a reasonable statement and most of
          11                  MR. LEWIS: Yes, but it's preparatory         11   the plaques we see are initially on the parietal
          12     to your next line of questioning.                         12   pleura.
          13                  MR. BERNICK: So that's okay?                 13       Q And the condition known is confluent plaques.
          14                  MR. LEWIS: I have no problem with it.        14   It's a condition, a fibrotic condition, involving the
          15     I'm not being a jerk here.                                15   parietal pleura, correct?
          16                  MR. BERNICK: No, I know.                     16       A That's correct.
          17                  MR. LEWIS: I'm just --                       17       Q And the visceral pleura also can
          18                  MR. BERNICK: I don't think you are. I        18   experience -- strike that.
          19     think you're being fine. I disagree with what you're      19          If we take a look at definitions of diffuse
          20     doing, but --                                             20   pleural thickening, sometimes there have been
          21                  MR. LEWIS: I understand that.                21   definitions that diffuse pleural thickening didn't
          22                  MR. BERNICK: -- you look like a nice         22   include the parietal pleura, correct?
          23     guy.                                                      23       A Yes.
          24         Q (By Mr. Bernick) So the literature -- let's         24       Q Now, we've talked about the visceral pleura.
          25     talk a little bit about the literature. All my            25   The visceral pleura can also be involved in -- it can

                                                                Page 131                                                          Page 133
           1    questions now are going to be about the literature          1   have thickening as a result of asbestos exposure,
           2    until we get to Libby and I'll let you know. Okay?          2   correct?
           3       A Mm-hm. (Answers affirmatively.)                        3       A Yes, very much so.
           4       Q Is it true that the literature, the                    4       Q And there's a fibrotic process that can lead
           5    scientific literature reflects that there are               5   to a condition called blunting of the costophrenic
           6    different types of diffuse pleural thickening?              6   angle, correct?
           7       A I think you need to define what you're saying          7       A Yes.
           8    by different types of diffuse pleural thickening.           8       Q And that's a condition that affects the
           9       Q Okay. Anatomically, there are two different            9   visceral pleura, correct?
          10    layers of the pleural, correct?                            10       A Well, I think it -- no, not entirely. It
          11       A Oh, that's what you're referring to?                  11   involves everything --
          12       Q Well, if laypeople -- so I don't get into             12       Q Well --
          13    trouble with the claimants' lawyer here, let me just       13       A -- if you look at --
          14    try to get to the questions.                               14       Q -- the condition of blunting of the
          15          The literature says -- or it's true                  15   costophrenic angle, to the extent that it affects, it
          16    anatomically that there are two different layers of        16   is a fibrosis of the pleura, is a fibrosis of the
          17    the pleural, correct?                                      17   visceral pleura, correct?
          18       A That's correct. Well, that -- you didn't say          18       A Not entirely. It involves both. If you look
          19    that.                                                      19   at a blunted angle, there's no way to say that it
          20       Q Okay. And one layer is called the parietal            20   involves only one portion of the pleura than the
          21    pleural, correct?                                          21   other. It's not possible to say that.
          22       A Yeah, you don't need to tell me about the             22       Q It arises as a result of fibrosis in the
          23    anatomy of the chest. I'm pretty good at --                23   visceral pleura, correct?
          24       Q Well, I just want to make sure that we get it         24       A I don't think that's necessarily true. If
          25    straight.                                                  25   you look at -- it's likely that it starts that way,

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           1     but it's not necessarily true because, you know, most     1   word start.
           2     of that arises from the fact that people -- some of       2          Let's start talking etiology. Okay? The
           3     the literature has said that, you know, 90 percent of     3   etiology of blunting of the costophrenic angle, the
           4     these are due to pleural effusions. Some of the           4   etiology says it begins with a fibrotic process
           5     literature though disagrees with that.                    5   involving the visceral pleura, correct?
           6         Q Well, let's get specific.                           6               MR. LEWIS: I think that -- Counsel,
           7            You tell me the literature that says the           7   that question is compound. I don't think --
           8     fibrosis involving blunting the costophrenic angle        8               MR. BERNICK: Let's make --
           9     arises in the parietal as opposed to the visceral         9               MR. LEWIS: You don't define etiology.
          10     pleura. Tell me one study.                               10   Etiology could be something --
          11         A McCloud's study demonstrates the relationship      11               MR. BERNICK: Just say --
          12     of fibrosis with strands across between the visceral     12                   (Simultaneous talking.)
          13     and parietal pleural.                                    13               MR. BERNICK: Just say objection to
          14         Q That's not my --                                   14   form, compound, or ambiguous. Okay? It's not that
          15                MR. LEWIS: Let him finish his answer          15   complicated. You're just making -- you're making a
          16     and then you can inquire again, Counsel.                 16   record.
          17         A And that's basically what we're talking about      17               MR. LEWIS: In Montana, you can't just
          18     when you're talking about blunting of the                18   say objection to form.
          19     costophrenic angle.                                      19               MR. BERNICK: This is a federal -- this
          20         Q (By Mr. Bernick) My question,                      20   is a federal proceeding that's taking place --
          21     Dr. Whitehouse, is simple. Tell me a single study        21               MR. LEWIS: In Montana --
          22     that says that the fibrotic process involved or          22               MR. BERNICK: It's taking place --
          23     associated with blunting of the costophrenic angle       23               MR. LEWIS: All right.
          24     begins in the parietal pleura.                           24               MR. BERNICK: -- pursuant to a process.
          25         A I don't know that there's a study that says        25   The only reason we're in Montana is for

                                                               Page 135                                                       Page 137
           1    it begins there.                                           1   Dr. Whitehouse's convenience. Okay? So the Montana
           2        Q That's what I asked you.                             2   rules --
           3        A Well, except that what I -- what I --                3              MR. LEWIS: I stand corrected.
           4        Q What's indicated --                                  4              MR. BERNICK: -- don't govern this
           5        A -- indicated to you in the McCloud --                5   process.
           6               MR. LEWIS: Let him finish.                      6              MR. LEWIS: I stand corrected, Counsel.
           7               MR. BERNICK: No, no, that's not --              7   All right?
           8        Q (By Mr. Bernick) Just focus on the question          8              MR. BERNICK: So I'll do my best to ask
           9    and answer the question.                                   9   clean, clear questions.
          10        A That's what I was doing.                            10              MR. LEWIS: And I'll do my best to
          11        Q Okay. I asked you a question. Let's be very         11   protect the record as well, but I'm not trying to
          12    clear. Is there a single study that says that the         12   interfere with your examination.
          13    fibrosis that's consequent on blunting of the             13       Q (By Mr. Bernick) Now that we've had this
          14    costophrenic angle or associated with it starts in        14   meaningful dialog, Dr. Whitehouse, the question to
          15    the parietal pleura?                                      15   you is: Isn't it a fact that where you have diffuse
          16        A McCloud's study demonstrates that stranding         16   pleural thickening arising from or associated with
          17    occurs and there occurs an inflammatory response in       17   blunting of the costophrenic angle, it originates in
          18    the parietal pleura associated with the visceral          18   the visceral pleura?
          19    pleura.                                                   19       A I don't think that's necessarily known.
          20        Q Didn't --                                           20       Q Well, but you tell me where's the study that
          21        A There's no difference between the angle and         21   says otherwise. Where's the study that says -- you
          22    the rest of the pleura. It's all part of the              22   tell me anybody who said that it originates someplace
          23    relationship between the visceral and the parietal        23   else.
          24    pleura.                                                   24       A Well, to begin with, there's a fair amount of
          25        Q That's completely nonresponsive. I used the         25   discussion and lot of argument in the literature and

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           1     there was prior to the 2000 ILO that blunting was,         1   had a fair question there and then you had to comment
           2     first off, not necessarily had to be present for           2   on it and you had to give your opinion as to it.
           3     there to be diffuse pleural thickening.                    3   That's improper. Please ask the witness a question
           4         Q You're answering an entirely different               4   and don't make editorial comments about your own
           5     question.                                                  5   questions.
           6         A No, I'm not.                                         6               MR. BERNICK: Well, don't make
           7         Q I asked a very specific question. The                7   editorial comments about your objections. We can go
           8     origination of a fibrotic process that is associated       8   through this process and pretty soon we'll just break
           9     with blunting of the costophrenic angle, tell me a         9   off and call the judge.
          10     single study saying that it originates anywhere other     10               MR. LEWIS: That's fine. I'm willing
          11     than the visceral pleura. I just want the study that      11   to call in the judge right now --
          12     says that.                                                12               MR. BERNICK: This is really --
          13         A I told you once before, the McCloud study           13               MR. LEWIS: -- on your questioning this
          14     demonstrated fibrotic process, pleural in the             14   witness.
          15     parietal pleural. That's what we're talking about in      15               MR. BERNICK: -- really an impediment
          16     blunting. I'm sorry, whether you like it or not.          16   to the process here that we haven't experienced
          17         Q No, you talk about the -- you talk about the        17   before in the case.
          18     fact that there's fibrotic process that runs between      18      Q (By Mr. Bernick) I'm just trying to find
          19     the two layers and that's not my question.                19   out, Dr. Whitehouse, whether there's a difference
          20                 MR. LEWIS: My problem here, Counsel,          20   between diffuse pleural thickening arising from
          21     is you're arguing with the witness and that is            21   confluent plaques and diffuse pleural thickening
          22     entirely improper. Ask him a question, he answers         22   associated with blunting of the costophrenic angle.
          23     it, when he's finished, then you get to inquire           23   Tell me whether there's a difference or not.
          24     again. You constantly cut him off and that's              24      A There's a difference between those two,
          25     improper.                                                 25   clearly.

                                                                Page 139                                                       Page 141
           1       Q (By Mr. Bernick) Let me ask you this                   1       Q Okay. And that clear difference has been
           2    question, Dr. Whitehouse: Would you agree with me           2   recognized in the scientific literature, correct?
           3    that the diffuse pleural thickening that's associated       3       A The difference that's been recognized that
           4    with confluent plaques is different in origin and           4   you're reporting to is you're making the assumption
           5    appearance and in the origin and presentation from          5   that diffuse pleural thickening is present with
           6    the diffuse pleural thickening that's associated with       6   blunting by the way the question is phrased and how
           7    the costophrenic angle?                                     7   it's in the context of it.
           8       A You've made the assumption there that diffuse          8           Why don't you ask me the question, is there
           9    pleural thickening has to be associated with blunting       9   any difference between pleural thickening that
          10    of the costophrenic angle.                                 10   doesn't involve blunting and confluent pleural
          11       Q I didn't say that.                                    11   plaques, which would be the more logical question to
          12       A Well --                                               12   ask me.
          13       Q Just listen to my question.                           13       Q That's not the question that I asked you.
          14       A -- your question assumes --                           14           You just said that there was two -- a clear
          15       Q No.                                                   15   difference between diffuse pleural thickening
          16       A It does.                                              16   presented through confluent plaques and diffuse
          17       Q It's just a simple question.                          17   pleural thickening that's associated with blunting of
          18          Would you agree with me that the diffuse             18   the costophrenic angle.
          19    pleural thickening that is presented in confluent          19       A I eliminated the blunting of the angle from
          20    plaques is different in type from the diffuse pleural      20   my answer.
          21    thickening that is associated with blunting of the         21       Q No, you said --
          22    costophrenic angle? There are two different types of       22       A I just did in that comment that I made.
          23    diffuse pleural thickening.                                23       Q Okay. Okay. So now there's not a clear
          24       A I don't --                                            24   difference between diffuse pleural thickening
          25               MR. LEWIS: Objection. Counsel, you              25   involving confluent plaques and diffuse pleural

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           1     thickening involving blunting of the costophrenic        1   thickening, isn't it the case that the literature
           2     angle? There's not a clear difference? Just tell me      2   only reports impairment in the form of a restriction?
           3     yes or no. There's no trick to it. I just want to        3      A Yes, I think that's true.
           4     know whether they're different or not.                   4      Q Okay. Now, when we deal with impairment
           5        A I think there is a trick to it because --           5   associated with confluent plaques, has the literature
           6        Q No.                                                 6   analyzed whether there is impairment to lung function
           7        A -- the trick is getting me to agree to the          7   associated with confluent plaques?
           8     fact that there is -- blunting has to be there with      8      A Well, the literature has already analyzed the
           9     the diffuse pleural thickening and --                    9   fact that plaques themselves cause loss of lung
          10        Q No.                                                10   function.
          11        A -- I'm not willing to agree to that.               11      Q I didn't ask you that.
          12        Q No, no, no. We're going to go down that road       12      A Well, that's plaques and confluent plaques
          13     in a minute.                                            13   could be expected --
          14        A Why don't we go down this road first and then      14      Q I'm specifically talking about confluent
          15     come back to that?                                      15   plaques. You're really going to have to listen to
          16        Q No, no.                                            16   the question carefully because otherwise we'll just
          17           Let's just talk about the diffuse pleural         17   take a long time.
          18     thickening that is associated with blunting of the      18         You talked about -- we talked about there
          19     costophrenic angle. Okay? Got that in mind?             19   being a difference between diffuse pleural thickening
          20        A Okay.                                              20   involving confluent plaques and diffuse pleural
          21        Q Is that different? Is there a clear                21   thickening where it is associated with blunting of
          22     difference between that diffuse pleural thickening      22   the costophrenic angle.
          23     and diffuse pleural thickening presented through        23         Now, with that difference in mind, I'm asking
          24     confluent plaques?                                      24   you about impairment. That's very clearly where I'm
          25        A Yes, there obviously is. There's not a             25   going. Okay? So I'm now going to ask you a

                                                              Page 143                                                       Page 145
           1    problem with it in the confluence in the plaques.         1   question.
           2       Q Okay. And is that clear difference                   2          Is there literature that analyzes the
           3    recognized in the scientific literature?                  3   impairment that is associated -- whether impairment
           4       A I think it is.                                       4   is associated with confluent plaques, is there
           5       Q Okay. And now let's turn then to the                 5   literature that does that?
           6    question of impairment associated with diffuse            6       A I don't know for certain. I know that
           7    pleural thickening. Okay? I asked Dr. Frank whether       7   there's literature associated with plaques. I assume
           8    the impairment associated with diffuse pleural            8   there is with confluent plaques. I haven't seen it.
           9    thickening was restrictive, obstructive, or both, and     9       Q You have not seen literature --
          10    he said that it was restrictive. Would you agree         10       A I don't recall a specific article that
          11    with that?                                               11   relates only to confluent plaques.
          12       A I think predominantly so.                           12       Q Well, that's interesting because I believe
          13       Q Are you aware of any literature reporting           13   that you take issue with the idea that diffuse
          14    obstructive impairment consequent on diffuse pleural     14   pleural thickening should be confined in definition
          15    thickening?                                              15   to thickening that's associated with blunting of the
          16       A As I recall, it was alluded to in the Orrig         16   costophrenic angle. That's something you take issue
          17    article. They were mostly talking about interstitial     17   with, correct?
          18    disease.                                                 18       A Well --
          19       Q Right.                                              19       Q You don't like to see the definition of
          20       A But that's the only context that I know about       20   diffuse pleural thickening confined to the condition
          21    for sure.                                                21   that arises in connection with blunting of the
          22       Q Well, that's what I'm talking about.                22   costophrenic angle, correct?
          23           Set aside interstitial disease. And I know        23       A That's correct.
          24    that you have opinions on that. I'm not going to get     24       Q Well, but if that's true, why haven't you
          25    into that. When we just talk about diffuse pleural       25   looked to see -- looked to the literature

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           1     specifically dealing with confluent plaques to see        1       A What you're asking me is whether I've looked
           2     whether it causes impairment or not?                      2   at the word confluent in it.
           3                 MR. LEWIS: Objection. That assumes            3       Q No, that's not what I'm asking.
           4     facts not in evidence.                                    4       A Yes, you are. That's exactly what you're
           5                 MR. BERNICK: No.                              5   asking me. And what I said before was that I know
           6                 MR. LEWIS: That's not what he said.           6   that plaques cause loss of lung function and the
           7                 MR. BERNICK: I'll rephrase the                7   literature is very clear on that, so there's every
           8     question.                                                 8   reason to believe that confluent plaques are going to
           9         Q (By Mr. Bernick) Have you made a specific           9   lose lung function probably to more extent that plain
          10     review of the literature to see whether confluent        10   plaques, but I haven't read any literature about it.
          11     plaquing causes a loss of lung function? Have you        11       Q That's my point is that whatever you might
          12     made that inquiry?                                       12   expect or whatever might make sense, you haven't
          13         A I'll repeat again. I've looked at the              13   actually looked to the scientific literature on
          14     literature concerning plaques and you'll see the         14   confluent plaques to see whether there is, in fact,
          15     notes in there and also in ATS 204 -- 2004, that         15   report or data showing loss of lung function,
          16     plaques cause loss of lung function. Schwartz has        16   correct? You haven't done that.
          17     written about that, and whether those are confluent      17       A No, I have not.
          18     or just plaques, I don't know because I don't think      18       Q Thank you.
          19     there's very much literature about confluent plaques,    19          Now, the literature -- the literature that
          20     at least I don't think I've run across it.               20   you say shows that plaques have been associated with
          21         Q Well, can you say that the diffuse pleural         21   the loss of lung function, that literature, you
          22     thickening presented as confluent plaques actually       22   haven't reviewed that systematically either, have
          23     has caused -- been shown to cause a loss of lung         23   you?
          24     function?                                                24       A No, I've read a lot of that. Systematically?
          25         A I mean, how can you say otherwise when you         25   Where is a private practitioner going to

                                                               Page 147                                                      Page 149
           1    know plaques cause loss of lung function? What's the       1   systematically make searches of everything in the
           2    difference between that and confluent plaques as far       2   literature? That doesn't happen. You read
           3    as the loss?                                               3   literature that's pertinent. You read literature
           4        Q Your lawyer is now going to tell you that            4   that comes out. You look at it as it comes out. And
           5    what you should do is answer the question, not ask         5   then you digest it and use it in your practice.
           6    another one.                                               6   That's what I do.
           7               MR. LEWIS: I'm not going to say                 7       Q You haven't even looked at the literature
           8    another thing. I was just keeping you from                 8   cited by the ATS 2004 paper itself, correct?
           9    interrupting him because you want to interrupt this        9       A Why would I want to? Why is there a need to?
          10    witness every time he says something you don't like.      10       Q I didn't ask you that. You have --
          11               MR. BERNICK: I like everything                 11       A Well, no, that's a legitimate answer. What
          12    Dr. Whitehouse has to say. He knows that, and you'll      12   is the need for me to do so?
          13    learn that, you know, as we go through the day.           13       Q Can you actually cite me to any specific
          14        Q (By Mr. Bernick) The question is pretty             14   study, any specific study showing that any form of
          15    simple. If -- confluent plaques is another way in         15   plaquing actually causes a loss of lung function?
          16    which you get pleural thickening, correct?                16   Can you give me one study?
          17        A That's correct.                                     17       A Schwartz's article.
          18        Q Have you specifically looked into the               18       Q Schwartz?
          19    literature to see whether that type of diffuse            19       A Yes.
          20    pleural thickening has been shown to cause a loss of      20       Q Is that it?
          21    lung function? Have you done it? Yes or no.               21       A I know that one for certain right off the top
          22               MR. LEWIS: Objection. He just                  22   of my head.
          23    answered the question, completely and thoroughly          23       Q And you're sure that that shows a loss of
          24    answered the question. It's asked and answered.           24   lung function associated with plaques?
          25        Q (By Mr. Bernick) Go ahead and answer.               25       A I'm pretty certain about that. It also shows

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           1    it associated with diffuse pleural thickening.         1     with your statements and I'd really appreciate it if
           2    There's multiple articles by Schwartz.                 2     you don't raise your voice and don't lean over the
           3        Q I'm just asking about plaques.                   3     table and be angry with me.
           4        A I'm pretty sure that's where that originally     4                 MR. LEWIS: Well --
           5    came from.                                             5                 MR. BERNICK: I'm sorry. I'm sorry.
           6        Q From Schwartz?                                   6     Let me finish now.
           7        A I think so.                                      7                 MR. LEWIS: Go ahead.
           8        Q Is there any other study that you can talk to    8                 MR. BERNICK: I think that my
           9    me about which shows that pleural plaques alone have 9       questioning is entirely legitimate cross-examination
          10    an affect on lung function?                           10     and I don't think it's up to you to decide whether
          11        A Not that I can off the top of my head, no.      11     it's legitimate or not legitimate cross-examination.
          12        Q Now, let's change the question a little bit.    12     It's up to the judge to decide. And she'll have that
          13    Let's talk about significant affect on lung function, 13     opportunity.
          14    and let's even make it more.                          14            And I've examined Dr. Whitehouse before and I
          15           I want to know about any paper that shows      15     was never accused in the very vigorous
          16    that plaques have been associated with a reduction of 16     cross-examination of not being fair with
          17    lung function to the point that lung function is      17     Dr. Whitehouse by a Montana federal judge in a
          18    beyond the range of -- is below the range of normal.  18     proceeding that you're very well aware of.
          19           Have you seen a single paper showing that any 19             And I'm not -- I don't think I'm treating
          20    form of plaque -- plaquing is associated with the     20     Dr. Whitehouse with disrespect. I don't think that's
          21    loss of lung function so that it's below the range of 21     what the record will reflect. I'm very eager and
          22    normal?                                               22     anxious to get answers to very precise questions.
          23        A I can't quote one to you.                       23            So just do me a courtesy. If you have an
          24        Q Can you -- apart from quote, are you aware      24     objection, make an objection. If you believe the
          25    that there is a study, a single study -- if you'd     25     deposition is abusive, you can always terminate it.

                                                             Page 151                                                       Page 153
           1    just focus on me for a moment, Dr. Whitehouse, it'll     1   I don't believe it is abusive at all.
           2    expedite matters.                                        2      Q (By Mr. Bernick) Dr. Whitehouse, I now want
           3               MR. LEWIS: Well, what was that,               3   to ask you, again, the same very specific question.
           4    Counsel? What was --                                     4          Are you aware of any study, that there is
           5               MR. BERNICK: Mr. -- Dr. Whitehouse was        5   even a study, showing that plaquing can cause a
           6    reviewing papers and wasn't looking at me, so I          6   reduction of lung function so that it's below the
           7    suggested that he --                                     7   range of normal?
           8               MR. LEWIS: Well, you're asking him            8      A Would you give me a moment to review this
           9    about papers and --                                      9   article? I'm not sure whether it's in here or not.
          10               MR. BERNICK: No.                             10      Q Okay. If you could just tell us what the
          11               MR. LEWIS: -- I think he's entitled to       11   article is while you're --
          12    look at papers.                                         12      A It's the Schwartz article. It's one of his.
          13               MR. BERNICK: No.                             13   This is the '89 one. There's also one from 2000,
          14               MR. LEWIS: He doesn't have to even           14   2001. This is the one that demonstrated that the FVC
          15    look at you when he's answering the question. You       15   one was -- that the FVC was decreased by plaques.
          16    presume too much, Counsel. You need to be fair to       16   (Peruses document.)
          17    the witness. Okay? You make speeches and you say        17          Unfortunately, he doesn't present this --
          18    answer it yes or no. You're entitled to do some of      18   this is 10 percent as predicted, but he reports that
          19    that, but this is getting over the top. You should      19   in pleural fibrosis, the decrease in FVC associated
          20    be respectful to the witness and not argue with him     20   with people with circumscribed plaques is 3.75 versus
          21    on every answer that he gives.                          21   4.09 which is basically .343 -- 340 cc's, which is
          22               MR. BERNICK: Are you done with the           22   about pushing ten percent loss, and that with diffuse
          23    lecture?                                                23   pleural thickening, it's about a liter, which is
          24               MR. LEWIS: I'm done with my statement.       24   clearly below the normal range in his study.
          25               MR. BERNICK: Okay. Let's dispense            25      Q Right.

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                                                               Page 154                                                       Page 156
           1       A So I don't know whether that's actually below         1   loss of -- strike that.
           2    the range of normal or not, but it's got to be very        2         Blunting can be associated -- I don't like
           3    close.                                                     3   that one either.
           4       Q Well --                                               4         If you take a look at the studies, there are
           5       A He reported it as such.                               5   studies that focus specifically on the association of
           6       Q Okay. Are you sure that that's ten percent?           6   blunting with loss of lung function, correct?
           7       A Pretty close to it.                                   7       A Well, they're associated with diffuse plural
           8       Q Not pretty close. You're here as an expert.           8   thickening and you're using that as part of the
           9    Do you know?                                               9   definition.
          10       A 4.09 and 3.16, okay, it's -- it's about eight        10       Q Yes. Well --
          11    percent.                                                  11       A I'm saying that if you don't have --
          12       Q Eight percent?                                       12       Q I'll rephrase my question.
          13       A Maybe nine percent.                                  13       A -- blunting, you don't have diffuse pleural
          14       Q Does that reflect -- does that reflect that          14   thickening.
          15    the resulting loss of lung function is below the          15       Q You're correct to correct me, so I'll
          16    range of normal?                                          16   rephrase the question.
          17       A It all depends where the first one started.          17         There are studies that look to examine
          18    Depends what 4.09 liters plus or minus .91, whether       18   whether the diffuse pleural thickening associated
          19    that is actually, indeed, 100 percent or whether it's     19   with blunting of the costophrenic angle leads to or
          20    a population of which the -- everybody was 90 percent     20   is associated with a loss of lung function, correct?
          21    of predicted. Depends on what the normal values he        21       A Yes, there's more lung function in that
          22    used.                                                     22   group, yes.
          23       Q So that's my whole point.                            23       Q Okay. And those studies do show that diffuse
          24          Can you tell me as an expert today of a             24   pleural thickening associated with a loss of blunting
          25    single study which shows that plaquing alone results      25   of the costophrenic angle can lead to a loss of lung

                                                               Page 155                                                       Page 157
           1    in a loss of lung function below the range of normal?      1   function that is both significant and severe,
           2       A No, I probably can't, although I think that           2   correct?
           3    this demonstrates significant loss.                        3      A That's correct.
           4       Q But I didn't ask you about significant loss.          4      Q And, in fact, produces a reduction of lung
           5    I'm talking about severe loss.                             5   function to below normal ranges, correct?
           6       A Well --                                               6      A That's correct.
           7       Q This talks all about severe --                        7      Q Would you, therefore, agree with me that the
           8       A No.                                                   8   diffuse pleural thickening associated with blunting
           9       Q -- loss.                                              9   of the costophrenic angle has a clear track record of
          10       A Not with plaquing alone. Diffuse pleural             10   being associated also with very severe impairment?
          11    thickening, yes.                                          11      A Yes.
          12       Q Well, diffuse pleural -- I want to make sure         12      Q And is it also true that it is for that
          13    that we don't have a problem there either.                13   reason -- I'm not here to debate with you whether the
          14           Can you tell me of a single study anywhere         14   definitions are good or bad, but would it be fair to
          15    which shows that confluent plaquing results in a          15   say that it's for that reason that some scientists
          16    severe loss of lung function?                             16   have decided to define diffuse pleural thickening by
          17       A No, and I don't think he discusses that in           17   including in the definition blunting of the
          18    this article either.                                      18   costophrenic angle?
          19       Q Can you tell me a single study anywhere that         19      A I suspect that that may very well be the
          20    shows confluent plaquing results in a loss of lung        20   reason why they decided to do so, but what I've been
          21    function below the range of normal?                       21   saying and what's in the data that we produced is
          22       A I'm not aware of any.                                22   that we've got about half of these people that died
          23       Q Now, let's talk about blunting.                      23   with diffuse pleural thickening and there was no
          24       A Yes.                                                 24   blunting, and by definition then, they don't have it,
          25       Q Blunting is associated with a substantial            25   so that's crazy if you have a definition that doesn't

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                                                                Page 158                                                       Page 160
           1    explain what they've got.                                   1      A That's true.
           2       Q Didn't I say that I'm not focused on whether           2      Q And with respect to the ILO, while you've
           3    the definition is right or wrong?                           3   been critical of the ILO, the ILO is an independent,
           4       A I am.                                                  4   rigorous review process and it's very important in
           5       Q Well, that's great, and so when you have your          5   the medical community what the ILO has to say about
           6    opportunity to testify, if you want to talk about the       6   this, correct?
           7    definitions, that's fine with me.                           7               MR. LEWIS: Objection. Compound.
           8       A I certainly will.                                      8   Argumentative.
           9       Q I'm not going to ask you about the definition          9               MR. BERNICK: I'll break it down.
          10    excepting and only in one respect. I think that you        10      Q (By Mr. Bernick) The ILO is an
          11    answered this question, but you then went on to make       11   independent -- it's an independent research and
          12    a long statement, so I want to make very sure that         12   pronouncement process, correct?
          13    we're in agreement on this.                                13      A The ILO is supposedly an epidemiological tool
          14          One of the reasons why some scientists have          14   for the establishment of extent of disease in
          15    decided to define diffuse pleural thickening by            15   populations and cohorts. Okay? It's not used that
          16    including in the definition blunting of the                16   way any more, unfortunately, even though it was
          17    costophrenic angle is that the literature has shown        17   designed that way.
          18    that where diffuse pleural thickening is associated        18      Q I'm very interested in that. That's not the
          19    with blunting, there's a very substantial risk of          19   answer to my question.
          20    severe impairment, correct?                                20          I said independent. The ILO is regarded as
          21       A That's correct.                                       21   being independent, correct?
          22               MR. LEWIS: Objection. Argumentative.            22      A I guess so, yeah.
          23       Q (By Mr. Bernick) Now, the scientists that             23      Q Okay. And the ILO is regarded as being -- it
          24    have decided to define diffuse pleural thickening in       24   involves participation of people who are high
          25    a way that includes a requirement to blunting, those       25   quality, recognized scientists, correct?

                                                                Page 159                                                       Page 161
           1    scientists are actually in the mainstream of                1      A I assume so.
           2    researchers in diffuse pleural thickening, correct?         2      Q You're not aware -- you're not here to say
           3       A I'm not sure I can answer that question.               3   that in some fashion the ILO process or the people
           4       Q Are you aware -- well, certainly, the --               4   who are involved are biased, are you?
           5    Dr. Frank has told us that ATS 2004 itself can be           5      A There's a number of articles out that -- and
           6    reasonably interpreted to say that blunting is part         6   I can't quote them to you right off, the authors, but
           7    of what diffuse pleural thickening is, that it's a          7   there are a number of articles which can be provided
           8    requirement, correct?                                       8   to you that demonstrate there's an incredible
           9       A Oh, it does say that, yes.                             9   variation between ILO readers that tends to make the
          10       Q In the same --                                        10   ILO system very difficult to use.
          11       A But you're talking about experts, you know,           11      Q I didn't ask you about any of that. I said
          12    in the scientific sense here. Are you talking about        12   biased. Are you saying that the --
          13    experts in the 2004 -- are you talking about the           13      A Well, is that a bias or what is it then? I
          14    experts involved in this trial?                            14   mean --
          15       Q Okay. I'm talking about the experts involved          15      Q Those are B-readers, interreader variability
          16    in the scientific community, whether or not they are       16   among B-readers. Nothing to do with my question.
          17    part of this trial. I'm talking about people who are       17   I'm talking about the process whereby the ILO
          18    recognized as being authorities in the scientific          18   classification systems are developed and issued by
          19    community in this area.                                    19   way of pronouncement, that process.
          20          The mainstream of those people say that              20      A The way it was developed --
          21    diffuse pleural thickening requires there be blunting      21      Q Yes.
          22    of the costophrenic angle, correct?                        22      A -- fine, I don't disagree with that.
          23       A That's correct, that's what they say.                 23      Q Okay. Well, that's -- that's fine. That's
          24       Q That's true of the ATS and that's true of the         24   what I'm asking you about.
          25    ILO, correct?                                              25          You don't disagree with the way that the ILO

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           1     2000 classification was developed in terms of its           1       Q Okay. Fine.
           2     independence or the quality of the scientists               2           Would you also recognize that they focused
           3     involved, do you?                                           3   specifically on diffuse pleural thickening as part of
           4                MR. LEWIS: Objection. Asked and                  4   their process in 2000?
           5     answered.                                                   5       A They -- they did. I guess you would be
           6        Q (By Mr. Bernick) Do you disagree -- do you             6   reasonable to say that they did, whereas, prior to
           7     believe that -- strike that.                                7   that, they had not focused very much on it --
           8           Do you have any issue with the quality and            8       Q Okay.
           9     independence of the science and the scientific              9       A -- but they did spend more time on it.
          10     process that led to the development of ILO 2000?           10       Q Okay. And would you also agree with me that
          11                MR. LEWIS: Objection. Asked and                 11   if we look in the literature for -- you said that the
          12     answered.                                                  12   mainstream definition now includes blunting of the
          13        A No, with the following exception, the ILO             13   costophrenic angle. Are you aware of anybody who has
          14     standards were pretty much developed around                14   written a peer-reviewed article anywhere in the
          15     conventional asbestos disease and I'm trying to            15   scientific literature that says it is wrong to
          16     relate to you something that's different that relates      16   require blunting of the costophrenic angle in the
          17     to Libby asbestos.                                         17   definition of diffuse pleural thickening?
          18        Q (By Mr. Bernick) I'm not talking about that.          18       A I haven't seen that it says that in the
          19     I understand that where --                                 19   literature, no.
          20        A Well --                                               20       Q Now, let's talk a little bit about
          21        Q Did I say -- did I say to you,                        21   interstitial asbestos, although if people are getting
          22     Dr. Whitehouse --                                          22   a little hungry, we can --
          23        A These are --                                          23               MR. BERNICK: Are the sandwiches
          24        Q I --                                                  24   around?
          25        A These are also intermingled. It's very                25               MR. LONGOSZ: Should be over down the

                                                                 Page 163                                                       Page 165
           1    difficult to separate one from the other. I'm sorry.         1   hall.
           2       Q Fine.                                                   2              MR. BERNICK: Let me know if you want
           3           Did I say to you that we'll reach a point in          3   to -- are you a little bit peckish?
           4    the deposition where we'll talk about Libby? I said          4              THE WITNESS: This is probably a good
           5    that, right?                                                 5   time.
           6       A Yes, you did.                                           6              MR. BERNICK: What?
           7       Q Okay. We're going to -- we're not there yet,            7              THE WITNESS: Probably a good time for
           8    so I'm just asking you about the ILO scientific              8   a break anyway and have lunch. It's 12:30.
           9    process itself.                                              9              MR. BERNICK: Okay.
          10       A The original process, I'm sure, was done               10              THE VIDEOGRAPHER: We are going off the
          11    appropriately and I'm sure it was done in 1980              11   record. The time is now 12:30 p.m.
          12    appropriately when they did it originally.                  12                  (Lunch recess.)
          13       Q Okay.                                                  13                  (Mr. Stansbury exits.)
          14       A What I was referring to was not that then.             14              THE VIDEOGRAPHER: We are back on the
          15    Maybe it's a little of that. I don't know. But I'm          15   record. The time now is 12:50 p.m.
          16    referring to practical usage as it is currently used.       16               EXAMINATION (Continuing)
          17       Q I'm not -- I'm not even talking about that.            17   BY MR. BERNICK:
          18    I'm just talking about the ILO 2000 classification          18       Q Dr. Whitehouse, I want to shift gears here
          19    document.                                                   19   and ask you some questions about interstitial
          20       A Okay.                                                  20   asbestosis and then we'll go back to pleural
          21       Q Do you have any issue with the fact that it            21   thickening for the rest of the dep, but just some
          22    was developed by independent scientists who were            22   basics.
          23    recognized as being authoritative in their field?           23          Would you agree that the scientific
          24       A I don't have any reason to believe otherwise,          24   literature recognizes interstitial asbestosis as
          25    no.                                                         25   being a distinct diagnostic entity?

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           1         A Yes, the literature does, yeah.                      1   to be severe, although there's people who disagree
           2         Q Okay. And pathologically, interstitial               2   about it and there's people that -- there's a lot of
           3     asbestosis involves a fibrotic process in the              3   variation between observers in those numbers.
           4     parenchyma of the lung, correct?                           4                 (Ms. Rickards returns from lunch
           5         A Correct.                                             5                   recess.)
           6         Q And it can be progressive?                           6      Q (By Mr. Bernick) Okay. Now, you were asked
           7         A Yes.                                                 7   some questions about the trust distribution
           8         Q And it can result in substantial impairment,         8   procedures or TDPs in the plan of this case, and I
           9     correct?                                                   9   want to show you what I think is your Exhibit-2. Do
          10         A Yes.                                                10   you have it here someplace?
          11         Q Would you also agree with me that in the            11              MR. LEWIS: That's right over here.
          12     literature, interstitial asbestos can range from mild     12      Q (By Mr. Bernick) We don't want you to walk
          13     to very severe, both -- just leave it at that, from       13   off with these, Dr. Whitehouse.
          14     mild to very severe?                                      14              MR. LEWIS: Are you accusing this
          15         A Yes.                                                15   witness --
          16         Q And can do so both in the extent of the             16      Q (By Mr. Bernick) We would be confused
          17     fibrosis and in the extent of the impairment?             17   forever.
          18         A Yes.                                                18      A -2, you said?
          19         Q Would you agree with me that scientific             19              MR. LEWIS: Yeah, looks like this.
          20     convention in the area of asbestosis says that both       20      A That's the one I was looking for.
          21     the degree of fibrosis and the degree of impairment       21                 (Mr. Longosz returns from lunch
          22     can be rated or measured?                                 22                   recess.)
          23         A Yes.                                                23      Q (By Mr. Bernick) If you take a look at
          24         Q So that when it comes to the extent of              24   Page 26 of Exhibit-2, do you see severe asbestosis as
          25     fibrosis, B-readers, people who are certified to read     25   one of the categories? It's category -- or level

                                                                Page 167                                                       Page 169
           1    x-rays for fibrosis, will have the ability to rate          1   4-A. Do you see that?
           2    the degree of fibrosis using the ILO system, right?         2       A Yeah.
           3       A Yes.                                                   3       Q And you're aware, are you not, that the
           4       Q And when it comes to impairment, scientific            4   TDP -- this aspect of the TDP basically is a part of
           5    convention measures the impairment associated with          5   a process where people can either qualify for
           6    asbestosis through basically lung function tests            6   compensation based upon an expedited review or if
           7    including forced vital capacity among others,               7   they choose, look for compensation about it based
           8    correct?                                                    8   upon an individual review. Are you -- I know you're
           9       A That's correct.                                        9   not an expert in it, but are you generally familiar
          10       Q Okay. All that is very plain scientific               10   with the expedited review versus the individual
          11    convention, correct?                                       11   review?
          12       A Yes.                                                  12       A Yeah, I am, and I would -- another thing, I
          13       Q Now, let's talk a little bit about severe             13   did make an error concerning the ILO of 3/2. It's
          14    asbestosis.                                                14   actually 2/1 --
          15          Scientifically, is there a bright line test          15       Q Okay.
          16    for when asbestosis is severe? And by asbestosis, I        16       A -- concerning severe asbestosis.
          17    mean interstitial asbestosis.                              17       Q So basically as you understand the TDP when
          18       A Oh, there's been attempts to quantitate it by         18   it comes to these definitions of severe asbestosis at
          19    FVC, but they're not very accurate.                        19   level 4-A is an expedited or a set of benchmarks for
          20       Q Okay. What about in terms of the degree of            20   an expedited review based upon a paper submission.
          21    fibrosis? Are there bright line medical tests for          21   Is that your general understanding?
          22    when asbestosis is severe in terms of degree of            22       A Yes.
          23    fibrosis?                                                  23       Q Okay. Now, I want to suggest to you and I
          24       A Well, I think most people think it's, you             24   want you to accept for purposes of the questions that
          25    know, you get past ILO 3/3 or 3/2, then it's thought       25   I'm going to ask you that the TDP criteria for this

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           1    expedited review are designed to pick out and qualify    1   Kalispell.
           2    for compensation cases of severe asbestosis that can     2          The docs tend to either not have the
           3    be established through objective criteria and are        3   equipment or don't know exactly how to do it, so the
           4    clear cases. That is, it's not looking for the           4   problem is that -- and I'm not arguing with those
           5    borderline cases. It's looking for the clear cases.      5   criteria, by the way. I want you to be aware of
           6    I want you to assume that for purposes of my             6   that, but the problem is when you're talking about
           7    question.                                                7   pathologic specimens, I think you're going to get a
           8           And in light of that, if we take a look at        8   lot of people that are going to -- they submit
           9    level IV-A, as you see it, does this use criteria for    9   something like that, say, from a lung biopsy or
          10    severity based both upon the presentation of the        10   something like that, the asbestos fibers will be
          11    disease and upon the impairment? Is this a category     11   missed and it won't be called asbestosis.
          12    that works with both the disease presentation as well   12       Q Fair enough.
          13    as the impairment?                                      13          But where the pathology does find
          14        A Probably as best as it can be, yeah.              14   asbestosis --
          15        Q Okay. And that's really what I wanted to get      15       A That's fine.
          16    to next is that you see that it uses -- the severe      16       Q -- which is what the TDP requires, those will
          17    asbestosis TDP calls for an ILO of 2/1 or greater for   17   be pretty clear cases of significant fibrosis,
          18    asbestosis determined by pathological evidence.         18   correct?
          19           Is it true that with that test the scientific    19       A It could be misleading. You could -- you
          20    literature says that that test will, in fact, succeed   20   could be picking up a case where it's not significant
          21    in picking out and qualifying patients that do, in      21   or doesn't meet an ILO standard of 2/1. It meets --
          22    fact, have very significant fibrosis?                   22   it's maybe 1/1 or something like that, but I would
          23        A The only caveat I have is that -- yeah, if        23   assume though that it wouldn't have gotten submitted
          24    you sent it to Sam Hammer, you'd get a good answer.     24   unless the vital capacity was low or some other
          25    Okay? If you sent it to some other path labs that I     25   reason.

                                                             Page 171                                                       Page 173
           1    know about, the chances are that you're not going to     1      Q Yeah. What I'm really getting at is -- and
           2    get the correct answer --                                2   you say you don't take issue, but what I'm really
           3        Q Okay.                                              3   getting at is, you know, maybe -- maybe I haven't
           4        A -- because of the sophistication of the            4   been simple and clear enough putting it to you.
           5    equipment necessary to make a decent answer and          5          The criteria of 2/1 ILO or asbestosis by
           6    generally TEM, and so, you know, electron microscopy.    6   pathological evidence, science says that those are
           7        Q But if the goal is to pick up clear cases for      7   pretty good tests for picking up clear cases of
           8    expedited treatment of people with significant           8   significant fibrosis; would that be fair?
           9    fibrosis, doesn't science say that if you have           9      A Yeah, I don't have any issue with the
          10    pathological pathologists who says that it's            10   fibrosis criteria here. I really don't.
          11    asbestosis, that's going to be -- that's going to be    11      Q Okay.
          12    a requirement that -- strike that. Strike all that.     12      A And as I told you, I don't know enough about
          13    I want to rephrase this just to be simple.              13   the dollar amounts that I'm going to make any
          14           We've got a test for expedited qualification     14   comments about them.
          15    of people who've got clear cases. Would you agree       15      Q I'm not asking you about that at all.
          16    with me that the scientific literature says that a      16          Likewise, the TDP for severe asbestosis also
          17    diagnosis of asbestosis by pathology is a pretty        17   calls out a requirement for impaired lung function,
          18    reliable way of determining, at least those people      18   correct?
          19    who have significant fibrosis?                          19      A Yes.
          20        A I'm not sure I'd agree with you and -- now,       20      Q And works with TLC and FVC in doing so,
          21    this is on personal experience. Okay? There's no        21   right?
          22    question that the average pathologist will pick up      22      A Yeah, the one issue --
          23    the fibrosis and the interstitial disease. Okay?        23      Q Let me just get to the question.
          24    But the proof of asbestos fibers in the specimen, at    24      A Okay. Go ahead. Sorry.
          25    least in Spokane, is very wanting and it is in          25      Q Would you agree with me that there too, the

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           1    TDP has tests that science says should pick up people  1           A Well, true, except that -- let me give you an
           2    with clear cases? Let me be clear about that. Not      2       example of one that will not, and we run into this
           3    suggesting that it will pick up all of them, but the   3       periodically. Somebody that has interstitial
           4    people who qualify under the TDP based upon -- strike 4        fibrosis, that is, UIP, usual interstitial
           5    that.                                                  5       pneumonitis, it's non-asbestos related and then we
           6           Would it be fair to say that under the          6       discover they don't have asbestosis because we can't
           7    science today, those people who do have impairment     7       establish an exposure history, and so your point
           8    meeting the tests of the TDP for severe asbestosis     8       number four there about supporting medical
           9    are likely to be people who do have significant        9       documentation is a very important factor in that, you
          10    impairment?                                           10       know. I mean, you have to have documentation of the
          11       A That's true. And if I could say something        11       disease.
          12    relative to this?                                     12           Q I think you're agreeing with me.
          13       Q Sure.                                            13              If we look at the TDP for severe asbestosis
          14       A It's interesting that TLC is used rather than    14       and we ask, do the tests that are set out in that
          15    DLCO. DLCO -- TLC is probably less accurate than      15       TDP, are those tests tests that science says if
          16    DLCO is as far as its consistency of the study.       16       they're met by claimants, those claimants are, in
          17    That's one problem that the DLCO is not in there.     17       fact, likely to have severe asbestosis, is the answer
          18           The second problem with this is that the       18       to that question yes? If these tests --
          19    ratio is greater than 65 percent because it's well    19           A Well, yes it is. If you read the entire
          20    known that asbestosis can produce a significant       20       thing, yes, it is.
          21    obstructive defect.                                   21           Q So if we read TDP for severe asbestosis in
          22       Q You're answering a different question and I'm    22       its entirety, that is a TDP which science says will
          23    glad you did.                                         23       pick up people who are pretty clear cases of severe
          24       A Okay. But I -- you know, I said I didn't         24       asbestosis; is that fair?
          25    have much issue with it, but the more I -- I didn't   25           A That's fair.

                                                               Page 175                                                        Page 177
           1    have issue with that first part, but I do have issue       1      Q Okay. Now, it will also not pick up other
           2    with the second part.                                      2   people who may have severe asbestosis, I take it is
           3       Q Okay. You don't -- you didn't have issue              3   what you're saying?
           4    with the first part, you're referring to the tests         4      A Yes, that's a problem.
           5    for fibrosis as set forth in level 4-A, correct?           5      Q Okay. Well, it may or may not be a problem
           6       A Right.                                                6   depending upon what the judge in this case thinks,
           7       Q But I'm glad you made the statement that you          7   but you're saying in one of your criticisms of these
           8    did because I want to be clear on the focus of my          8   TDPs is who they exclude, fair?
           9    questions, and this is important, Dr. Whitehouse.          9      A Fair.
          10           I'm asking you really not whether you or           10      Q Okay. And this TDP for severe asbestosis
          11    somebody else could have included other criteria          11   will exclude people outside of Libby, nothing to do
          12    which would have had the effect of picking up more        12   with Libby, will exclude people outside of Libby that
          13    people. I'm not asking you that.                          13   may have severe asbestosis, fair?
          14           I'm asking you whether the criteria as set         14      A Yes.
          15    out, both for fibrosis and for impairment in level        15      Q And you're saying it will exclude -- in your
          16    4-A, are criteria which if they're met by a claimant,     16   own experience, it will exclude people within Libby
          17    that claimant -- science says that claimant is, in        17   who have severe asbestosis, correct?
          18    fact, likely to have a pretty clear case of severe        18      A I think it is much more likely in Libby for
          19    asbestosis. In other words, these criteria -- I'm         19   them to be excluded because of the nature of the
          20    sorry. I'll rephrase.                                     20   disease than it would be outside Libby.
          21           These criteria are criteria that science says      21      Q Well, we're going to get to that in a minute,
          22    will pick up clear cases. You may say they may not        22   but both inside and outside of Libby, if these tests
          23    pick up all of them, but they'll -- the cases they        23   for severe asbestosis are met, science says those
          24    pick up will be clear cases of severe asbestosis,         24   people will pretty clearly be people with severe
          25    fair?                                                     25   asbestosis, correct, in both places?

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                                                               Page 178                                                       Page 180
           1         A I think reasonably, yes.                            1   would you agree with me that when it comes to tests
           2         Q Okay. And by the same token, this test that         2   for the presentation of the disease that science says
           3     is in the TDP for severe asbestosis will exclude          3   that where people meet that test, it's pretty clear
           4     people both inside and outside Libby that some might      4   that they do have diffuse pleural thickening?
           5     say based upon a different test, in fact, have severe     5      A How they answer this question is --
           6     asbestosis. We're in agreement about that, correct?       6      Q It's where the test is met.
           7         A Yes.                                                7      A Well, I think you may be right about that,
           8         Q Okay. Now, the people outside of Libby who          8   where the test is met.
           9     are excluded will include people who have low DLCO        9      Q That's what I'm asking.
          10     scores, right?                                           10      A But the test itself has some severe
          11         A Correct.                                           11   limitations and problems with it.
          12         Q Will exclude people who are not 2/1s, but          12      Q I'm not really going to debate that with you
          13     maybe, you know, 1/1s but has severe impairment.         13   in the questions I'm asking you right now.
          14     There will be borderline cases outside of Libby,         14      A Okay.
          15     right?                                                   15      Q I'm asking you the same kinds of questions
          16         A Yes.                                               16   that I asked you about when it comes to severe
          17         Q And with the borderline cases, are you             17   asbestosis, that is, the tests that are imposed by
          18     familiar that in the trust distribution process,         18   the TDP for severe disabling pleural disease, for the
          19     they'll have the opportunity for individual review?      19   diagnosis of it, those are tests that science says if
          20         A I understand that.                                 20   they're satisfied, the claimant will be a pretty
          21         Q And you understand the same thing will be          21   clear case of having severe disabling pleural
          22     true with people of Libby?                               22   disease, correct?
          23         A Yes, I think one of the things that really         23      A Yes.
          24     disturbs me about that is it's not a physician that's    24      Q The same thing is true with the impairment
          25     reviewing it. It's not a pulmonologist.                  25   requirements for level 4-B, correct?

                                                               Page 179                                                       Page 181
           1       Q Okay.                                                 1      A Correct.
           2       A A pulmonologist is really knowledgeable about         2      Q Okay. So we take a look at the TDP for
           3    asbestos. That would make a lot of difference to           3   severe disabling pleural disease, is it such that
           4    that.                                                      4   science says that where it's met, those will be
           5       Q But that's true outside of Libby and it's             5   pretty clear cases where people, in fact, have that
           6    true inside of Libby, correct?                             6   disease, fair?
           7       A It ought to be.                                       7      A If you concur with the entire body of
           8       Q Throughout -- well, I understand that, but            8   science.
           9    that criticism that you have of individual review          9      Q Yes, that is, if we look at the entire body
          10    applies both outside and inside of Libby, right?          10   of the science, that science --
          11       A Yes, it does, but the same thing that I just         11      A If you agree with that.
          12    said about it holds true is that, how can a               12      Q Oh, no, I'm just saying -- I'm saying again,
          13    non-physician, somebody that's not really                 13   just like I did with severe asbestosis, that science
          14    knowledgeable about asbestos diseases by having dealt     14   says with -- where these tests, in fact, are met,
          15    with it on a regular basis make that kind of a            15   people who satisfy those tests are highly likely --
          16    decision.                                                 16   are clear cases where they have severe disabling
          17       Q I want to take a look now at the TDP for             17   pleural disease. Not saying they're the only ones,
          18    severe disabling pleural disease level 4-B, and my        18   but once they meet the tests are going to be pretty
          19    questions are really very much the same, which is         19   clear cases under the science; is that fair?
          20    that this is a TDP that seeks to pick out people with     20      A Okay.
          21    severe disabling pleural disease by both of imposing      21      Q Is that -- I don't want an okay. Is that
          22    a test for the presentation of the disease as well as     22   right?
          23    by imposing a test for severity of impairment, fair?      23      A Yes.
          24       A Yes.                                                 24      Q Okay. Now, we also know as we went through
          25       Q Okay. And when it comes to the diagnosis,            25   with severe asbestosis that the test for severe

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                                                             Page 182                                                       Page 184
           1    disabling pleural disease level 4-B will, in fact,       1                THE VIDEOGRAPHER: We are going off the
           2    exclude people outside of Libby who some might say --    2   record. The time is now 1:15 p.m. This is the end
           3    doctors might say, in fact, have severe disabling        3   of disk number two in the continuing deposition of
           4    pleural disease, right?                                  4   Alan Whitehouse.
           5       A Yes.                                                5                   (Pause in the proceedings.)
           6       Q And it will also exclude people within Libby        6                THE VIDEOGRAPHER: We're back on the
           7    who you would say have severe disabling pleural          7   record. The time is now 1:17 p.m. This is the
           8    disease, correct?                                        8   beginning of disk number three in the continuing
           9       A Yes.                                                9   deposition of Dr. Alan Whitehouse.
          10       Q And I think what you said this morning is          10                 EXAMINATION (Continuing)
          11    that if you took a look at the McCloud study, the       11   BY MR. BERNICK:
          12    McCloud study relates to people who are outside of      12       Q Dr. Whitehouse, if we -- strike that.
          13    Libby, right?                                           13          If DLCO were to be included as an alternative
          14       A Yes.                                               14   basis for qualifying people for severe disabling
          15       Q And I think you said that under the McCloud        15   pleural disease -- I think you've already recognized
          16    study more than -- more than 50 percent of the people   16   in response to Mr. Finch's question -- that if that
          17    in the McCloud study wouldn't pass the requirements     17   is the only evidence of impairment of lung function,
          18    of level 4-B in the TDP, right?                         18   that is, it's really truly an alternative way for
          19       A Right.                                             19   people to qualify, that would have the effect of
          20       Q When it comes to people within Libby, I think      20   allowing people to qualify where the cause of the
          21    you said that the TDP would have the effect of          21   lower DLCO was unrelated to asbestos, correct?
          22    excluding about the same proportion of people in        22       A Well, I think that could easily be.
          23    Libby with severe disabling pleural disease as was      23       Q How?
          24    reflected in the McCloud study, correct?                24       A Well, for several -- several reasons. First
          25       A Pretty much.                                       25   off, those people have over-disease (sic). Okay?

                                                             Page 183                                                       Page 185
           1        Q Okay.                                              1   They have big exposure histories, generally. They
           2        A Close to it.                                       2   may or may not have some small degree of interstitial
           3        Q So we're talking about roughly the same            3   disease. They're very limited and that can be
           4    proportion and effect of the TDP both inside Libby       4   proven, with the treadmill or with being on oxygen
           5    based upon your own experience and outside Libby         5   and hypoxic or whatever the case may be, and
           6    based upon the McCloud article. Did I get that           6   ordinarily, most of those people have significant
           7    right?                                                   7   abnormalities in their pulmonary function, although
           8        A Yeah, on the basis though or the caveat I          8   they may not be below 65 percent. They're in that
           9    would say about this is on the basis of just that        9   range though, some -- frequently.
          10    aspect. We're not talking about DLCOs or anything       10          So there's very ample diagnostic evidence
          11    else. Just about --                                     11   that that's the source of it, and then if the CTs
          12        Q Blunting?                                         12   were looked at, almost all of those people have some
          13        A Just about blunting.                              13   pleural fibrosis that you can't see on x-ray and
          14        Q Okay. So when it comes to the blunting            14   explains their DLCO and it's clearly asbestos
          15    criteria in level 4-B, that has the same proportion     15   related.
          16    and effect inside Libby as outside Libby, fair?         16       Q Yeah, but I'm getting at a different thing.
          17        A Very similar.                                     17          If this expedited review -- that's what the
          18        Q Okay.                                             18   TDP review speaks to -- expedited review where the
          19        A Very close.                                       19   submission is done on paper and there are written
          20        Q Now, if we wanted to include --                   20   criteria which if met, you're in, and if you don't
          21                MR. BERNICK: Why don't you just change      21   meet them, you're not in. That's the -- that's the
          22    it now?                                                 22   world that we're operating in.
          23           So for people outside on the telephone, we       23          If you were to make DLCO an alternative
          24    have a conspiratorial process here inside the room      24   measure for the impairment of lung function such that
          25    called changing the tape.                               25   somebody who didn't meet the requirements based upon

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                                                              Page 186                                                       Page 188
           1    forced vital capacity still could qualify for DLCO,    1      collections of data that are Libby specific and --
           2    how would you state objective criteria that -- so      2      are Libby specific and focus on non-malignant disease
           3    they could check off that would eliminate the cases    3      caused by asbestos.
           4    where DLCO is reduced for some source, some reason 4                You have the ATSDR data and then you have the
           5    that's not asbestos? How would you do it?              5      CARD Clinic data; is that right?
           6       A I don't think it would be difficult at all.       6         A Yes.
           7    You'd basically say that there's pleural disease       7         Q Now, the ATSDR data, would you agree with me,
           8    present. Everybody -- that everybody agrees that       8      that ATSDR was an independent organization when they
           9    there's pleural disease present. They have abnormal    9      came in to gather that data at Libby?
          10    pulmonary function. I don't think you have to put it  10         A You know what I'm going to ask probably about
          11    with normal pulmonary function in that situation, but 11      the ATSDR. Are you talking about the original
          12    you have to recognize that some of those people will  12      Sullivan study?
          13    be right around 65 percent.                           13         Q I'm talking about the original gathering of
          14           You could -- this is the one situation where   14      the data. I'm not here to talk about authors of
          15    a CT evidence would help you a great deal and then,   15      studies or anything. I'm talking about data. All
          16    say, that there's no other obvious reasons for there  16      the questions I'm going to ask you are all about
          17    to be a reduced DLCO.                                 17      gathering data.
          18       Q So that's how you would write it?                18         A Oh, okay.
          19       A I'm not sure exactly how I'd write it. Never     19         Q The ATS -- the data that the ATSDR gathered,
          20    even thought about that. But, roughly, I could write  20      that collection of -- you've got two collections of
          21    something that would cover those people and would     21      data, CARD Clinic data, ATSDR clinic -- ATSDR data,
          22    protect the TDP from people that don't have           22      right?
          23    significant asbestos disease.                         23         A Yeah. You're talking about the x-ray data
          24       Q And it would be such that somebody, not a        24      from the screening --
          25    doctor, could review it and say --                    25         Q Yes, the screening --

                                                              Page 187                                                       Page 189
           1       A Yeah.                                                1      A -- that one?
           2       Q -- that's right, it's all set? They wouldn't         2      Q -- the screening data.
           3    have to read the CT scan?                                 3      A Right. Okay.
           4       A Just a check off and all, yeah.                      4      Q So when it came to the -- are you aware of
           5       Q It's not in any of your reports, correct?            5   any other basic collection of non-malignant data at
           6       A What's that?                                         6   Libby beyond the ATSDR and the CARD Clinic?
           7       Q That's not in any of your reports, is it?            7      A No, only insofar as the radiologist in Libby,
           8       A No, I don't think I've ever put that down on         8   Steve Becker, who is a reasonably accurate reader as
           9    paper. That's the first time anybody's actually           9   far -- and was part of that reading with the ATSDR,
          10    asked me that.                                           10   so I guess you'd have to include him in that.
          11       Q I asked you.                                        11      Q Okay. So now the ATSDR data was gathered by
          12       A You asked me. I could do it and it would            12   people who were independent, correct?
          13    be -- I wouldn't want it to be unfair. I mean, you       13      A Yes.
          14    know, I spent -- this is a digression a little bit,      14      Q The ATSDR data was gathered pursuant to an
          15    but I spent years doing disability evaluations for       15   established protocol that had to be followed the same
          16    the State of Washington and was very successful in it    16   way for all people, correct?
          17    because my track record was one of being right in the    17      A I think so, yeah.
          18    middle of the road. You know, I wasn't about to go       18      Q The ATSDR data is all available to
          19    along with somebody that didn't have it, and so it       19   constituencies of people in this case, correct?
          20    was pretty even. Now, that's not always the case         20      A Yes.
          21    with IME docs, but that's possible to do that and to     21      Q There are studies that have been published on
          22    write it in such a way that it could be done.            22   the ATSDR data, correct?
          23       Q Let's talk about the Libby data and what the        23      A That's correct.
          24    Libby data shows about that. Okay?                       24      Q And the ATSDR data is -- would you agree,
          25          As I understand it, there are two basic            25   representative of the disease picture or pattern in

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                                                               Page 190                                                      Page 192
           1     Libby?                                                    1      Q Where is it written?
           2        A We have to be sure what part of that you're          2      A In the -- in the procedure manual for the --
           3     talking about and what part of it was published and       3   for the -- for the lab.
           4     by whom.                                                  4      Q For the lab?
           5        Q Not talking about published, just talking            5      A I don't know where it is, but I know it's up
           6     about the data.                                           6   there.
           7           The screening data that was gathered, that's        7      Q Okay. But what about when it comes to taking
           8     a representative collection of data when it comes to      8   exposure history? Is there a --
           9     representing the pattern or picture of Libby?             9      A They don't take the exposure histories. The
          10        A At the time it was, yes, I think so.                10   techs don't.
          11        Q Okay. Now, with respect to the CARD Clinic,         11      Q Oh, you mean the CARD Clinic?
          12     I want to ask you the same kinds of questions.           12      A The other people in the CARD Clinic?
          13           Would you say that the data was gathered for       13      Q Yeah.
          14     the CARD Clinic by people who were in all cases          14      A Yeah, those are taken both by the --
          15     independent?                                             15      Q But is there a written protocol?
          16        A What do you mean?                                   16      A Yeah, there is for the nurses. There's a
          17        Q Didn't have any other agenda.                       17   written protocol.
          18        A I think generally that's true. I think that         18      Q Do you know, were those ever made available
          19     pulmonary function data and chest x-ray data, which      19   publically?
          20     includes Becker's as well as our readings in there, I    20      A I don't know, but I know that there's a
          21     think was pretty consistent and I don't -- it wasn't     21   series of forms that they use concerning that.
          22     biased, I don't think.                                   22   There's both a check list and then things that they
          23        Q Well, that's what I'm asking. It wasn't             23   can add on in handwriting as well, and that's been
          24     biased?                                                  24   used -- and those are in everybody's chart, and
          25        A Huh-uh. (Answers negatively.)                       25   they've been used pretty much since the inception of

                                                               Page 191                                                      Page 193
           1        Q But when it comes to protocol, there's no       1        the clinic in --
           2    protocol that was followed by the CARD Clinic in      2           Q What about --
           3    gathering the data that is in their files, correct?   3           A -- 2000.
           4        A Well, yes, there actually is because when the   4           Q What about in reading x-rays? Is there one
           5    people came in from screening, they took an interval  5        protocol that's been followed in reading all x-rays
           6    history from them. Some of that was done by nurses. 6          at the CARD Clinic?
           7    A lot of that is in a database now. They had a new    7           A Probably not. They're all read by -- they
           8    chest x-ray taken. They had pulmonary function taken 8         were all read by the radiologist at the hospital.
           9    that the doc saw and there's a dictated note          9           Q But different radiologists?
          10    concerning the medical care, so --                   10           A No, all the same one, pretty much.
          11        Q But that's a --                                11           Q All the same one?
          12        A -- it closely all followed the same. There's   12           A Yeah, he occasionally had to cover it, but
          13    more than one doc, but it was --                     13        not very much. For a long time, I over-read most of
          14        Q Different doctors --                           14        the x-rays there --
          15        A -- similar.                                    15           Q When you read --
          16        Q -- you know, when it came to the pulmonary     16           A -- but not anymore.
          17    function test, how it was administered, was there an 17           Q I'm sorry.
          18    absolute set protocol on how the pulmonary function  18              When you read the x-rays, you didn't read
          19    test was to be administered with respect to all      19        them always according to the ILO classifications?
          20    people who are part of the CARD Clinic data?         20           A Oh, no, never did.
          21        A I think pretty much so. It's pretty much the   21           Q Well, that's what I'm saying.
          22    same protocol that I used in my practice for years.  22              There wasn't one procedure that was followed
          23    I trained those people up there.                     23        by the radiologist in reading the x-rays, fair?
          24        Q Is it written?                                 24           A As far as ILO is concerned, no, we didn't use
          25        A Yeah, certainly.                               25        ILO at all.

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                                                             Page 194                                                       Page 196
           1       Q Okay. And when it comes to how the different      1     problem is that there's this huge database that
           2    radiologists read the x-rays, we know that you often   2     they've been putting stuff into and nobody that's
           3    read the x-rays somewhat differently than Dr. Becker,  3     able to extract it out.
           4    correct?                                               4        Q Okay. Well, that's really what I'm kind of
           5       A Not nearly as often as you might think.           5     getting at.
           6       Q I didn't ask you that. I said just --             6            In this case what we have seen out of the
           7       A Occasionally.                                     7     CARD Clinic is --
           8       Q -- often.                                         8                 MR. BERNICK: Is that the 850 or the
           9       A Occasionally, I did, yes.                         9     950?
          10       Q In fact, you had some critical things to say     10                 MR. FINCH: It's the 950, plus a
          11    about Dr. Becker's readings?                          11     handful of other people. It's on Exhibit-2-A.
          12       A I did early on, not -- not recently.             12        Q (By Mr. Bernick) So when it comes to the
          13       Q But that wouldn't -- that would still affect     13     data from the CARD Clinic, certainly, parties to this
          14    the data that the CARD Clinic has, that is, you don't 14     case do not have all of the data from the CARD
          15    have the same degree of uniformity in the data from   15     Clinic, indeed, a huge portion of the data from the
          16    the CARD Clinic as you do in the data from the ATSDR, 16     CARD Clinic is not available in this case, correct?
          17    correct?                                              17        A I think that's probably true, yeah. It
          18       A Oh, I think -- I think we've got very good       18     hasn't been as yet.
          19    data.                                                 19        Q And certainly there --
          20       Q Didn't say that.                                 20        A You do have all the charts now, right? Yeah,
          21          It's not as consistent. If you're looking       21     you've got every one of them at one time or another
          22    for consistency, it's not as consistent as ATSDR,     22     from my understanding is that -- that there was some
          23    correct?                                              23     significant problems in mislabeling and that you
          24               MR. LEWIS: I'm going -- I'm going to       24     didn't know what you had for a while because the
          25    object as to the word consistent because that -- that 25     numbers were mislabeled, but you at one point had

                                                             Page 195                                                       Page 197
           1    is a very vague term. I think your prior question I      1   copies of all the 950 people.
           2    wouldn't object to, but you're talking -- go ahead.      2      Q I'm not talking about the 950. I'm talking
           3        A Well, the ATSDR was running the Masa* Clinic       3   about the 1,800. Let's be clear.
           4    which is the Montana -- the money that came through      4          The CARD Clinic data goes way beyond the 900,
           5    the State of Montana couldn't come directly to it,       5   950, correct?
           6    and they were running that for quite a while and they    6      A That's true.
           7    had a variety of people that were working there, one     7      Q And all that's been made available in this
           8    of whom we know was, you know, just -- I don't know      8   case is the 950 or thereabouts, correct?
           9    how to put it, but I know darn well we didn't get        9      A And that's basically all I've been talking
          10    good data from that person at all and that went into    10   about is those 950.
          11    the database, I'm sure, and ATSDR's database.           11      Q Well, again, I'm just establishing,
          12           But almost all the stuff that's in the charts    12   Dr. Whitehouse, that in contrast to the ATSDR data
          13    that's been filtered by a number of people to get --    13   which is all available with respect to the CARD
          14    make sure that we have accuracy, and in that sense,     14   Clinic, almost half the data is not available in this
          15    it's pretty much a consistent protocol for doing        15   case, correct?
          16    everything. Probably better than most any clinic        16      A Yeah, and that's true, and basically the
          17    that you'd see.                                         17   reasons for it is HIPAA laws.
          18        Q (By Mr. Bernick) When it comes to the             18      Q I didn't --
          19    availability of information from the CARD Clinic, I     19      A Well, they're the HIPAA laws.
          20    think you would agree that almost half of the medical   20      Q Well, I'm not blaming you for --
          21    information with respect to people who have been seen   21                  (Simultaneous talking.)
          22    at the CARD Clinic is, in fact, not available           22      Q (By Mr. Bernick) I'm not blaming you for it.
          23    publically or to the people in this case, correct?      23   I'm just saying it's --
          24        A Well, right now -- well, it is available now.     24      A Oh, it's not my fault anyway regardless.
          25    I mean, everything is pretty much available. The        25      Q Right. It's a fact that it's not available

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           1    in this case, correct?                                   1          Are there any electronic databases containing
           2        A But I think that you have to realize that we       2   the CARD Clinic data?
           3    are under the constraints of the HIPAA laws, probably    3      A There is, concerning all the patients.
           4    more than most people are because we are a clinic        4      Q Concerning all the patients?
           5    that's in many respects federally funded or is           5      A To my knowledge.
           6    getting to be federally funded, so --                    6      Q Okay. And who -- and who -- is that the one
           7        Q Which you'd also agree --                          7   the EPA has done?
           8        A -- there's a great deal of care about that.        8      A Well, the EPA set it up, but it's now our
           9        Q Would you also agree with me that there are        9   database.
          10    no studies with respect -- published studies with       10      Q Okay. And that database includes all the
          11    respect to the 1,800 patients diagnosed in the CARD     11   people who have come through the CARD Clinic ever or
          12    Clinic?                                                 12   just the people that have come through the CARD
          13        A There are not.                                    13   Clinic in the last eighteen months?
          14        Q Would you also agree with me that you don't       14      A It should, to my knowledge, include everybody
          15    know -- strike that.                                    15   including the people that are normal.
          16           When it comes to the CARD Clinic data, you've    16      Q Okay. Does it include all the people who
          17    made reference to all these databases. How many         17   have ever come through the CARD Clinic, the
          18    databases are maintained at the CARD Clinic with        18   historical patients?
          19    respect to people who would have been diagnosed with    19      A I think so.
          20    asbestos-related illness?                               20      Q Okay. Does --
          21        A It's basically two, the chart and then there      21      A I can't answer your question.
          22    is a database that the EPA has put together which       22      Q Does it include all the information that's in
          23    data has been entered into for about the last year      23   the charts?
          24    and a half including back data, and my understanding    24      A I hope it does.
          25    is that they are now caught up with everybody in        25      Q So it literally is supposed to be everything?

                                                             Page 199                                                       Page 201
           1    there they're entering.                                  1       A It's literally supposed to be all the
           2       Q What's the difference between the two               2   pertinent data and there's some other stuff in there
           3    databases?                                               3   like social studies and things like that that may not
           4       A Well, the chart is all right there, x-ray           4   be in there, but for all the pertinent data
           5    reports, things like that. It hasn't been put into a     5   concerning their asbestosis, it's in there.
           6    database. What they do is they use that, plus the        6       Q Okay. Do you have access to this database?
           7    patient interview and then put into the database when    7       A Probably.
           8    the patient comes in.                                    8       Q Okay. Who else has access to the database?
           9       Q So we have two databases?                           9       A I would guess Brad Black* and I know Steve
          10       A Well, you asked me about a database. It's a        10   Levine* knows it, Mount Sinai, who's one of the
          11    database. It's not organized in a computer or           11   people who's out there fairly frequently, and several
          12    anything, but that's where the data is.                 12   of the nurses would have access to it.
          13       Q Okay.                                              13         Nobody -- to explain this. Nobody has done
          14       A So it's in the charts.                             14   anything about this because we haven't even had -- we
          15       Q But I misunderstood.                               15   barely have enough money to keep that place open much
          16          So you have all the charts?                       16   less spend a lot of time with people doing database,
          17       A I have all the charts.                             17   so we will have it because we just got some pretty
          18       Q And those are paper records for everybody          18   decent sized grants that will allow us to do that,
          19    who's come through CARD?                                19   but you have to realize that we were dependent on
          20       A Mm-hm. (Answers affirmatively.)                    20   Grace for money to keep that place running and Grace
          21       Q You have to respond orally.                        21   wasn't providing it.
          22       A Yes.                                               22       Q So have you -- strike that.
          23       Q Okay. When I ask about databases, I'm              23         Have you had access to that database for
          24    talking about compilations or collections of            24   anything that you've done in connection with this
          25    information electronically.                             25   case?

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           1       A Would I?                                             1   each one of those layers and peel it off and
           2       Q Have you.                                            2   distinguish it.
           3       A Have I? I have not accessed it. I assume             3          So let's begin -- recognizing what you just
           4    that I can.                                               4   said, let's begin with how diffuse pleural
           5       Q What about Dr. Frank?                                5   thickening, severe diffuse pleural thickening --
           6       A No, probably not because he's not really a           6   that's the only kind of pleural thickening I want to
           7    member of the CARD staff which I am, of course.           7   talk about -- severe diffuse pleural disease. Let's
           8       Q And certainly that database has not been             8   talk about how it presents itself --
           9    available -- the electronic database has not been         9      A Okay.
          10    made available to the parties in this case, correct?     10      Q -- in Libby, and I want -- what I want to
          11       A I don't think it's been used except to              11   know is: In the objective presentation of severe
          12    collect the data for the present time.                   12   diffuse pleural thickening at Libby, tell me whether
          13       Q Well --                                             13   and how it is different from diffuse pleural
          14       A But I think it's up to date and I think it's        14   thickening, severe, outside of Libby.
          15    got a lot of data in it, but I don't know when it's      15               MR. LEWIS: Object to the form of the
          16    going to be accessed. Probably in the next year when     16   question.
          17    the EPA -- when it comes in.                             17      A Rarely had I ever seen diffuse severe pleural
          18       Q If there were -- if there is a unique form of       18   thickening outside of Libby. I know it's described.
          19    diffuse pleural thickening that's evident in people      19   People have seen it. It's been reported. Pleural
          20    in Libby, should we be able to see it if we study the    20   deaths have been reported.
          21    ATSDR screening data?                                    21          As I mentioned before, the rapidity of its
          22       A No.                                                 22   progression as part of it, that's clear to me, and
          23       Q Just not apparent at all?                           23   progression on to death which is rarely ever
          24       A Won't be apparent unless you follow people          24   described and we've had a number of those, and then
          25    longitudinally and you have physician input, but         25   the other factor, I think, that we haven't even

                                                              Page 203                                                       Page 205
           1    there's no physician input to the ATSDR screening.        1   discussed is the fact that a number of people have
           2       Q Okay. Likewise, if we look at the CARD               2   extremely severe functional abnormalities in
           3    information, would you say that there's no way to see     3   pulmonary function, but pleural thickening is not
           4    any unique form of diffuse pleural thickening at          4   that thick, and that basically it's two to three
           5    Libby unless you have access to the details of the        5   millimeters in thickness, but is everywhere and
           6    charts?                                                   6   results in incredibly severe physiologic
           7       A Well, first off, I object to your term unique        7   consequences. That's one of the things we saw in
           8    which is something that Grace has managed to --           8   that mortality study is people that died from that,
           9       Q Well, I'll withdraw the -- I'll withdraw.            9   of pleural thickening, so I don't know if that
          10       A Let's leave that word out of it because it's        10   answers your question now, but --
          11    not unique.                                              11      Q (By Mr. Bernick) Yeah, it does.
          12       Q Okay. Well, then let me -- that's fair. Let         12      A -- those are the differences.
          13    me then ask you the question.                            13      Q It does. That's fine.
          14           Dr. Frank has told us under oath that he does     14         When you think about how the Libby pleural
          15    not believe that there is a different disease or a       15   disease, severe pleural disease is different, those
          16    special disease or form of disease, pleural disease      16   are the three things that you would recite: The fact
          17    in Libby. It's just the same disease. Would you          17   of the rapidity of progression, progression to death,
          18    agree with that?                                         18   and the fact that in some cases the pleural thickness
          19       A Well, I would agree that it's basically the         19   is not as pronounced as you would see outside of
          20    same disease that has been occasionally seen in          20   Libby?
          21    chrysotile, but the frequency of it and the              21      A Yes.
          22    predominance of it and the progression of it to death    22      Q Okay. Now, of all of those, we're going to
          23    is different.                                            23   take -- we'll just take them separately, so I want to
          24       Q And we're going to pursue that, but I want to       24   put to one side now rapidity of progression and
          25    peel this off layer by layer. We're going to take        25   progression to death and just talk about the one that

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                                                              Page 206                                                       Page 208
           1    you've identified which says you can have severe          1   pleural thickening, severe diffuse pleural thickening
           2    pleural disease at Libby without that much thickness,     2   outside of Libby contains no reference to whether
           3    but -- without that much thickening of the pleura.        3   there's interstitial fibrosis, correct?
           4        A Yes.                                                4      A It may, yes.
           5        Q That is a difference that you point to that         5      Q No, it doesn't may.
           6    would say the disease in Libby presents itself            6         Can you tell me of anybody who's defined
           7    somewhat differently in that respect from the disease     7   diffuse pleural thickening outside of Libby who
           8    outside of Libby, fair?                                   8   includes in that definition interstitial fibrosis?
           9        A Yes.                                                9      A Oh, in the definition or --
          10        Q That's really what I want to talk about.           10      Q Okay.
          11           First issue is: Is the disease presenting         11      A -- in the observation of the patient?
          12    itself differently inside and outside Libby, and the     12      Q I didn't --
          13    one thing you've identified is that inside Libby         13      A The definition of diffuse pleural
          14    people with increased thickness but not that much can    14   thickening --
          15    still have severe impairment, fair?                      15                  (Simultaneous talking.)
          16        A That's fair, but there's one other thing I         16      Q (By Mr. Bernick) The definition of diffuse
          17    didn't -- I didn't say in that and I probably should     17   pleural thickening in patients outside of Libby makes
          18    have and that is preponderance of what we see is         18   no reference --
          19    pleural disease with much, much less interstitial        19      A No, it doesn't include -- no, it doesn't
          20    disease.                                                 20   include interstitial disease. No, it wouldn't.
          21        Q Well, I --                                         21   There's no reason why it would.
          22        A And that's a real difference from what --          22      Q Right.
          23    what's seen in chrysotile disease.                       23         And the definition of diffuse pleural
          24        Q No, no. I'm talking about the presentation         24   thickening inside of Libby, the one that you like,
          25    of the pleural disease, not the interstitial disease,    25   doesn't include interstitial involvement, correct?

                                                              Page 207                                                       Page 209
           1    the pleural disease.                                      1      A No.
           2       A Okay. Well, you're -- in a sense though,             2      Q Am I right about that?
           3    you're asking me about the differences that Libby has     3      A That's right.
           4    and that's one of the differences.                        4      Q Okay. So if we're comparing diffuse pleural
           5       Q Well, but if somebody has diffuse pleural            5   thickening inside/outside Libby in its presentation
           6    thickening, severe diffuse pleural thickening outside     6   for diagnostic purposes, your only observation of the
           7    of Libby, they can have that with or without              7   difference is that outside of Libby, there's a
           8    interstitial involvement at all?                          8   greater thickness in the pleural that's reported,
           9       A That's true except it is much less common            9   inside of Libby, you've observed severe diffuse
          10    than it is at Libby.                                     10   pleural thickening without that much thickening in
          11       Q But that --                                         11   the pleura, fair?
          12       A That's not the point.                               12       A That's true, but there's -- you know, you
          13       Q -- has nothing to do with the presentation.         13   can't consider that by itself. There's another
          14       A What's that?                                        14   aspect to this that we haven't even talked about,
          15       Q That is to say, for somebody who has diffuse        15   exposure history. We're talking about people with
          16    pleural thickening outside of Libby, there are           16   fairly severe pleural thickening or --
          17    characteristics of the thickening of the pleural, you    17       Q I'm talking --
          18    know, blunting of the angle, et cetera, including        18                  (Simultaneous talking.)
          19    impairment, there's a presentation that it has           19       Q (By Mr. Bernick) That's why we really have
          20    diffuse pleural thickening as defined outside of         20   to peel this thing. I'm trying to be very systematic
          21    Libby without reference to interstitial involvement,     21   about it. Okay? I'm talking about the presentation
          22    correct?                                                 22   when there's a diagnosis done based upon a
          23       A Yeah, it is uncommon, but, yes.                     23   presentation.
          24       Q Well, but, no. The description -- any               24       A That's part of it. See, the presentation
          25    definition, any established definition of diffuse        25   that we see in the clinic includes the most important

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           1    aspects of it or the hallmarks of a diagnosis of         1      Q That's exactly what you said of McCloud.
           2    asbestos disease. The exposure history. Okay? The        2   That's why they were the same.
           3    physical exam. What the x-ray looks like. What the       3      A Oh, no, McCloud was referring to the fact
           4    pulmonary functions look like. Those are all             4   that in his study that he did of diffuse pleural
           5    important --                                             5   thickening, you're right about that in the sense that
           6       Q All I'm --                                          6   only 50 percent had pleural thickening. There's
           7                   (Simultaneous talking.)                   7   other studies since then that have shown more.
           8       Q (By Mr. Bernick) Okay. In the presentation,         8         McCloud has demonstrated that you can have
           9    now you've identified that you can have severe           9   diffuse pleural thickening like we have without much
          10    pleural disease with not so much thickness in the       10   in the way of blunting. What the --
          11    pleura. That's one thing --                             11      Q And impairment --
          12       A Right.                                             12      A -- TDP is saying and what the 2004 and the
          13       Q -- that you would distinguish, right?              13   ILO is saying, that no, no --
          14       A Right.                                             14      Q No, no, no.
          15       Q And now you're saying another thing you would      15      A -- diffuse pleural thickening doesn't exist
          16    distinguish in the presentation is that the exposures   16   unless there's a blunted angle.
          17    in Libby associated with diffuse pleural disease are    17      Q You're -- we're --
          18    less?                                                   18      A That's a very --
          19       A As best we can tell, they can be very low          19      Q -- again meandering from --
          20    exposures and still result in severe pleural disease.   20      A -- big difference. I'm not meandering. That
          21       Q Do we now have the difference in presentation      21   cuts to --
          22    in severe pleural disease at Libby versus outside,      22      Q Dr. Whitehouse, let's go back --
          23    that is, thickness and history of exposure?             23      A -- the heart of the matter.
          24       A Those are two that are important, yes.             24      Q That's fine. We'll go back to question and
          25       Q Well, I just want to know. Is there -- this        25   answer.

                                                             Page 211                                                       Page 213
           1    is your opportunity. I want to be totally fair with      1           The gentleman over here is not going to be
           2    you. I'm going to go through these very carefully.       2   able to verify what --
           3        A Well, let's go -- let's go on further then.        3      A Yeah, I'm not asking him to verify anything
           4    The other thing is that a large majority of people       4   at all.
           5    that have diffuse pleural thickening do not have         5      Q Well, no, you're looking over there like
           6    blunting --                                              6   there's going to be some kind of wisdom, as there
           7        Q I didn't --                                        7   always is from that side of the room.
           8        A -- of the costophrenic angle. That's a             8               MR. LEWIS: Now, Counsel, just wait a
           9    difference in the presentation also.                     9   second. That's out of line. The doctor glanced at
          10        Q Well, no, but -- no, because you have people      10   me. He's not glanced at me at any other time during
          11    with diffuse -- lots of people with diffuse pleural     11   this deposition.
          12    thickening outside of Libby without blunting of the     12               MR. BERNICK: I know. That's why --
          13    costophrenic angle. We just established that.           13               MR. LEWIS: You're reading something
          14        A Not to that extent.                               14   into that.
          15        Q Well, and the fact that you told me they're       15               MR. BERNICK: That's why it was
          16    exactly the same proportion outside and inside of       16   notable.
          17    Libby.                                                  17               MR. LEWIS: And putting it on the
          18        A No, I didn't give you -- you didn't hear me       18   record, that's totally improper. Why don't you just
          19    say that. We were talking about the fact -- no, you     19   ask your questions and he'll answer them. Okay?
          20    didn't hear me say that. You misunderstood what I       20      Q (By Mr. Bernick) Dr. Whitehouse --
          21    said or I misspoke, one or the other.                   21               MR. LEWIS: You don't need to comment
          22          The presence of -- we have -- approximately       22   on this side of the table or anything.
          23    half of our people with diffuse pleural thickening      23      Q (By Mr. Bernick) Dr. --
          24    that have severe impairment do not have blunting of     24               MR. LEWIS: We've got everything on
          25    the costophrenic angle.                                 25   video, so just do your job.

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           1                 MR. BERNICK: Thank you. Are you done?         1   this is not just, okay, here's what -- I'm going to
           2     Done? Okay.                                               2   ask you for the data and the analysis that drives
           3        Q (By Mr. Bernick) Dr. Whitehouse,                     3   every single one of these things. That's where I'm
           4     presentation, you say that severe pleural -- diffuse      4   going. Okay?
           5     pleural thickening at Libby differs in presentation       5          So when it comes purely to presentation, you
           6     in that you have people who are -- have got severe        6   tell me the people, the individual people that you
           7     pleural thickening even though the thickness of the       7   have diagnosed or that you have seen the diagnosis of
           8     pleura is not as pronounced as it would be outside of     8   at Libby who present with severe diffuse pleural
           9     Libby?                                                    9   thickening, but have a lesser thickness in the pleura
          10        A They have severe physiologic impairment even        10   than what you have seen -- what has been seen outside
          11     though the thickness of the pleura is less than you      11   of Libby.
          12     might expect but is diffuse --                           12              MR. LEWIS: I object to the form of --
          13        Q Okay.                                               13       Q (By Mr. Bernick) Who are those people?
          14        A -- is what I said.                                  14              MR. LEWIS: I object to the form of the
          15        Q And another thing you said was different in         15   question. I object to assuming facts not in
          16     presentation is that they have lower exposure than       16   evidence. I object to the compound nature of the
          17     people outside of Libby?                                 17   question.
          18        A As best we can tell, that's true.                   18       Q (By Mr. Bernick) Okay. I want to know who
          19        Q And then you further said that the                  19   those people are.
          20     frequent -- the proportion of the people who do not      20       A I can't give you the names right off the top
          21     have blunting of the costophrenic angle is greater?      21   of my head. I could give you the mortality study.
          22        A Yeah, it's greater than what is being               22       Q No, no, I don't want that.
          23     required by the TDP. This is requiring 100 percent       23       A Those people are in that study.
          24     to call it diffuse pleural thickening, and what we're    24       Q I want to know --
          25     saying is it exists without that.                        25              MR. LEWIS: Object. Object to you

                                                               Page 215                                                       Page 217
           1        Q I understand that, but that's not my issue.          1   arguing with the witness. Just ask your questions.
           2    My issue -- my question is not directed at the TDP.        2   Don't stop him in the middle of his answer and say
           3    It's directed at the presentation of the disease.          3   no, no, no, no, no, no, no, no. That's not a proper
           4           When it comes to the presentation of the            4   function.
           5    disease, you say the disease presents itself               5              MR. BERNICK: You're just making it
           6    differently at Libby and outside of Libby when it          6   worse.
           7    comes to the thickness of the -- the thickening --         7              MR. LEWIS: I'm not making it worse.
           8    extent of the thickening, less exposure at Libby, and      8              MR. BERNICK: Yes, you are.
           9    lower frequency of blunting of the costophrenic            9              MR. LEWIS: I just want you to ask a
          10    angle?                                                    10   question of the witness without making some
          11               MR. LEWIS: Objection. Compound.                11   preparatory --
          12        Q (By Mr. Bernick) Did I get that list right?         12              MR. BERNICK: We're at the point --
          13               MR. LEWIS: And object to the form.             13              MR. LEWIS: -- statement.
          14        A What's that?                                        14      Q (By Mr. Bernick) We're at the point,
          15        Q (By Mr. Bernick) Did I get the list right?          15   Dr. Whitehouse, and, Counsel, where it's now time to
          16        A Yeah, that is amongst some other things.            16   find out the data that drives the opinion. That's
          17        Q No, no, no. You keep on going amongst some          17   what I'm doing.
          18    other things. This is not -- this is not a question,      18              MR. LEWIS: Just ask your question.
          19    Dr. Whitehouse, I'm just asking you -- you've been        19              MR. BERNICK: I'm going to ask --
          20    involved in this for a long time and I'm giving you       20   I'm -- I'm -- just --
          21    the latitude -- and none of this is in your report.       21              MR. LEWIS: Just ask your question.
          22    I'm giving you the latitude, so --                        22              MR. BERNICK: Cool down.
          23        A It is in the report.                                23              MR. LEWIS: I'm calm.
          24        Q -- I'm asking you -- and I'm going to ask now       24              MR. BERNICK: No, you're not. You're
          25    for the underpinning for each one of these things, so     25   popping up and down all over the place.

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           1               MR. LEWIS: Counsel --                         1   the basis is.
           2       Q (By Mr. Bernick) Dr. --                             2          So you've offered an opinion that says the
           3               MR. LEWIS: Counsel, that's enough of          3   people that you've seen at Libby with severe diffuse
           4    that. If you keep doing stuff like that, you know --     4   pleural thickening are different because they have
           5               MR. BERNICK: It's true though. You've         5   thin -- thinner pleuras, right?
           6    just got to keep your seat.                              6       A That's part of it.
           7               MR. LEWIS: I haven't left my seat.            7       Q That's --
           8    Okay?                                                    8       A That's only one.
           9               MR. BERNICK: Yeah.                            9       Q That's the first one.
          10       Q (By Mr. Bernick) And so, Dr. Whitehouse --         10          And so I now want to know the data, the
          11               MR. LEWIS: Wait a second. Wait a             11   specific data that you're referring to, and as I
          12    second.                                                 12   understand it, that data is within the medical
          13               MR. BERNICK: You're going to prevent         13   histories of some of the 79; is that fair?
          14    me from asking the question now?                        14       A It's also on that sheet that was the summary
          15               MR. LEWIS: Well, just -- I just want         15   sheet that you have. There's one in your exhibits.
          16    you to ask questions and stop making comments on what   16       Q The data -- the data that shows the thinness
          17    everybody is doing in the room. Just do your job and    17   is with respect to some group within the 79; is that
          18    ask your questions and don't make speeches in each of   18   right?
          19    your questions.                                         19       A That sheet has on it the number of people
          20       Q (By Mr. Bernick) Dr. Whitehouse, I want you        20   that have that kind of pleural thickening on it.
          21    to identify to me the specific patients in some         21       Q No, that sheet --
          22    fashion by reference to some document, some piece of    22       A They're already separated out.
          23    paper, the specific patients who you say at Libby had   23       Q The counting sheet, no. The counting sheet
          24    presented with severe diffuse pleural thickening even   24   is just a counting sheet. It doesn't tell me who
          25    though the thickness of their pleura is less than       25   those people are.

                                                             Page 219                                                       Page 221
           1    what has been reported in the literature outside of      1      A There's no way I can tell you here today.
           2    Libby.                                                   2   Okay?
           3       A I have in that -- now, you're going to have         3      Q Let's be clear --
           4    to listen to this. Okay? I have --                       4      A You give me the chart --
           5       Q As long as the response -- as long as you           5      Q Just -- Dr. Whitehouse --
           6    answer the question, I'll be happy to listen.            6      A -- and I'll tell you which ones they are.
           7       A I can't give you a name off the top of my           7      Q Just -- just take it a step at a time. I
           8    head. I've got 79 patients in there, some of whom        8   want to do this very systematically.
           9    may have thin pleural thickening, some of whom -- or     9          We're on the point of the difference in
          10    half of whom don't have blunted angles, and I'd have    10   presentation that has to do with thinness. That was
          11    to go through every single one of those charts in       11   one of your comments. The source of your data, your
          12    order to define which one of those are because I        12   data to support that comes from patient histories,
          13    don't have it defined in the cheat sheets that I've     13   fair?
          14    got with me here.                                       14       A True.
          15           They have numbers on them. I have patients'      15       Q And particular patient histories that are the
          16    names of all those people, plus I have initials for     16   source of that opinion that show that data, the
          17    the ones that are protected because they're not --      17   particular patient histories are within the 79 people
          18    you know, they're not people that are claimants, but    18   that you have grouped within the mortality study,
          19    I can't go give you a single name out of there.         19   correct?
          20    There's no way I can do that. That's an unreasonable    20       A You -- you have --
          21    request.                                                21       Q Could you just answer that question?
          22       Q Dr. Whitehouse, with due respect, that's not       22       A No, I'm going to answer your --
          23    something that you're going to be deciding. The         23       Q Don't --
          24    judge is going to decide it. All I -- I have one job    24       A No, you're going to let me finish my question
          25    which is to find out what your opinions are and what    25   (sic) here.

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                                                               Page 222                                                       Page 224
           1        Q   No, no, no.                                        1      Q Are they the same people?
           2        A   Yes, you are right now.                            2      A Some of them are or not really because most
           3        Q   No.                                                3   of those are dead that are in the mortality study.
           4        A   You're going to let me --                          4   Obviously, they've been dead over the last eight or
           5               MR. LEWIS: Dr. Whitehouse, let -- can           5   ten years, but a lot of it also comes from patients
           6     we take a break?                                          6   that I see on a regular basis.
           7               MR. BERNICK: You can absolutely take a          7      Q Which patients?
           8     break.                                                    8      A You know, when you're in private practice and
           9               MR. LEWIS: He's going to ask the same           9   you have a large body of --
          10     question when he comes back, but let's just take a       10      Q Dr. Whitehouse --
          11     break and cool down here. I think it'd be a good --      11      A -- patients --
          12               MR. BERNICK: Sure.                             12      Q With due respect --
          13               MR. LEWIS: -- thing to do.                     13      A -- that's where you get your information.
          14               MR. BERNICK: Good.                             14      Q With due respect, I'm just asking a factual
          15               THE VIDEOGRAPHER: We're going off the          15   question. You don't have to give me any explanation
          16     record. The time is now 1:56 p.m.                        16   about what your practice is like or anything. It may
          17                   (Recess.)                                  17   or may not be relevant. I'm interested in where the
          18               THE VIDEOGRAPHER: We're back on the            18   data comes from. You've now told me that there's
          19     record. The time is now 2:02 p.m.                        19   data from people in the mortality study, the 79,
          20                EXAMINATION (Continuing)                      20   correct?
          21     BY MR. BERNICK:                                          21      A Yes.
          22        Q So, Dr. Whitehouse, we're on the first              22      Q And you've now also told me that this
          23     difference that you've pointed out in the                23   particular difference has been noted in your practice
          24     presentation of severe diffuse pleural thickening in     24   in people who are not in the mortality study,
          25     Libby versus elsewhere which is the thinness of the      25   correct?

                                                               Page 223                                                       Page 225
           1    pleura where people still are -- have severe               1       A People that are still alive.
           2    impairment, and I asked you the data, the source           2       Q Right.
           3    material that you have when you say that that              3          And so if I want the data, I need to know who
           4    difference has been observed at Libby.                     4   those people are.
           5        A You actually have the data. You were given           5       A I cannot identify those people. You can
           6    yellow spreadsheets, a very large spreadsheet that's       6   identify the ones in the mortality study which all
           7    about six pages taped together which has on it all         7   have measurements very readily because you do have
           8    the measurement data of the pleura and the extent of       8   all that data.
           9    the data for every one of the people that died in the      9       Q Now, let's talk about the people who are in
          10    mortality study.                                          10   the mortality study that you just had reference to.
          11        Q Well, that's -- that may or may not -- I            11          The people in the mortality study, I need to
          12    honestly don't know, Dr. Whitehouse.                      12   know which ones of the people in the mortality study
          13        A Yeah, you were given it.                            13   you particularly look to in saying that people in the
          14        Q Well --                                             14   mortality study show severe diffuse pleural
          15        A I asked that specifically of the attorneys          15   thickening with less than the thickness that's
          16    before this deposition to make sure that you did have     16   observed in the literature. You need to tell me who
          17    that.                                                     17   those are. I don't know who you would consider to
          18        Q My question to you is: I'm assuming then            18   have a thin -- thinner pleura than what's reported in
          19    that the data that you're now saying supports your        19   the literature and I don't -- hang on -- and I don't
          20    opinion comes from the mortality study; is that           20   know which ones of those people you say are also
          21    correct?                                                  21   severely impaired, so I need to know who they are.
          22        A Well, that's the numbers that we've actually        22   Who are they?
          23    measured, although it also comes from my experience       23       A I cannot provide that data to you except on
          24    with dealing with all these people in the clinic with     24   those spreadsheets that were provided to you that
          25    all these people in the clinic.                           25   were supposedly going to be brought to this

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                                                                Page 226                                                       Page 228
           1     deposition.                                                1       Q Is this --
           2                MR. BERNICK: Are you aware of --                2       A -- longitudinal form.
           3                MR. LEWIS: Yeah, we gave them to you            3       Q Well, just so we're clear, is Exhibit-15 the
           4     at the start of this deposition. You weren't here,         4   yellow spreadsheet that would reflect the data that
           5     Counsel. Your co-counsel has had them all along.           5   you have referred to just now in your testimony?
           6                MR. BERNICK: No, no, no. This looks             6       A Yeah, all the ones that I've seen were
           7     nothing like that at all.                                  7   yellow. This, obviously, is not, but this is the
           8                MR. LEWIS: I don't know that that's             8   spreadsheet.
           9     the one we're talking about though. That's not the         9       Q Okay. So why don't you just tell me the
          10     one with the measurements on it.                          10   people on the spreadsheet who you say have thinner
          11                MR. LONGOSZ: That's what he gave us at         11   pleura but still severe diffuse pleural thickening?
          12     the start of the dep.                                     12              MR. LEWIS: Excuse me, Counsel. May I
          13                MR. LEWIS: That's not the one with the         13   have a copy, please?
          14     measurements on it.                                       14              MR. BERNICK: Yeah, sure. (Document
          15        Q (By Mr. Bernick) So we're clear,                     15   passed.)
          16     Dr. Whitehouse, this exhibit which is -- I don't know     16              MR. LEWIS: Thank you kindly.
          17     what it was marked as, but it was Final Key Libby         17              MR. BERNICK: Sure.
          18     Patients, the document that was given to us at the        18                  (Ms. Rickards returns from
          19     outset of the deposition has a list of people. There      19                    recess.)
          20     are a total of over 900 people. It does not contain       20       A Can I take this apart with a staple
          21     the information that you and I were just talking          21   remover --
          22     about, fair?                                              22       Q (By Mr. Bernick) Sure.
          23        A No, it does not, no.                                 23       A -- so I can just match it up? I have to
          24        Q Okay. So this yellow spreadsheet --                  24   match the names here. Okay. The first one is the
          25                MR. BERNICK: Nate, have you ever heard         25   initials which is --

                                                                Page 227                                                       Page 229
           1    of the yellow spreadsheet?                                  1      Q Just mark it off. Just mark it off with a
           2               MR. FINCH: I don't know about the                2   one. One indicating all -- one will indicate the
           3    yellow spreadsheet. Dr. Whitehouse has produced a           3   people who you say show --
           4    lot of stuff. Whether it was in that, God only              4             MR. LEWIS: Well, they're numbered.
           5    knows.                                                      5   Can he just go through and just give the numbers?
           6               MS. BLOOM: Does it have yellow                   6             MR. BERNICK: No, he -- if -- if --
           7    markings on it?                                             7   yeah, he can go --
           8               MR. FINCH: Yellow markings on it?                8      Q (By Mr. Bernick) Or you can go through and
           9               THE WITNESS: Ah-ha, there it is.                 9   give me a list of numbers. Whatever is easier for
          10               MR. LEWIS: Come on.                             10   you.
          11               THE WITNESS: It may not be yellow,              11      A The best thing to do is to circle the ones.
          12    but --                                                     12      Q Okay. Circle it, but I want -- then we're
          13               MR. LEWIS: Let's --                             13   going to use a star on the next difference and -- I'm
          14               THE WITNESS: Excuse me. I'm sorry.              14   serious. I really want --
          15       Q (By Mr. Bernick) Okay. This has been marked           15             MR. FINCH: And then a smiley face on
          16    before. This is the 76 mortality CH -- I'll mark           16   the next difference.
          17    this.                                                      17             MR. BERNICK: Yeah, that's right.
          18                   (Exhibit-15 marked for                      18      A Well, they're different columns, so it's --
          19                    identification.)                           19      Q (By Mr. Bernick) I understand.
          20       Q (By Mr. Bernick) Does Exhibit-15 contain the          20      A There shouldn't be an overlap.
          21    data that you're talking about?                            21      Q First question are those people you say have
          22       A Well, it's going to -- yes, it does.                  22   a different presentation of diffuse pleural
          23       Q Okay. So I --                                         23   thickening in Libby versus outside of Libby by reason
          24       A It's got -- it's got the measurements of the          24   of thickness.
          25    pleura on it, but they're not in a --                      25      A So I'm just going to circle the ones -- out

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                                                               Page 230                                                       Page 232
           1    here in the side or do you want me to circle the           1               MR. LEWIS: All right.
           2    names?                                                     2               MR. BERNICK: When he says there's a
           3       Q You can circle the numbers is fine.                   3   different presentation because of thickness, who is
           4       A All right.                                            4   he referring to?
           5       Q As long as the name is right.                         5               MR. LEWIS: Right.
           6       A May I ask a question?                                 6       Q (By Mr. Bernick) Got it?
           7       Q Sure.                                                 7       A Well, the only problem is as I mentioned to
           8       A Since the criteria is three millimeters,              8   you before -- yeah, I do have that. The only problem
           9    shall I circle everything that's under three?              9   is that I don't know whether there's any crossover in
          10       Q No, no, no, no, no. We're not -- I'm glad            10   people that actually presented -- just by looking at
          11    you put that -- the question is very simple. You say      11   that, presented with interstitial disease or may have
          12    that the people in Libby present differently with         12   it now and that's why I'm wondering whether I should
          13    severe diffuse pleural thickening because the pleura      13   eliminate some of these. That's what I was trying to
          14    are not as thick as what would be observed outside.       14   tell you a minute ago.
          15           Whoever it is that's picked up in that             15       Q Why don't you put down a key in your own
          16    difference in your mind is the basis for your             16   words at the top right-hand portion of the first page
          17    opinion, you circle, and then we'll get into further      17   of Exhibit-15 and say -- just say circle equals.
          18    questioning.                                              18       A Okay.
          19       A All right. I'm only going to mark these              19       Q Say circle equals --
          20    names. I'm not quite sure how to do this exactly          20       A I'll just say thin pleural thickening. It
          21    because I'm only going to mark the names if they have     21   doesn't say anything about interstitial disease.
          22    minimal or no interstitial disease. Fair enough?          22   Okay?
          23       Q If that's what you --                                23       Q So the circle -- so the record is clear, the
          24                MR. LEWIS: Just -- just -- Doctor, you        24   circled people that you've now put on -15 are those
          25    need to just answer the question that the attorney        25   people that you say present differently with severe

                                                               Page 231                                                       Page 233
           1    has asked.                                                 1   diffuse pleural thickening because their pleura is
           2               THE WITNESS: Well, he's --                      2   thinner than what is reported in the literature; is
           3               MR. LEWIS: He hasn't asked anything             3   that fair?
           4    about interstitial disease as far as I know.               4      A That's fair except that the one problem with
           5               THE WITNESS: No, but he's asking for            5   this is if they do have significant interstitial
           6    circling of ones that presented with just pleural --       6   disease, they may have presented with that and that
           7    thin pleural thickening and I don't want to then mark      7   may be a major factor in that the pleural thickening
           8    somebody that meets their criteria that has severe --      8   is not necessarily the biggest factor.
           9    might have interstitial disease. Is that right or          9      Q So now put -- next to the people who you
          10    not?                                                      10   think may be presenting with significant interstitial
          11               MR. LEWIS: Well, that's not what he            11   disease as those circled people who may have
          12    asked as I understand, but do the best you can.           12   significant interstitial disease, just put a check
          13               THE WITNESS: All right.                        13   next to those boxes.
          14       Q (By Mr. Bernick) I asked you for difference          14      A All right. That's what I was getting at
          15    of presentation, diffuse pleural thickness. That's        15   before.
          16    what I'm assuming you're marking.                         16      Q Okay.
          17       A And that's why I said that I didn't want to          17      A So I'm only going to check 1/1s or more or
          18    mark the ones that had --                                 18   what do you want? 2/1s? You want the criteria
          19       Q I understand.                                        19   for --
          20       A -- interstitial --                                   20      Q Well, whatever you would think to be the
          21               MR. LEWIS: Well, I think he -- is the          21   appropriate measure of there being some significant
          22    question regardless of interstitial disease or -- I       22   interstitial disease. I think that -- whatever you
          23    think that's the confusion.                               23   would use.
          24               MR. BERNICK: The question is the same          24      A All right. If I can just get these lines at
          25    question that I started out with.                         25   the bottom to match up. I'll make that clearer. Oh,

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                                                               Page 234                                                       Page 236
           1    wait a minute. That's the wrong one. Damn it.              1       Q If you notice on the TDP, significant
           2        Q You can scratch it off.                              2   interstitial disease all requires -- all it requires
           3        A It's hard to see across here even though             3   is 1/0.
           4    there's a crosshatch area in here.                         4       A Well, then, if you want me to use -- is that
           5        Q I've noticed.                                        5   all or is there 1/1?
           6        A That's this one here. Here we go. Oh, I              6       Q No, no, for the TDP that qualifies having
           7    guess that's the best I can tell.                          7   interstitial disease, it's 1/0.
           8        Q Okay. So --                                          8       A All right. I'll do 1/0s then.
           9        A That check is equal to IF -- equal to 1/2 or         9               MR. BERNICK: Is that right?
          10    greater. I think that's what I've got.                    10               MR. FINCH: It's for everything but the
          11        Q 1 what?                                             11   most severe category, yeah.
          12        A 1/2.                                                12               MR. LEWIS: The severe category is 2/1,
          13        Q 1/2?                                                13   right?
          14        A Well, 1/2, ILO 1/2. We've got 1/1s.                 14               MR. BERNICK: That's the most severe.
          15        Q I know, but --                                      15               MR. FINCH: That's the most severe.
          16        A How significant do you want it? I guess             16               MR. BERNICK: Four is 1/0.
          17    that's the --                                             17               MR. FINCH: Category three is 1/0.
          18        Q Well, I don't know. I mean the question --          18               MR. BERNICK: Three is 1/0.
          19    it's really up to you. This is --                         19       A God, whether this is right or not, who knows.
          20        A Are we --                                           20   I'm sure you'll sort it out. Well, let you figure
          21        Q This is all by way of comparison,                   21   that one out.
          22    Dr. Whitehouse. We want to know people who present        22       Q (By Mr. Bernick) I'm not sure -- you make
          23    at Libby differently from people who present outside      23   sure your key is -- go back one --
          24    of Libby.                                                 24       A I left the key as 1/0.
          25        A All right.                                          25       Q Okay. So now you tell us on the record on

                                                               Page 235                                                       Page 237
           1        Q Because you're saying that they present              1   Exhibit-15 -- I haven't even looked at what you've
           2    differently at Libby because they have thinner pleura      2   marked off. You tell us what you have done with
           3    and they're still impaired, and what you said is that      3   Exhibit-15 in order to elucidate the different
           4    there's a complication in those cases where people         4   presentation of diffuse pleural thickening, severe
           5    have interstitial disease as well, correct?                5   diffuse pleural thickening at Libby versus outside of
           6        A Yeah, and I'm going to check the -- I'm going        6   Libby.
           7    to check the ones that I consider to be significant        7      A Well, I've got seven or eight. Is that an
           8    disease, but most of these are 1/0s or 0/1s.               8   eighth one? Yes, I have eight people here.
           9        Q Right. So --                                         9      Q And those eight people are noted or marked --
          10        A And I hope I don't miss any because it's            10      A Out of the mortality study that have thin
          11    conceivable I might miss one.                             11   pleural thickening and ILOs 1/0 or less.
          12        Q So what are -- you've got circled the ones          12      Q 1/0 or less?
          13    that have the thin membranes --                           13      A Yeah.
          14        A Yeah.                                               14      Q So you would say that anybody --
          15        Q -- thin pleura, and you're now putting a            15      A Wait a minute. 1/0 or greater I checked and
          16    check mark next to those of them that also have           16   then the ones that are less than that are 0/1 or less
          17    interstitial disease?                                     17   are the ones that are -- they're not checked and
          18        A Right.                                              18   there's -- let's see. One, two, three, four, five,
          19        Q Okay. And what's your criteria for                  19   six, seven -- eight of them.
          20    interstitial --                                           20      Q Okay. So there are eight people that you've
          21        A Well, I'm just using 1/2, but I would use 1/1       21   marked with plan circles on Exhibit-15?
          22    if that's what you prefer.                                22      A Mm-hm. (Answers affirmatively.)
          23        Q Well, whatever it is that you think is the          23      Q And they represent people who illustrate or
          24    marker of significant interstitial disease.               24   the basis for your saying that diffuse -- severe
          25        A Well, I think the marker --                         25   diffuse pleural thickening at Libby presents

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                                                               Page 238                                                       Page 240
           1     differently from outside of Libby in that the             1   and then I'll put a star next to those or an X next
           2     membranes or the pleura are thinner, fair?                2   to them if they have severe disease. Is that what
           3        A That's -- that's part of it, but, yes.               3   you want me to do?
           4        Q Okay. Now, the other difference that you've          4      Q Yeah, I want only the ones that you say have
           5     pointed to in presentation is that people at Libby        5   diffuse -- severe diffuse -- severe diffuse pleural
           6     with severe diffuse pleural thickening with less          6   thickening with low exposure. Are you with me?
           7     exposure history?                                         7      A I'm with you.
           8        A Yes.                                                 8      Q Okay.
           9        Q Could you please mark -- is the basis for            9      A Where shall I put the X here? That will
          10     that difference, again, your observations with           10   work, right there. Okay? It looks like we've got
          11     respect to the 79 people in the CARD mortality study?    11   about another -- it looks like there's no crossover
          12        A Well, you know, community members would be          12   here. One, two, three, four, five, six, seven,
          13     the most likely situation, but that's a little hard      13   eight, nine, ten -- eleven of them that are community
          14     to do without actually having the chart.                 14   exposure.
          15        Q Okay. Well, I'm just asking you the                 15      Q So wait. So what you've now done is defined
          16     second -- the second difference that you pointed out     16   the people with community exposures, right?
          17     which has to do with exposure, is the source of that     17      A Mm-hm, mm-hm.
          18     difference, the opinion about that difference your 79    18      Q But are these people now with community
          19     people in the CARD study?                                19   exposure and severe diffuse pleural thickening?
          20        A Mm-hm. (Answers affirmatively.)                     20      A As best I can tell, yeah, from the numbers
          21        Q You have to respond orally.                         21   that I have here.
          22        A Yes.                                                22      Q Okay. And do they also have -- do they
          23        Q And can you identify those people using             23   have -- do they not have interstitial disease?
          24     Exhibit-15 or not?                                       24      A Well, I'd have to go back and look at it
          25        A Well, I can -- I can demonstrate all the ones       25   again then because I don't know which ones do have

                                                               Page 239                                                       Page 241
           1    that had only community exposure. Okay? Which is           1   the interstitial disease.
           2    going to be the ones with low exposure.                    2      Q Well, then check that out because I want
           3       Q Okay. Well, then put an E next to those.              3   people, again, who have diffuse -- severe diffuse
           4       A Why don't I just circle the C?                        4   pleural thickening with the impairment and the
           5       Q I'm sorry?                                            5   differences that they have low exposure because
           6       A Want me to circle the Cs?                             6   that's what you said your second difference was.
           7       Q Circle the Cs?                                        7      A Where is the interstitial disease?
           8       A Where it says exposure.                               8              MR. FINCH: On the third page.
           9       Q Where it says exposure? Oh, I see, yeah.              9      A Oh, here it is. Well, I don't know what
          10       A I just circled where it had C on them --             10   kind of -- we'll use a star.
          11       Q Well, whatever --                                    11      Q (By Mr. Bernick) A star is going to
          12       A -- but not the family member ones because            12   represent what?
          13    there are some that are a question of whether it's a      13      A Interstitial disease.
          14    family member or not.                                     14      Q Okay.
          15       Q Okay. So before you do that, let's just              15      A Okay. I think that's it.
          16    think this thing through so we've got a question and      16      Q Okay. So what have you now marked off?
          17    answer and we don't do it more than once,                 17      A Eight of those. How many do we have all
          18    Dr. Whitehouse.                                           18   altogether did I say? Doesn't seem to be much
          19          I want people who are presenting with severe        19   crossover between the extensive pleural thickening
          20    diffuse pleural thickening, severe diffuse pleural        20   and any interstitial fibrosis, a couple down here,
          21    thickening --                                             21   and then all the rest of them had extensive disease,
          22       A Okay.                                                22   but did not have interstitial disease.
          23       Q -- with what you say is a lower exposure than        23      Q Let me see -15 now, sir.
          24    what has been reported in the literature.                 24      A (Document passed.)
          25       A Okay. So I'll circle the ones that are Cs            25      Q If I can make --

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                                                                 Page 242                                                      Page 244
           1         A There's the rest of the sheets, if you want           1   is, you've circled them because they died, but which
           2     to have it.                                                 2   ones of them actually had, before they died, a loss
           3         Q Okay. So you've marked off with a circle on           3   of lung function?
           4     Exhibit-15 those who have thin pleural thickening,          4       A Let me -- let me -- it's on here.
           5     and by that, you mean those who you believe have            5       Q I know.
           6     severe diffuse pleural thickening, but with a thinner       6       A But it's a wrong -- it's very hard to read.
           7     pleura than what's reported in the literature?              7   Let me have these sheets. I thought you had the ones
           8         A Yeah, well, they died. Those are ones that            8   that were all taped together. It had colors on it so
           9     died of their disease so we can assume that it was          9   that they could be easier to --
          10     severe from that sheet there.                              10       Q Okay. So what I want -- here, I'll make it
          11         Q Oh.                                                  11   even --
          12         A Because I don't have all the rest of the             12       A Well, there's a problem. There is a problem
          13     other data here, you know, at this point, but if they      13   here, a little bit.
          14     died and are on that sheet, they died essentially of       14       Q Yeah.
          15     asbestos disease, and so if the only thing that's          15              MR. FINCH: David?
          16     marked is thin pleural thickening on there, that was       16              MR. BERNICK: What?
          17     it.                                                        17       A No, wait a minute. I guess I've got the data
          18         Q Okay. So what if their lung function was             18   and I thought --
          19     not -- was not below normal?                               19              MR. LEWIS: No, I think you got it.
          20         A That's very possible. It probably was not.           20              THE WITNESS: Yeah, I got it.
          21     It was -- probably was below normal for most of            21       Q (By Mr. Bernick) So I want: Of those people
          22     those, I would think, or it was people that had lost       22   with those thin membranes and without the diffuse --
          23     a tremendous amount of lung function.                      23   without the fibrosis, pure -- just the -- not pure.
          24         Q Well, but this affects things.                       24   Those people who had severe diffuse pleural
          25           Is there anybody that you've identified --           25   thickening, I want to know and I want you to

                                                                 Page 243                                                      Page 245
           1    anybody that you've identified that's -- now, taking         1   yellow-highlight the number of those who had a below
           2    a look at Exhibit-15, try to round out these                 2   normal lung function at the time of death.
           3    differences because I now understand more of where           3      A Okay. I don't know if I can see that. I'm
           4    you're coming from, but you've identified a                  4   color blind, by the way. This is enough to challenge
           5    difference in the presentation at Libby that people          5   your vision.
           6    with severe diffuse pleural thickening present               6      Q Which ones have you highlighted?
           7    differently from those in the literature because             7      A Every one of them.
           8    their pleura are thinner, right?                             8      Q That has below normal lung function at the
           9       A Mm-hm, at the time of death.                            9   time of death?
          10       Q All right. And you've -- you've indicated              10      A Every one so far. I think they're all going
          11    who they are on Exhibit-15 by putting in a zero.            11   to be, I suspect, but we'll see in a minute, won't
          12    You've also though put a check mark next to those of        12   we? Now, wait a minute. Every one.
          13    that group who had interstitial involvement, right?         13      Q Every one of the ones that you marked as
          14       A Yeah.                                                  14   having thin membranes, thin pleura had below normal
          15       Q So if we wanted to focus purely on those who           15   lung function at the time of death?
          16    had diffuse pleural thickening and not on those who         16      A Yeah, every one of them.
          17    also had interstitial fibrosis, we would take a look        17      Q And as a measure, what did you use as the
          18    at the zeros that did not have a check mark, correct?       18   measure of below normal lung function?
          19       A Correct, mm-hm.                                        19      A Well, basically, I was using 80 percent, but
          20       Q And as I look at it, that would be number 2,           20   actually, I could just as soon use --
          21    number 6, number 14, 15, number 38, number 51 and 52,       21      Q 80 percent of what?
          22    and number 69, right?                                       22      A 80 percent of predicted, but I could just use
          23       A Correct.                                               23   lower than that because I don't think there was
          24       Q Now, of those people, which ones of them               24   anything --
          25    actually had a recorded loss of lung function, that         25      Q 80 percent of predicted for what number?

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                                                             Page 246                                                       Page 248
           1        A I was using, basically, FVCs or DLCOs.             1       Q And have you also done that on Exhibit-15?
           2        Q Okay. Now, FVC or DLCO less than 80?               2   Just hand that over here.
           3        A Yeah. We have a lot of DLCOs in here in the        3       A Oh, okay. Yeah, the key is down here on the
           4    40 range, 30 and 40 range.                               4   bottom.
           5        Q Now, with respect to all those people that         5       Q So in order to indicate those people who are
           6    you have yellow-highlighted, which ones of them were     6   different because they had community exposures and
           7    smokers?                                                 7   still had severe diffuse pleural thickening, you've
           8        A I don't -- I don't know if I have that on          8   indicated those with the exposures -- low exposures
           9    here. Do I? I don't think so.                            9   with a C. With an X, those who had extensive --
          10        Q Well, wouldn't you want to know that?             10       A Pleural thickening.
          11        A Oh, here we are. Yeah, I guess we do have         11       Q -- pleural thickening and then a star if they
          12    that on this one. We did put that on this one.          12   had interstitial involvement. So to figure out which
          13    Well, let's see. Why don't you score this yourself?     13   ones of them are the evidence of your second
          14    Active smokers, now there's one, two... (Pause.)        14   difference, which is low exposure, you'd look for
          15        Q I want active or former smokers.                  15   people who have a C and X and no star, correct?
          16        A Well, there's a bunch of them that quit a         16       A Yeah.
          17    long time -- actually, a long time ago.                 17       Q And of those C, X, no star, we have seven --
          18        Q You don't necessarily know when they quit         18   Baker is 7. We have Cole, 15, and Cole, 16. We have
          19    from this, do you?                                      19   Fehrs, 30. Yeah, C, X -- C, X -- I'm sorry. That's
          20        A Oh, I know their pack years and their age, so     20   not Fehrs. That's Erickson, 29. We have Hammer, 37.
          21    it probably was a long time ago.                        21   We have Kujawa, 47. And we have Lundstrom, 49.
          22        Q But you don't really know that either?            22   Shockley, 65. And Thompson, 70. Right?
          23        A No, I don't.                                      23       A Yeah, I wasn't looking at the names.
          24        Q Let me just ask you: Are there any people         24       Q Now, of those people, which ones of them
          25    that you've highlighted in yellow, that is, having      25   actually had below normal lung function before death?

                                                             Page 247                                                       Page 249
           1    thin pleural tissue and severe diffuse pleural           1      A Well, then you have to give that back to me
           2    thickening who had no smoking history?                   2   again and I could tell you, probably.
           3       A I've got one here. I think one and then I've        3      Q Okay. And mark those up with yellow.
           4    got one with a pipe. I don't know if that's going to     4      A I'm mark it through their C here.
           5    count or not. I think that's all I've got. Most of       5      Q These are C, X, no stars, right?
           6    them quit. They have a Q by them.                        6      A Yeah.
           7       Q Just so we're clear, all the people that            7      Q C, X, no stars with below normal lung
           8    you've pointed to as evidence that in Libby there's a    8   function at the time of death.
           9    different presentation of diffuse -- severe diffuse      9      A No X, so we won't do that one.
          10    pleural thickening because of the thinness of the       10      Q C, X, no star, plus below normal lung
          11    pleura, you've marked off those people. You've also     11   function.
          12    indicated which ones of them do not have -- or do not   12      A Mm-hm. (Answers affirmatively.) Oh, it
          13    have interstitial involvement.                          13   looks like they're all going to be in yellow. I hope
          14       A Mm-hm. (Answers affirmatively.)                    14   you can see the yellow because I can't. All of these
          15       Q And of all those people who had those thin         15   are low -- you can sort out which ones have excess.
          16    pleura, only one of them was a never smoker, correct?   16      Q And of this group, how many of them were
          17       A Correct.                                           17   never smokers?
          18       Q Okay. If we now go to the community                18      A Were never smokers?
          19    exposures --                                            19      Q Yeah.
          20       A Mm-hm. (Answers affirmatively.)                    20      A I'll look it up. There's one, two, three --
          21       Q -- that's people that you say presented with       21   three, four, five -- five.
          22    severe diffuse pleural thickening with lower than       22      Q Five.
          23    expected exposures. Have you also then indicated        23         So if we take these first two differences
          24    which ones of them did not have interstitial disease?   24   that you've identified in presentation, that is,
          25       A Yeah, I have.                                      25   thinness of plural tissue and low exposure and you

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                                                               Page 250                                                       Page 252
           1     indicate -- you separate out those that had               1       A I believe you do.
           2     interstitial involvement and you looked to people who     2       Q -- in their entirety for all the 79?
           3     had below normal lung function at the time of death,      3       A I believe you do, as far as I know. I mean,
           4     there are a total of five people who were never           4   I wasn't in charge of getting them to you, but I
           5     smokers?                                                  5   think you have them all.
           6        A Probably. That may be.                               6       Q No, because the 79 includes people who are
           7        Q Well, that's what you've indicated, right?           7   not your patients, right?
           8        A Yeah, whatever I told you.                           8       A Oh, you should have a redacted file for that.
           9        Q Now, if they're people who have smoking              9       Q No, we don't. No, we don't.
          10     history, they're going to have -- smoking causes both    10              MR. LEWIS: Yes, you do.
          11     restrictive impairment and obstructive impairment of     11       Q (By Mr. Bernick) We have x-rays. We do not
          12     lung function, correct?                                  12   have redacted files. The redaction wasn't done.
          13        A No, they cause diseases that may give you           13   Redaction -- there's an objection that it'll be
          14     obstructive disease, but in their own right, they do     14   costly to do the redaction, but we don't have the
          15     not. Only about eight to ten percent of people that      15   redacted files.
          16     are smokers get significant lung disease from their      16              MR. LEWIS: I think you do have the
          17     smoking, so --                                           17   redacted ones for the study. That's what I -- I
          18        Q I'm sorry. Who --                                   18   honestly believe that. I could check on that.
          19        A -- no, I would not agree with you at all            19              MR. BERNICK: I don't believe so.
          20     about --                                                 20              MR. LEWIS: I think you do.
          21        Q Well, people who -- I'm sorry. People who           21       Q (By Mr. Bernick) In any event, if we wanted
          22     are current or former smokers, those who do suffer       22   to see what the impact of smoking was within the 79,
          23     affects from the smoking with loss of lung function,     23   it would be best to have the medical files, correct?
          24     that is, principally obstructive lung function,          24       A Yeah, it would be, but you'd also need to
          25     correct?                                                 25   make sure that when you're dealing -- and if you see

                                                               Page 251                                                       Page 253
           1       A Yes, if they -- if they develop emphysema,            1   an obstructive defect, whether it's an obstructive
           2    yes, that's the case.                                      2   defect due to asbestos disease or whether it's
           3       Q Okay. Now, how many of the people that                3   related to smoking --
           4    you've identified in your first category, which is         4       Q Okay.
           5    the thinner pleura, had obstructive lung function          5       A -- and emphysema.
           6    from smoking? Can we figure that out?                      6                 (Exhibit-16 marked for
           7       A That is going to be very difficult to figure          7                   identification.)
           8    out off of this.                                           8       Q (By Mr. Bernick) Now, I want to move quickly
           9       Q What would we need in order to figure that            9   through the rest of the questions that I have. This
          10    out?                                                      10   is very helpful and I appreciate your taking the time
          11       A Tables and continuity, actually, so that you         11   to do it.
          12    could actually look at them. This is pretty hard to       12         I'm going to give you Exhibit-16. Exhibit-16
          13    see anything on this thing.                               13   is the same thing. I now want to talk about the two
          14       Q Well, would it be best to actually figure            14   other points of distinction that you identified for
          15    out -- if we wanted to know these two differences and     15   people at Libby.
          16    what effect, if any, smoking had on the people with       16         One point -- further point of distinction
          17    these two presentational differences, thin pleura and     17   was, you said, the rapidity of progression?
          18    shorter exposure history, if we really wanted to know     18       A Yes.
          19    what the impact of smoking was, wouldn't we need          19       Q The second was progression to death, correct?
          20    their medical files?                                      20       A Yes.
          21       A Probably would, yeah.                                21       Q And I take it that with respect to
          22       Q And do we have the medical files for all the         22   non-malignant disease, your evidence to support both
          23    79?                                                       23   of those points comes again from the CARD mortality
          24       A Yes, you do.                                         24   data, correct?
          25       Q We have all the medical files --                     25       A Well, the progression comes from other

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                                                             Page 254                                                        Page 256
           1    places, if that's what you're talking about, you         1       Q Is the answer to that yes?
           2    know, the rapid progression of it.                       2       A Yes.
           3        Q Okay. Let's talk about rapid progression           3       Q And how many of the people in the CARD
           4    first.                                                   4   mortality data set are people who progressed to death
           5        A Okay.                                              5   from severe diffuse pleural thickening? How many?
           6        Q Your evidence of rapid progression at Libby        6       A From severe diffuse pleural thickening?
           7    that's different from elsewhere, the source of that      7       Q Yes, all I'm focused on is severe diffuse
           8    data -- that data source is what?                        8   pleural thickening.
           9        A You have it. You have a list of names of           9       A Well, we had the low exposure ones that you
          10    people and you have the x-rays for them of people       10   already know about when the death was --
          11    that have had rapid progression of their disease over   11       Q This is why, Dr. Whitehouse, it's so critical
          12    a short period of time. It's something that's been      12   that we peel off these questions one at a time.
          13    working and I've worked on to prepare for a paper,      13          We've been through people with the different
          14    but it isn't -- it isn't ready to be published yet,     14   presentations, that is, thinner pleura and low
          15    but you have the pulmonary function numbers on those    15   exposure. I now want to know the people whose cases
          16    people and you have the x-rays and you have the names   16   you relied upon for your opinions about rapidity of
          17    and only two of them are not clients and they're in     17   progression.
          18    the -- they're initialed in that list.                  18       A Okay. You have that. It was in -- it was in
          19           Now, I don't know where it is, but I know you    19   my expert report and you have a copy of that in your
          20    do have that.                                           20   expert report that has the pulmonary functions on
          21        Q Just -- you're ahead of me.                       21   eighteen people and you have a CD somewhere that has
          22        A Yeah.                                             22   all the x-rays of those people, the serial x-rays.
          23        Q For your opinion that says that there's more      23   There it is, right there. He's got it. And there's
          24    rapid progression at Libby --                           24   another page that shows the pulmonary function.
          25        A Yes.                                              25       Q Okay. Now, this is -- I'm working with

                                                             Page 255                                                        Page 257
           1        Q -- the source of that opinion is data with         1   Exhibit-6 -- Exhibit-6 to Dr. Whitehouse's May 2009
           2    respect to which people? Which people?                   2   report; is that right, Dr. Whitehouse?
           3        A Those are the ones I was just telling you          3              MR. LEWIS: Which is exhibit -- is it
           4    about, the eighteen. That's part of it. That's the       4   Exhibit-1 to this deposition?
           5    eighteen that are a study population of people that      5              MR. BERNICK: Yes.
           6    have rapidly progressed that we have documentation of    6              MR. FINCH: Yes.
           7    it, both radiographically and with pulmonary             7      Q (By Mr. Bernick) Okay. So if we go to that,
           8    functions.                                               8   these are Exhibit-6 to your May report, '09 report,
           9           We actually have some more of them that -- a      9   are the people who you believe have got rapid
          10    number of other ones that I decided I wasn't going to   10   progression that's distinctive to Libby from
          11    use for the study because I didn't like the quality     11   diffuse -- severe diffuse plural thickening; is that
          12    of the x-rays or something else. I had to have          12   correct?
          13    something that I could document easily.                 13      A And I've actually been told that this is
          14        Q Again, we're not communicating. Let me take       14   really unusual by the people at Mount Sinai --
          15    this a step back.                                       15      Q I didn't ask you that.
          16           I know about the paper that was published in     16      A -- to do that.
          17    2004.                                                   17      Q I didn't ask you that.
          18        A This is not published.                            18         I just want to know what your data was. Is
          19        Q Okay. So let's begin and talk about data          19   that accurate, this is the basis for your opinion --
          20    that you have on progression. There's the paper in      20      A Yes.
          21    2004, right?                                            21      Q -- on rapidity of progression; is that right?
          22        A Yes.                                              22      A That's part of it, yes.
          23        Q You then have people who are in the CARD          23      Q Okay. This data set, who are these people?
          24    mortality data set?                                     24   How do we get from case number here --
          25        A Mm-hm. (Answers affirmatively.)                   25      A Let me show you.

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           1         Q -- to your spreadsheet? Are they all --             1      Q (By Mr. Bernick) But the question is -- but
           2         A This one -- they're not on this spreadsheet.        2   the question is -- I know that these are people that
           3         Q Okay. So --                                         3   you saw, but why is it you say that these particular
           4         A These people are alive.                             4   people who are listed in Exhibit-6 to your May report
           5         Q Okay. So Exhibit-6 to your May report are           5   show rapidity of progression from diffuse pleural
           6     people who are all alive?                                 6   thickening?
           7         A Yes.                                                7      A Let me have the sheet here for a second.
           8         Q And they show rapidity of progression?              8      Q I don't want interstitial stuff. I want --
           9         A Yeah, and now if you turn the page over,            9      A No.
          10     you'll see the names of them.                            10      Q -- just your diffuse pleural thickening.
          11         Q You'll see the names are on the back of the        11      A Oh, I think there's one interstitial in here
          12     paper?                                                   12   probably, but most of it's -- maybe two. Oh, they
          13         A And the initials.                                  13   did it on this -- it makes it a little harder to
          14         Q And the --                                         14   read. They put the before, see, on one page, and the
          15         A No, the next page down there.                      15   after on the next page.
          16         Q Oh, it's the next page. It's the names and         16              MR. FINCH: Which one?
          17     initials?                                                17              MR. BERNICK: It's his report. Has his
          18         A Yeah.                                              18   report been marked as an --
          19         Q Fair enough.                                       19              MR. FINCH: Yeah, it's Exhibit-1.
          20            And these are different from the people who       20      Q (By Mr. Bernick) It's Exhibit-1.
          21     are on -- who were part of the mortality study?          21      A Yeah.
          22         A That's right.                                      22      Q Okay. So can we just get that? That will
          23         Q Okay. Is there any other data set that you         23   save us a lot of time. In your stack of exhibits,
          24     rely upon for your opinions regarding rapidity of        24   see if you have Exhibit-1.
          25     progression?                                             25              MR. LEWIS: I'll help you.

                                                               Page 259                                                        Page 261
           1        A No, only my personal experience.                     1               MR. BERNICK: Thank you very much. I
           2        Q Okay. Now, the rapidity of progression that          2   appreciate that.
           3    we see here on Exhibit-6 to your May report, what was      3       Q (By Mr. Bernick) So we'll go to Exhibit-1
           4    the criteria for inclusion of these people, that is,       4   and we'll go to tab six, and I want you to identify,
           5    how did you pick these people out?                         5   if you can, the people in this collection who do not
           6        A I haven't worked on this for a while, so I'm         6   have interstitial involvement, that is, who were just
           7    trying to remember exactly what -- what I decided.         7   severe diffuse pleural thickening.
           8    It was something like about a twenty percent drop in       8       A Well, they'll tell you. It's number three
           9    lung function over a period of less than two years, I      9   and it's number thirteen.
          10    think, as I recall, two years. Maybe four years. I        10       Q Number three and number thirteen?
          11    think maybe it is four years.                             11       A And number five. And number five has some
          12        Q Are there documents that would enable you           12   interstitial disease too.
          13    to -- enable us to see what the basis was for your        13       Q Okay. So in the list on Exhibit-6, the ones
          14    saying that there was rapid progression in these          14   with -- that are -- that have severe diffuse pleural
          15    people?                                                   15   thickening without --
          16        A Turn the page over and look at the pulmonary        16       A I didn't say these had diffuse severe pleural
          17    functions and you can see what happened to the            17   thickening.
          18    pulmonary functions and the dates are on there and        18       Q That's all I want. I just want to know only
          19    all.                                                      19   about severe diffuse pleural thickening because
          20        Q But what I want to know is -- what I want to        20   that's the category I'm focused on in the TDP. I
          21    know is why you picked these people.                      21   want to know those people in your list you had that
          22        A Oh, those are people that I saw in the clinic       22   you think is unusually rapid progression from severe
          23    and that Dr. Black saw and made me aware of and so        23   diffuse pleural thickening.
          24    that's how they wound up in that.                         24               MR. LEWIS: I think -- I think --
          25               MR. FINCH: Use this copy.                      25   forgive me, Counsel, but I think that's not the

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           1    purpose of this chart. I think we're just talking        1   interstitial disease except for three. Number three
           2    about progression here as -- and not defining in         2   I know doesn't have much pleural disease.
           3    terms of severity.                                       3       Q Okay. And then what would we look for in the
           4                MR. BERNICK: I understand that.              4   charts? What in the charts did you look to in order
           5    That's why I want to know because the criticism is       5   to say that they had more rapid progression of
           6    lodged with respect to that TDP category. I'm            6   diffuse -- severe diffuse pleural thickening of
           7    focused -- all my stuff is focused on that category.     7   what's reported in the literature?
           8       Q (By Mr. Bernick) So I need to know -- when          8       A Well, the first thing I looked at -- the
           9    you say that there's been more rapid progression from    9   first thing I looked at was their pulmonary functions
          10    severe diffuse pleural thickening, I need to know       10   which is -- tells you a world of information if you
          11    whose cases you're pointing to.                         11   look at those because most of them dropped by 50
          12       A I can't identify them individually. There's        12   percent over a period of a couple years, and then you
          13    no way to do it from what I have here. There's no       13   look at the x-rays and see what happened in their
          14    way to identify them.                                   14   x-rays.
          15       Q What do you --                                     15       Q But what was the criteria for your saying
          16       A I have a pretty good idea that they're all         16   that it was more rapid than what appeared in the
          17    severe and they were all severe at the end of           17   literature?
          18    their -- I can tell you which ones I know for sure      18       A I think I'd have to look at the draft of the
          19    are severe as far as their pleural disease because I    19   paper. I don't have it with me and I'm sure you
          20    took -- as you mentioned, there's a couple of           20   don't have it either and it is, indeed, a draft, but
          21    interstitial ones in here and I won't discuss those.    21   I think it was -- and I haven't -- and the reason I
          22       Q Well, what I need -- I don't want to have to       22   don't remember it is because I haven't really looked
          23    just rely on your memory, Dr. Whitehouse, because I     23   at this for six months and I haven't had time to, but
          24    know you wouldn't want to rely upon that either.        24   I think it's -- I think it was either a 20 or 30
          25       A Well --                                            25   percent drop in the FVC or DLCO over a period of

                                                             Page 263                                                       Page 265
           1       Q But if we wanted to know those people who had 1         about three to four years.
           2    severe diffuse pleural thickening at Libby that you   2          Q Three to four years?
           3    say are distinctive because of rapidity of            3          A Yeah, that's considered rapid in asbestos.
           4    progression, where would we go to find out who they   4          Q And so I want to be able to -- again, I want
           5    are and the basis for that?                           5      to be able to rely upon this so that if you say
           6       A Who they are is here, and I guess you could      6      something, we'll hold you to it when you testify in
           7    go to your other sheet, if they're on the mortality   7      September.
           8    study, but most of these are not. There's only one    8          A Well --
           9    that I know of, maybe two, on that mortality study.   9          Q We'll hold you --
          10    You have to go to the charts.                        10          A -- take a look at the numbers.
          11       Q Have to go to their charts?                     11          Q Well, I don't want to -- I don't want to take
          12       A Mm-hm. (Answers affirmatively.)                 12      a look at the numbers. I want to know your expert --
          13       Q But which charts do we have to go to? The       13      what you did by way of an expert analysis. I want to
          14    people that --                                       14      be able to say we talked to you back in June of this
          15       A All of them -- all of them except the ones      15      year -- when you testify in September, I want to say
          16    that have interstitial disease, look at them.        16      you told us back in June, Dr. Whitehouse, that
          17       Q As the charts -- so we would go to the charts   17      rapidity of progression that was different at Libby
          18    of people who are listed in Exhibit- -- tab six to   18      was determined by X and we've now gone out and tested
          19    Exhibit-1 of this deposition, we would go there?     19      it, so I need to have you to be able to tell us, if
          20       A Right.                                          20      you can, what the criteria was or what the fact was
          21       Q And then we would look for the individual       21      that you observed in these people such that you said
          22    charts of those people who are listed other than the 22      there was more rapid progression from diffuse pleural
          23    ones with interstitial disease, and what would we    23      thickening than what's reported in the literature.
          24    look for?                                            24          A I'll have -- you know, there's one that was
          25       A I think you should look at the ones with        25      radiographic. The rest of them are both radiographic

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           1     and pulmonary function and I'll have to look it up       1   the thickness of the tissue from how it is has been
           2     and I'll get it to you. There's no way I can             2   reported, the thickness that's been reported outside
           3     remember it now and I'm not even going to try.           3   of Libby in the scientific literature?
           4         Q See, I can't deal with that. I'm taking your       4       A I haven't -- I doubt it's any significant
           5     deposition today.                                        5   difference because it's -- I think it's more a matter
           6         A Well, I can't give it to you because I don't       6   of degree or more the matter of frequency than it is
           7     remember. Okay?                                          7   the amount of degree. I'm sure you can find the same
           8         Q Okay.                                              8   thing in -- outside of Libby in people if you look
           9         A And you'll have to live with that.                 9   for it. That's all.
          10         Q But how do you know -- well, actually, let me     10       Q Okay. Now, have you done the scientific
          11     just ask you: What do you think -- let's go back        11   analysis to say, I've measured and determined that
          12     over this for a second. We talked about the             12   the frequency of thinner pleura in Libby people is
          13     difference in the thickness of the pleura, right?       13   greater than the frequency reported in the
          14         A Mm-hm. (Answers affirmatively.)                   14   literature? Have you done that?
          15         Q And you said you think that the people at         15       A No.
          16     Libby present differently with diffuse pleural          16       Q What about when it comes to low exposure?
          17     thickening because they have severe impairment          17   Low exposure has been reported. We know low exposure
          18     with -- even though their pleura tissue is thinner      18   has been reported as a source of diffuse pleural
          19     than what's reported in the literature.                 19   thickening outside of Libby, correct?
          20            When you made that comparison, what did you      20       A Yes.
          21     assume the thickness was that was reported in the       21       Q Do you know that the -- have you actually
          22     literature for people outside of Libby?                 22   scientifically determined that the frequency of
          23         A No, I was -- I was using for comparison the       23   reporting of severe diffuse pleural thickening at
          24     plan's three millimeter.                                24   Libby is actually higher than the frequency of
          25         Q Oh, you mean the TDP?                             25   reporting of diffuse pleural thickening with low

                                                              Page 267                                                       Page 269
           1        A Yeah, the TDP is three millimeters is what I        1   exposure outside of Libby? Have you determined that
           2    was using.                                                2   scientifically?
           3        Q Well, what if we set the TDP to one side and        3       A No, it hasn't been reported yet.
           4    simply said, Dr. Whitehouse, I want to know whether       4       Q It hasn't?
           5    you've determined based upon scientific study that        5       A It hasn't been reported.
           6    there's a difference in the presentation of diffuse       6       Q When it comes to the frequency of blunting of
           7    pleural thickening at Libby versus elsewhere. Forget      7   costophrenic angle, Libby versus outside of Libby,
           8    about the TDP. I just want to know whether you've         8   have you determined scientifically that the rate of
           9    determined that the presentation is different than        9   reporting outside of Libby is different?
          10    Libby elsewhere. Could you tell me that what you've      10       A Well, the literature indicates that -- not
          11    seen in Libby in terms of the thickness of the pleura    11   the literature, but the Amelia* article, et al., says
          12    on presentation or severe diffuse pleural thickening     12   that you shouldn't have diffuse pleural -- they call
          13    is different from that same feature reported in the      13   it diffuse pleural thickening and it's --
          14    literature?                                              14       Q I know.
          15        A Yes, much more frequent.                           15       A But that's --
          16        Q Not frequent.                                      16              MR. LEWIS: Now you've got to let him
          17        A Hey, that counts for a whole lot.                  17   finish his answer.
          18        Q I'm not --                                         18              MR. BERNICK: Come on. Come on, Tom.
          19        A You have to look at it that way.                   19              MR. LEWIS: No. Wait. Wait. Wait.
          20        Q No, no, no, no, no, no, no. I just want -- I       20              MR. BERNICK: We've been getting along
          21    want you to tease out here -- very important -- how      21   fine.
          22    it looks.                                                22              MR. LEWIS: Wait. Wait. Wait.
          23           Do you know -- do you know based upon             23              MR. BERNICK: We've been getting along
          24    scientific data that the presentation of diffuse         24   just fine.
          25    pleural thickening at Libby is different in terms of     25              MR. LEWIS: That's because you were not

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           1     interrupting his answers. Let him finish his answer      1              MR. LEWIS: Objection.
           2     and then you can inquire.                                2              MR. BERNICK: Just make your objection.
           3         Q (By Mr. Bernick) Go ahead, Dr. Whitehouse.         3   I'm going to ask the question.
           4         A The Amelia article indicates -- or Amelio*,        4              MR. LEWIS: I thought you were --
           5     whatever it is, a Frenchman's article a couple of        5              MR. BERNICK: Do you want to make the
           6     years ago indicates that you shouldn't call diffuse      6   objection?
           7     pleural thickening unless there's blunting of the        7              MR. LEWIS: I thought you were done.
           8     angle. Okay? Well, we know clearly from our CT           8              MR. BERNICK: Go make the objection.
           9     scans that we've got an awful lot of people with         9              MR. LEWIS: No, I thought you were
          10     diffuse pleural thickening without blunted angles,      10   finished with your question.
          11     and so it's contrary to what's reported in the          11              MR. BERNICK: No.
          12     literature.                                             12              MR. LEWIS: All right. Go ahead and
          13         Q You done?                                         13   finish your question and then I'll make my objection.
          14         A Yeah, I'm done.                                   14       Q (By Mr. Bernick) So I want to know whether
          15         Q Now, I'm not -- my -- my question had nothing     15   you scientifically determined that the rate of
          16     to do with the definition adopted by Dr. Amelia.        16   reporting of severe diffuse pleural thickening at
          17     Nothing. I'm totally focused on data.                   17   Libby without blunting is higher than the data shows
          18            Have you determined scientifically that the      18   for severe diffuse pleural thickening without
          19     rate of reporting for severe diffuse pleural            19   blunting outside of Libby.
          20     thickening at Libby without blunting of the             20              MR. LEWIS: Objection. Object to the
          21     costophrenic angle is different from the data that's    21   form of the question. The question is clearly
          22     reported in the literature outside of Libby?            22   compound. It asks several questions.
          23         A Well, you know, we haven't reported it. We        23       Q (By Mr. Bernick) Go ahead.
          24     haven't had the opportunity to.                         24       A It's obvious if Amelia is reporting that
          25         Q No, but do you know that what you've seen at      25   there's no diffuse pleural thickening. You -- the

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           1    Libby is different in frequency from what has been        1   powers that be have created a definition for diffuse
           2    scientifically reported outside of Libby when it          2   pleural thickening that excludes diffuse pleural
           3    comes to blunting?                                        3   thickening unless the angle is blunted --
           4        A Yes, I do know that, but on the other hand,         4      Q Which --
           5    you're -- every time I've tried to testify about          5      A -- and I'm telling you by all our
           6    things that I reported or I've seen in Libby relative     6   measurements, we've got about half of ours with
           7    to what's going on outside, you tell me you want to       7   severe diffuse pleural thickening that don't have
           8    know if I've reported anything or seen scientific         8   blunting.
           9    data, and what I'm telling you is these are my own        9      Q I understand.
          10    observations.                                            10      A That's the answer to the question.
          11        Q Yeah, but we're -- we're -- we're                  11      Q No, it's not.
          12    communicating kind of, but not completely here. I        12      A There's no other answer.
          13    just want to be totally clear, so that there's no        13      Q No, because all you've told me about is the
          14    confusion.                                               14   authorities on high and a definition in the Amelia
          15           You've got data that you have at Libby. I've      15   paper. There are many papers that have been reported
          16    tried to unpack the data that you have at Libby.         16   that have been published on diffuse pleural
          17    Some of it we've got, some of it we don't have, but      17   thickening that have not required blunting of the
          18    we've had the opportunity to find out about some of      18   costophrenic angle to include people in their
          19    it today, so I understand Libby.                         19   reports. That was a later development that took
          20           I'm asking now about whether you know that        20   place.
          21    the experience in Libby is, in fact, different from      21         McCloud took place before that development.
          22    the experience outside of Libby, and in order to find    22   Sargent* took place before that development. There
          23    out about that, I'm asking about how your Libby data     23   are a whole series of papers that were written before
          24    compares to data reported in the scientific              24   people incorporated into the definition blunting of
          25    literature outside of Libby.                             25   the costophrenic angle.

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           1           So what I want to know is: Can you -- do you        1   Libby, do you know that that is -- do you know
           2     have scientific data on the basis of which you could      2   scientifically that that is unique to Libby?
           3     say the rate at which diffuse pleural thickening has      3       A Well, you know, obviously, McCloud's report
           4     been found, severe, without blunting at Libby is          4   is chrysotile outside of Libby.
           5     different from the rate that appears in the               5       Q Outside Libby?
           6     scientific literature outside of Libby for severe         6       A Sure.
           7     diffuse pleural thickening without blunting?              7       Q And so that would be consistent, that is,
           8                 MR. LEWIS: Well, objection. That              8   what he observed outside of Libby with respect to low
           9     assumes facts not in evidence.                            9   exposure is consistent with what you observed at
          10        A Let me answer the question first. Obviously,        10   Libby with respect to low exposure, correct?
          11     the ILO said that those doctors were wrong, that that    11       A Yes.
          12     wasn't diffuse pleural thickening. It can't be           12       Q Okay. Now, when we talk about progression --
          13     diffuse pleural thickening. There's no blunting, so      13   when we talk about progression, you've got cases
          14     they were obviously wrong. Amelia's right. We're         14   involving progression that are in your report and
          15     right with -- with your plan here. No, that's --         15   it's the eighteen in tab six of Exhibit-1 to this
          16     that's clearly the answer because when they changed      16   deposition, and you've told us we've got to go back
          17     the ILO standards and said you can't have diffuse        17   and take a look at the files, and if we have, we
          18     pleural thickening without blunting, they basically      18   will, but I want to know on the basis of what test
          19     said to the guys before them, you guys were wrong.       19   you can say that the rapid progression that you've
          20        Q (By Mr. Bernick) I don't --                         20   observed at Libby for severe diffuse pleural
          21        A That's the answer to it.                            21   thickening is different from the progression that's
          22        Q Well, that may be your interpretation, but I        22   been observed outside of Libby on the basis of what
          23     want to know data.                                       23   test you say Libby is different from non-Libby.
          24        A I don't know what, if any, of that data is in       24       A The rapidity of it.
          25     any of that. I don't know what it is. I'm not very       25       Q Yeah, but measured how? I want to know what

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           1    interested in it and I don't know what the data            1   measurement you used to say that the rapidity of
           2    was --                                                     2   Libby is different from the rapidity outside of
           3       Q What about --                                         3   Libby.
           4       A -- what the percentage was. I know what               4      A Well, the literature, not only in general,
           5    McCloud's was. It was about 45 percent.                    5   but all the literature indicates it's a slow
           6       Q Right, which is comparable to what you found,         6   progressive disease and all of it's directed towards
           7    right?                                                     7   that. And this sort of phenomenon, to my knowledge,
           8       A Yeah, it is.                                          8   has not been reported in the literature.
           9       Q Okay.                                                 9      Q Have you looked to see --
          10       A But he basically was told, you're wrong,             10      A Yes.
          11    because it's -- that's not the way it works.              11      Q Have you looked --
          12       Q So at least will you agree with me that              12      A Yes.
          13    the -- that you can say that with respect to McCloud,     13      Q -- for the data on progression of severe
          14    he found a comparable rate of severe diffuse pleural      14   diffuse pleural thickening outside of Libby? Have
          15    thickening without blunting is what you found in          15   you looked for it?
          16    Libby, correct?                                           16      A Well, first off, this -- I didn't say this
          17       A Yes.                                                 17   was serve disease. I didn't say this progressed to
          18       Q And do you have any reason to believe that --        18   severe pleural thickening. That was your term.
          19    do you believe his data is wrong?                         19      Q And that's pointing to Exhibit-6 of
          20       A No, I don't believe his data is wrong. I             20   Exhibit-1 --
          21    think Amelia's data is probably wrong.                    21      A I didn't say that.
          22       Q Okay. Now, when it comes to -- when it comes         22      Q -- is that right?
          23    to exposure outside of Libby, would you say the same      23      A It's your term. You made that assumption. I
          24    thing, that is, you found severe diffuse pleural          24   just said they rapidly progressed.
          25    thickening associated with low -- low exposures at        25      Q Okay. Well, then I will -- then I will

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           1     clarify that too.                                         1   order to be able to explain, fair?
           2                 THE VIDEOGRAPHER: Counsel, we need to         2       A Well, yeah, clearly they -- they markedly
           3     switch out tapes.                                         3   increased their pleura disease associated with their
           4                 MR. BERNICK: We're almost done.               4   loss of lung function, at least all but one, and one
           5                 THE VIDEOGRAPHER: We're going off the         5   was purely interstitial.
           6     record. The time is now 3:19 p.m. This is the end         6       Q So --
           7     of disk number three in the continuing deposition of      7       A But whether or not you would say when you
           8     Alan Whitehouse.                                          8   look at them whether they'd gone from three to five
           9                    (Recess.)                                  9   millimeters or one to three or what, I can't -- I
          10                 THE VIDEOGRAPHER: We're back on the          10   can't recall how many of them actually went to what
          11     record. The time is now 3:24 p.m. This is the            11   you would call severe pleural disease.
          12     beginning of disk number four in the continuing          12       Q So you can't say on the basis of this that
          13     deposition of Dr. Alan Whitehouse.                       13   they had a rapid -- a more rapid progression. This
          14                  EXAMINATION (Continuing)                    14   is really what I'm getting at. There are two issues.
          15     BY MR. BERNICK:                                          15   The first issue is what you actually say is reflected
          16        Q So, Dr. Whitehouse, I think where we broke          16   in tab six to Exhibit-1 by way of progression.
          17     off I was asking about progression and then you          17          And what you've been able to tell us is that
          18     clarified that tab six of Exhibit-1 is not               18   there's rapid progression, but you've not been able
          19     necessarily progression to or associated with severe     19   to tell us exactly the test that you used in saying
          20     diffuse pleural thickening, fair?                        20   that there's been rapid progression in these
          21        A That's correct.                                     21   particular cases, fair?
          22        Q And so where is your data that says that            22       A You're not talking about pulmonary function
          23     severe diffuse pleural thickening shows more rapid       23   tests here, you're talking about a test like the
          24     progression in Libby than what the literature reports    24   radiographs or something?
          25     outside of Libby?                                        25       Q No, I'm -- again, this is you, not me. This

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           1        A You know, I don't think that I've actually           1   is your opinions. You've said that tab six to
           2    said exactly that. What I've said is that we have          2   Exhibit-1 reflects progression and I have asked,
           3    people that have rapidly progressed their pleural          3   well, with respect to severe diffuse pleural
           4    disease which falls into this category here. Most of       4   thickening, how does the data in tab six show a rapid
           5    these people do have fairly severe disease or at           5   progression in diffuse -- severe diffuse pleural
           6    least they did by the end of this. They had very bad       6   thickening, and you said this is not focused
           7    disease and several of them have died from their           7   specifically on that question, right?
           8    pleural disease, so I guess you can draw that              8       A That's right.
           9    inference, although I haven't made a great issue out       9       Q So I then said, well, what was the test,
          10    of that.                                                  10   how -- whatever you were doing with tab six, what was
          11          Also, some of the people in the mortality           11   your test of progression? And if you can answer
          12    study were people in my practice that I followed for      12   that, that would be great. What was your test of
          13    a while and then went ahead and got significantly         13   progression for the matters that are set forth in tab
          14    worse over, you know, a relatively short period of        14   six of Exhibit-1?
          15    time, although they were already very sick beforehand     15       A Okay. Except for case ten, where I only have
          16    and went ahead and died, so I don't know that I have      16   one set of pulmonary functions, but had a lot of
          17    any data concerning that except that I know very well     17   x-rays from before, it was a combination of both the
          18    from -- this is probably the best data I have except      18   x-ray and the pulmonary function. The x-ray had
          19    that I don't have it real collated so I could show        19   shown progression of pulmonary -- of pleural disease
          20    you all the radiographs and the pleural thickness and     20   and the pulmonary functions at the same time had
          21    things yet.                                               21   shown a decline consistent with the kind of x-ray
          22        Q So today if we focused on tab six to                22   changes, I would say.
          23    Exhibit-1, you say that these people reflect rapid        23       Q And exactly how you worked with those things
          24    progression, but exactly how and -- how they do that      24   in each of these cases, we'd have to have a file in
          25    is something that you would need the patient files in     25   order to explore that with you, fair?

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           1         A Yeah.                                               1   progression over decades or progression with small
           2         Q Okay.                                               2   amounts, but not to this degree.
           3         A If you have the file, I'll be happy to              3       Q Okay. Well, then, you tell me how -- exactly
           4     discuss it with you.                                      4   how -- not just, you know, generally, but you tell me
           5         Q Okay.                                               5   exactly how the progression that you've observed is
           6         A This is very clear cut when you look at the         6   reflected in tab six is different from the
           7     x-rays and the chart.                                     7   progression of severe diffuse pleural thickening in
           8         Q But you can't articulate it verbally as we          8   specific data in the literature. I want to know the
           9     sit here?                                                 9   data in the literature which you're pointing to that
          10         A Exactly for each one, no, I can't.                 10   says you say scientifically is different from the
          11         Q Okay.                                              11   data that you have in Libby. I want to know that
          12         A I mean, I can for some of them, if you'd like      12   precisely. That's what I'm getting at.
          13     me to.                                                   13               MR. LEWIS: Objection. Compound
          14         Q No, I want to -- I'd like a rule or a test.        14   question.
          15           I mean, was there any one test or rule or was      15       Q (By Mr. Bernick) So my question to you is:
          16     this a matter of different factors for different         16   What precisely is the difference between the data
          17     people?                                                  17   that you report in here at tab six and the data that
          18         A Well, there was sometimes different factors        18   you see reported in the external literature, and what
          19     and the paper will reflect the various different         19   literature are you referring to?
          20     factors that went into that.                             20               MR. LEWIS: Objection. Compound
          21         Q And that's the paper that you have in draft        21   question.
          22     form?                                                    22       A The -- the extent of the loss rates in this
          23         A That's the paper that I've got in a draft,         23   is much higher. I mean, the loss rates that you see
          24     but I haven't -- it isn't anywhere near ready for        24   in the literature is going to be one or two percent.
          25     publication.                                             25   The highest one I've seen is about two percent in the

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           1        Q But to be clear, you're not -- you can't say         1   DLCO from Australia per year. Okay? These are --
           2    scientifically that the progression that you've            2   you know, we're looking at 10, 15, 20 percent per
           3    observed in tab six is different from what is              3   year in these people.
           4    reported scientifically in the literature for              4       Q (By Mr. Bernick) Okay.
           5    progression of severe diffuse pleural thickening in        5       A But those -- those studies do not have any
           6    the scientific literature, can you?                        6   real radiography that goes along with them and I've
           7        A I think it actually is. I think this has not         7   looked at a number of these and there isn't anything
           8    been reported.                                             8   that comes comparatively close to this.
           9        Q Well, but this data has not been reported,           9       Q These -- these are a total of 22 people or
          10    tab six?                                                  10   thereabouts?
          11        A No, no, this phenomenon has not been                11       A Yeah, thereabouts. It's going to get
          12    reported.                                                 12   whittled down some, but --
          13        Q But you can't -- I mean, have you actually          13       Q How did you pick them?
          14    investigated the scientific --                            14       A Oh, just these were people that I saw that --
          15        A Yeah.                                               15   you know, I saw in the clinic or Brad had seen in the
          16        Q -- literature --                                    16   clinic and, you know, they came in because they were
          17        A Yeah, we have.                                      17   getting more short of breath and looked at things
          18        Q -- to look for progression in the scientific        18   sequentially and their x-rays and all and, indeed,
          19    literature?                                               19   had a good reason for it.
          20        A Oh, yeah. Looked at lots of progression             20       Q Yeah, but this is a very small subgroup of
          21    articles in the scientific literature and                 21   your patients, correct?
          22    particularly related to amphiboles which, of course,      22       A Oh, it is a small -- no, no, I didn't say it
          23    this is.                                                  23   happens to everybody by any means. I'm -- there's
          24        Q Okay. So --                                         24   going to be more of them and this took a couple of
          25        A And have not -- I've discovered slow gradual        25   years to collect this.

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           1        Q But -- but did you pick them out -- did you        1   progressive disease. Now, that's not to say that
           2     pick them out -- well, strike that.                     2   they don't have some and they haven't published it.
           3            Progression is something that you can look       3   I have no idea.
           4     for throughout your patient population, right?          4      Q Well, but that's the whole point is that if
           5        A Sure.                                              5   you had done a study that included not just the most
           6        Q And if we looked for progression for people        6   significant or pronounced cases at Libby, but the
           7     who have a non-malignant disease in your whole          7   broader population, that would then be comparable to
           8     patient population and we gathered all the data,        8   studies outside of Libby working with larger
           9     would we see a pattern of progression that's            9   populations, right?
          10     different from what we see in the literature?          10      A No, because I think that anybody that was
          11        A Probably. With other diseases, you mean?          11   dealing with this on a regular basis that wrote
          12        Q With other non-malignant diseases. Your           12   papers or was in a research facility or whatever it
          13     non-malignant disease population at Libby.             13   is would take note of this and write this up --
          14        A Sure.                                             14      Q I didn't -- Dr. Whitehouse --
          15        Q If we took a non-malignant disease population     15      A -- in a separate paper, not as --
          16     outside of Libby and we said how have they             16      Q That is -- that's a what or a would or a
          17     progressed, Libby, non-Libby, would you see an         17   maybe. I just really want to know what we know.
          18     overall pattern of progression in Libby that is        18   Okay?
          19     different from progression outside of Libby?           19      A Well, it's no more of a would or a maybe than
          20        A Well, to my knowledge this is not described       20   what you said.
          21     in -- outside Libby either. There are diseases that    21      Q No, not at all. I'm asking for a fact.
          22     progress rapidly that are non-malignant. Emphysema     22          If you take -- if you want to make a
          23     can do that. Emphysema will progress --                23   comparison of Libby, non-Libby, you have to have
          24        Q Well --                                           24   studies that are comparable in scope, right?
          25        A -- quite rapidly.                                 25      A Mm-hm. (Answers affirmatively.)

                                                             Page 287                                                       Page 289
           1       Q I'm -- you picked out 18 cases or 22 cases,         1       Q I'm sorry?
           2    right?                                                   2       A Yes.
           3       A Well, they sort of picked themselves out.           3       Q Okay. And so if you have a study inside of
           4       Q Right, but they are -- they are a very small        4   Libby that's a large population of people with
           5    subgroup of the total population of people that          5   non-malignant disease and you want -- and you ask
           6    you've seen with non-malignant disease at Libby,         6   what's progression like and you record the result, if
           7    right?                                                   7   you want to know whether the same thing is true
           8       A That's true.                                        8   outside of Libby, you'd have to have a study that
           9       Q And, indeed, they are the ones who are              9   picks out a large population and the study is done in
          10    probably most dramatic and pronounced when it comes     10   the same way, right, apples and apples?
          11    to progression, correct?                                11       A Yeah.
          12       A That's correct.                                    12       Q Okay. Here you have a study in Libby and
          13       Q Now, if you go to the populations outside of       13   it's not a big group, it's a small group, and it was
          14    Libby where you say the progression has been slower,    14   a group that was picked precisely because they picked
          15    are they these very select populations like yours       15   themselves, in your own words, the rapid progression.
          16    here, 18, 22 people selected or are they larger         16   If you want to know whether that's unique to Libby,
          17    groups of people?                                       17   you'd have to look for a comparable study outside of
          18       A Well, you know, this is a selection of 22 out      18   Libby, right?
          19    of the whole clinic population. The studies that        19       A Right, nobody's published it.
          20    I've seen, particularly from Australia which I read     20       Q And so -- but it's not that you know it's
          21    on a fairly regular basis because there are many        21   unique to Libby, it's that you haven't seen a study
          22    similar problems that they have, they have very large   22   like this outside of Libby, correct?
          23    case studies here and most of their studies -- not      23       A Yeah, but, you know, I don't have x-ray
          24    most of them, all the studies that I've seen out of     24   vision to know whether they actually have it and
          25    there related to progression relate to slowly           25   haven't published it, so if they haven't published

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                                                               Page 290                                                      Page 292
           1     it, the likelihood is that they haven't seen it.          1      A No, I didn't. I just took all-comers.
           2         Q Well, but that is -- that is an inference on        2      Q All-comers?
           3     your part. All you know is that you have a highly         3      A When they had their second pulmonary function
           4     select group of people where you've made this             4   and everybody got a second pulmonary function, so
           5     observation at Libby and you're not aware of a            5   there was no bias in selection.
           6     comparable study outside of Libby, fair?                  6      Q Okay. So the 2004 progression study that you
           7         A That's true.                                        7   did was an all-comers, no selection, no bias study,
           8         Q Okay. Now, if we talk about -- for a moment         8   correct?
           9     about a comparable group within Libby, that is, if        9      A Right.
          10     you were looking for a larger group at Libby to          10      Q And that's comparable apples and apples with
          11     compare it to the larger groups outside of Libby, you    11   large group studies outside of Libby that you've
          12     said that the larger groups outside of Libby with        12   looked at and found the slow progression, correct?
          13     non-malignant disease reflect gradual loss, fair?        13      A Yes.
          14         A Generally.                                         14      Q Whereas, this -- this paper that's not yet
          15         Q Okay. There are studies that have been done        15   published is not an all-comers paper, it's a select
          16     of larger groups of people at Libby, correct?            16   group?
          17         A At Libby, you said?                                17      A It is a select group. Perfectly willing to
          18         Q At Libby.                                          18   admit that.
          19         A They haven't -- not on loss of pulmonary           19      Q Okay. And that's what's reflected in tab six
          20     function.                                                20   to Exhibit-1, correct?
          21         Q Sure, your progression study.                      21      A Mm-hm, yes.
          22         A Oh, my study, yeah.                                22      Q Now, if we take a look at your 2004 paper,
          23         Q Okay. So if they took a look at your study         23   you had the all-comers group, but you only looked at
          24     that you published in 2004, that's a study of a          24   two data points, correct?
          25     larger group of people, correct?                         25      A That's true.

                                                               Page 291                                                      Page 293
           1       A Mm-hm. (Answers affirmatively.)                       1       Q And, in fact, if we look at that all-comers
           2       Q I'm sorry?                                            2   group, it turns out that many of them had many more
           3       A Yes.                                                  3   data points, correct?
           4       Q And that would be a good place to go if you           4       A I took the first one that I had and the last
           5    wanted to see is the experience at Libby different         5   one that I had when I was doing the study and they
           6    from the experience outside of Libby because that's        6   had more data points later on. No question they had
           7    the study that's working with a larger group of            7   more data points. There were also some people that
           8    people just like the larger group of people outside        8   got into a study with Enbrel* and that -- I did not
           9    of Libby, correct?                                         9   take them because of that.
          10       A That's exactly what it showed, that it was           10       Q Didn't ask you that question with all due
          11    higher than the --                                        11   respect, Dr. Whitehouse.
          12       Q We'll get to what it showed. Just answer the         12               MR. LEWIS: Doctor, just try to answer
          13    question.                                                 13   the questions that counsel is asking you. Okay?
          14       A -- prior published studies.                          14               THE WITNESS: I thought I was.
          15       Q Please just answer the question.                     15       Q (By Mr. Bernick) I know. That's okay, but
          16          Is the study that you did in 2004 on a larger       16   let's just keep on going ahead.
          17    group of people a good place to go for an apples and      17          The 2004 study, you used only two data points
          18    apples comparison with studies of progression in          18   with respect to each of the individuals in that
          19    large groups of people outside of Libby?                  19   study, correct?
          20       A Yes, probably.                                       20       A Yeah.
          21       Q Okay. Now, when you did the study in 2004,           21       Q And isn't it true that there were many more
          22    you picked out people and you looked for progression,     22   data points that were available to be used in that
          23    correct?                                                  23   study beyond those two data points?
          24       A No.                                                  24       A No, because I cut it off at a certain point,
          25       Q How did you pick out --                              25   put the data together and ignored everything that

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           1    went on afterwards. That wasn't germane to the           1      A You could examine data up until the present
           2    study. It was the first and last.                        2   time. You could continue to examine data.
           3        Q Will you agree with me that with respect to        3      Q Sure.
           4    all those people, there were many other data points      4      A But there's no point.
           5    that were available, it was your decision not to use     5      Q Okay. But you haven't done that examination
           6    them?                                                    6   of data?
           7        A No, they weren't available when I wrote the        7      A No, and I don't intend to.
           8    paper.                                                   8      Q Have you ever done a progression study with
           9        Q Oh.                                                9   respect to non-malignant disease in all 950 --
          10        A That's what I said.                               10      A No.
          11        Q They weren't available when you wrote the         11      Q -- of the people that you've looked at?
          12    paper?                                                  12      A No.
          13        A Because they hadn't been done yet.                13      Q There's no reason you couldn't do it,
          14        Q Oh, they hadn't been done yet, okay.              14   correct?
          15           So now if we took a look at these people who     15      A No, and it will be done.
          16    were in the 123 study -- 123 study in 2004, that same   16      Q Let's talk about progression to death. That
          17    population, and we looked to all of the data that's     17   was the other thing that you said was distinctive in
          18    available on their progression, have you done that      18   connection with the Libby population.
          19    analysis?                                               19         Are you aware of any comparable study that's
          20        A I have not.                                       20   been done of progression outside of Libby?
          21        Q Isn't it a fact that if we looked to the          21      A Progression in general?
          22    other data points with respect to the people in your    22      Q No. You say that the Libby experience with
          23    2004 study, we'd find dramatically different            23   non-malignant disease, severe -- I'm all focused on
          24    progression numbers from which you put in the paper?    24   severe diffuse pleural thickening -- is different
          25        A I do not know that at all. I doubt that           25   because of the rate of the frequency of progression

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           1    seriously.                                               1   to death. Do you remember that?
           2        Q Would that be an important thing to do to          2      A Yes.
           3    find out the truth of what happened with those           3      Q Okay. And I'm just asking whether you've
           4    people, to look at all the data rather than just two     4   actually looked for comparable data outside of Libby
           5    points?                                                  5   to know whether it really is unique to Libby. Have
           6        A Well, it'll be a little bit hard to do             6   you done that?
           7    because about 40 of them have died already. Between      7      A For progression of death, no.
           8    35 and 40.                                               8      Q Okay. Now, in progression to death in the
           9        Q Not at all.                                        9   case of the Libby data that you have, my
          10        A What?                                             10   understanding -- and I want to get a little bit into
          11        Q No, because even with respect to those            11   this and I've got one more -- a few set of questions
          12    people, you'd have more data before they died.          12   and then I'm done, get out of here, take an airplane.
          13        A You know, there isn't any point to doing          13   Okay?
          14    that.                                                   14         So in the case of Libby, as I understand it
          15        Q Why?                                              15   with respect to the CARD mortality study, you had a
          16        A The study was done honestly. It was done --       16   patient population of people who had died and you
          17        Q I'm not --                                        17   performed this analysis to determine the
          18        A -- looking clearly at those studies and --        18   circumstances leading to their death and we got down
          19        Q There's no dispute about that.                    19   to a subgroup of about 76 people who you say had
          20        A Okay.                                             20   non-malignant respiratory disease and they progressed
          21        Q I'm not saying there was -- I'm not saying        21   and they died, right?
          22    anything else. I'm saying if you wanted to know more    22      A Yes.
          23    of the truth of what happened to the people in your     23      Q And that's what you rely upon as your source
          24    all-comers study in 2004, there's more data that        24   of information to say that the people in Libby with
          25    could be examined, correct?                             25   non-malignant respiratory disease progressed to death

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           1    with greater frequency than would be the case outside     1   analysis?
           2    of Libby, correct?                                        2       A Not that I'm aware of.
           3       A Correct.                                             3       Q Okay. Now, in connection with your own best
           4       Q Okay. Now, as part of that exercise, you             4   available information analysis that was done in
           5    looked at the death certificates, right?                  5   connection with the CARD mortality study, was there a
           6       A Yes.                                                 6   written protocol?
           7       Q But you also had this procedure called best          7       A No.
           8    available information, right?                             8       Q Dr. Frank said that in the Selikoff work, he
           9       A Yes.                                                 9   said that there was a death certificate available for
          10       Q And this best available information procedure       10   all of the people who were involved in Selikoff's
          11    that you applied, you felt, had precedence in            11   mortality study. Was that your understanding?
          12    Selikoff's own work, correct?                            12       A Yes, it is.
          13       A Had precedence?                                     13       Q And he explained to us that a death
          14       Q Yes.                                                14   certificate will have two sources -- two pieces of
          15       A It was sort of an additive more than a              15   information about the cause of death. One is the
          16    precedence.                                              16   immediate -- temporally immediate cause of death and
          17       Q Well, but, see, that you felt there was a           17   the other is the cause of death, that is, an
          18    precedent for what you're --                             18   assessment about what the real cause of death was.
          19       A Oh, I see.                                          19   Is that your understanding of how death certificates
          20       Q -- doing.                                           20   are supposed to be filled out?
          21       A I see what you're talking about. I'm sorry.         21       A That's how they're supposed to be filled out,
          22       Q Yeah. There's precedent for what you were           22   but that's probably the biggest failure of physicians
          23    doing in Selikoff's work, correct?                       23   is filling out death certificates.
          24       A Yeah, I think so. As best I can tell, we try        24       Q Right.
          25    to replicate that.                                       25            And he also said that when Selikoff did the

                                                              Page 299                                                       Page 301
           1        Q Okay. And Selikoff's work, you also got             1   best available information assessment that the
           2    information on what Selikoff had done and his best        2   criteria or what was being looked for didn't change.
           3    available information analysis, you had information       3   They were looking for the best or the cause of death,
           4    from Dr. Frank, right?                                    4   what the real cause of death was, not the condition
           5        A Yes.                                                5   immediately preceding death, but the real cause of
           6        Q Okay. Now, Dr. Frank told us that                   6   death. Is that your understanding of --
           7    Dr. Selikoff did this best available information work     7       A Yes.
           8    and he said that there was no written protocol for        8       Q -- how Selikoff did his BAI or best available
           9    it. Is that consistent with your understanding?           9   information analysis?
          10        A I think so, although I know they did use sort      10       A Mm-hm. (Answers affirmatively.)
          11    of a protocol as to what they did. When you read the     11       Q I'm sorry?
          12    paper, they sort of tell you how they went about         12       A Yes, I agree.
          13    doing it. Whether that's a protocol or not, I don't      13       Q Okay. Now, when it came time for doing the
          14    know.                                                    14   best available information assessment in the case of
          15        Q But are you aware of any written protocol          15   your work on the mortality -- the CARD mortality
          16    that was actually used by Dr. Selikoff in his work on    16   data, it's true, is it not, that you determined what
          17    best available information?                              17   the -- in the sense, the cause that you were looking
          18        A No.                                                18   for should be, that is, you determined whether you
          19        Q Okay. Are you aware of any other -- are you        19   were going to look for a substantial contributing
          20    aware of any protocol that exists in the field of        20   factor to death or the cause of death, that was your
          21    scientific research for mortality studies that is a      21   decision?
          22    best available information protocol? In other words,     22       A It was looked -- both of those were looked
          23    can we look anywhere and find in the literature on       23   at.
          24    mortality studies a protocol or an established           24       Q I'm sorry?
          25    methodology for doing a best available information       25       A Both of those were looked at.

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           1       Q When it came to defining what to look for in          1       A Correct.
           2    the CARD mortality data regarding cause of death, the      2       Q What was the test they satisfied, that is,
           3    test that was to be applied was your decision, right?      3   are the people on Exhibit-15 people with respect to
           4       A Yes.                                                  4   whom asbestos-related illness was a substantial
           5       Q Okay. And you've told us that two different           5   contributing factor to death, a major causative
           6    tests were used. In the first analysis, the test for       6   factor for death, the cause -- the cause of death?
           7    determining the cause -- for determining cause of          7   What was the test that was used in putting people in
           8    death in the mortality data, the test was, was             8   the group of 79 that's in Exhibit-15?
           9    asbestos a substantial contributing factor, or words       9       A I already answered that. It was the last
          10    to that effect, correct?                                  10   two.
          11       A Correct.                                             11       Q The last two?
          12       Q And on the basis of that, you gathered               12       A It was either directly asbestosis or it was
          13    information regarding these 79 people who had             13   the asbestosis was so severe that they had something
          14    non-malignant disease and died, right?                    14   like a pneumonia so that the cause of death may have
          15       A Right.                                               15   been pneumonia because a lot of those underlying --
          16       Q And then you changed the test in the second          16   and it said asbestosis or if it -- you know, the
          17    go-round and what was the test in the second              17   death certificate said something like COPD, which it
          18    go-round?                                                 18   did several times, we went and looked through the
          19       A Best available information.                          19   whole chart and found out that they had severe
          20       Q Best available information regarding what?           20   asbestosis, they didn't even have COPD, and that's
          21    Whether asbestos was a contributing cause or was it       21   been a common problem in Libby for years and years.
          22    whether the asbestos related to disease was the cause     22       Q But -- but my question --
          23    of death?                                                 23       A So it was -- it was a direct result of the
          24       A Yeah, what we did was -- there were a lot of         24   asbestosis or we wouldn't have coded it that way.
          25    people that had -- or not a lot, but there were           25       Q Well, that's really what I'm getting at.

                                                               Page 303                                                       Page 305
           1    people that had a contributing cause where they            1          On the death certificate, it's supposed to
           2    had -- we knew they had significant asbestosis, but        2   be -- we heard from Dr. Frank it's supposed to be the
           3    when we really came right down to it in the nitty          3   cause of death, right?
           4    gritty, we couldn't be sure if they wouldn't have          4      A Yes.
           5    died of their disease of whatever they had at that         5      Q Did you apply that test and that test only --
           6    point, whether it was asbestosis or whatever it was.       6      A No.
           7           To use asbestosis as a piece of information,        7      Q -- in deciding -- so just let me finish my
           8    that it was a major causative factor in their death,       8   question.
           9    we had to look at the severity of their disease, how       9          Did you apply that test and that test only,
          10    it was affecting them at the time, what happened to       10   that is, the cause of death including people on
          11    them as the terminal event, and whether it could be       11   Exhibit-15 that is within your 79 group or was there
          12    related either directly to the asbestosis or if the       12   some other test as well?
          13    terminal event was such that they couldn't survive it     13      A No, ultimately, it wasn't the death
          14    because of their asbestosis.                              14   certificate because the death certificates were so
          15        Q Okay. So let's get this to the bottom line.         15   frequently wrong.
          16           The people that you rely upon for your             16      Q I'm not talking about death certificates.
          17    opinions regarding progression to death for               17      A It was reviewing the entire chart.
          18    non-malignant disease are the people that are listed      18      Q I know.
          19    in Exhibit-15, it's those people there, the 79            19      A Well, then I don't get your question.
          20    people, right?                                            20      Q Okay. That's fine.
          21        A Right.                                              21          I know that you could either go with the
          22        Q And those 79 people are people who satisfied        22   death certificate or go with more information or go
          23    the best -- the BAI test, the best available              23   with both. I know that. But, ultimately, the
          24    information test with respect to non-malignant            24   information that you're gathering has to be judged
          25    asbestos disease, correct?                                25   according to some test, and we know that the test

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                                                             Page 306                                                       Page 308
           1    that's supposed to be used for filling out a death       1   information.
           2    certificate is the test of, well, what was the cause     2        Q That's information?
           3    of death, and Dr. Frank has told us that and I think     3        A Mm-hm. (Answers affirmatively.)
           4    you've agreed, right?                                    4        Q But if I want to know with respect to anybody
           5       A Yeah.                                               5   who is on Exhibit-15, that is, for whom you're
           6       Q And Dr. Frank says when Selikoff did his BAI        6   relying for your idea of progression to death, is
           7    work, he looked for more information that was on the     7   there any way that I can determine how you decided
           8    death certificate, but the test was still the same,      8   what the cause of death was for any of those people?
           9    that is, what was the cause of death, so I'm now         9        A Probably not because it -- after I've gone
          10    asking in the case of your work with the CARD           10   through all the things I need to go through, then I
          11    mortality data and including people in your group of    11   fill out on my computer whether it was related to
          12    79 people who are people where you say their death      12   asbestos or whether it was not related to the
          13    was in some fashion related to non-malignant disease.   13   contributing cause.
          14    I'm asking for what tests you used.                     14        Q So there's no place that even today --
          15           Was it the test of, what's the cause of          15        A There's no written record that will help in
          16    death? Was it, was asbestos-related illness a           16   that.
          17    substantial contributing factor? Was it, the            17        Q Now, my last question and I am done -- just
          18    asbestos-related illness was a major -- which test      18   in time -- relates to going from your group of 79
          19    did you use?                                            19   people.
          20       A Same way you described for Selikoff, took the      20          You've told us that the 79 people who are
          21    death certificate regardless of what the death          21   listed in Exhibit-15 are the source of information
          22    certificate said, reviewed the chart, and found out     22   regarding how people with severe diffuse pleural
          23    whether or not that was -- if it said asbestosis, was   23   thickening present differently you think from people
          24    that legitimate, really was asbestosis and              24   with the same disease outside of Libby, and we've
          25    respiratory failure or was it a pneumonia but           25   gone through that now in all the different areas of

                                                             Page 307                                                       Page 309
           1    asbestosis was the underlying cause. Was it cor          1   difference, thickness of pleura tissue, occupational
           2    pulmonale, but asbestosis was a cause of cor             2   history or exposure history, blunting, and
           3    pulmonale.                                               3   progression, right?
           4       Q So --                                               4      A Right.
           5       A We were looking for direct cause.                   5      Q Okay. Now, you offered the view that you
           6       Q You were looking for direct cause, that is,         6   could use the information that you have about the 79
           7    the same way a death certificate should be filled        7   people from the CARD mortality study and extrapolate
           8    out?                                                     8   to the 950 or, thereabouts, people who have made
           9       A Yeah, the way it should have been filled out        9   claims in this case, right?
          10    in the first place, yes.                                10      A Correct.
          11       Q Okay. And that's how you included people in        11      Q Okay. And I take it then that you're not
          12    your --                                                 12   going to be relying upon the remaining 850 people for
          13       A Yes.                                               13   any of your opinions in this case; is that right?
          14       Q -- group of 79; is that right?                     14      A No, there's no way I would be able to in --
          15       A Yes.                                               15              MR. LEWIS: No, I think that was
          16       Q Now, is there anything -- any place that we        16   confusing. I don't mean to interfere.
          17    can go to see how you made that judgment for any of     17              MR. BERNICK: I'll --
          18    the people who are on your list of 79, that is,         18              MR. LEWIS: You're talking about -- are
          19    Exhibit-15? Is there any place where we can go to       19   you talking about opinions relating to the
          20    find out how you made the judgment about the cause of   20   progression?
          21    death?                                                  21              MR. BERNICK: I'll be very clear.
          22       A No, except to go to the chart and you've got       22              MR. LEWIS: Okay. Because it's --
          23    other places. You know, I talked to doctors about it    23              MR. BERNICK: I'll be very clear.
          24    and talked to the family physician as to what           24              MR. LEWIS: All right.
          25    happened, all kinds of things like that to get the      25      Q (By Mr. Bernick) We know that there's a

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           1     motion that's been -- are you familiar there's a          1   pleural disease, et cetera, et cetera.
           2     motion that's been filed in this case?                    2               MR. LEWIS: Exhibit-15 and -16, is that
           3        A Only one, I understand.                              3   what you're --
           4        Q Okay. A motion that's been filed in this             4               MR. BERNICK: No.
           5     case to strike testimony that's based on the 1,800        5               THE WITNESS: No, no.
           6     because we don't have the 850 files. Are you              6               MR. BERNICK: It was the diagram.
           7     familiar with that?                                       7               THE WITNESS: It was the one that Joel
           8        A Yeah, I'm familiar with it.                          8   did that --
           9        Q I'm sorry?                                           9      Q (By Mr. Bernick) Well, let me just be clear.
          10        A Yes, I am.                                          10      A Okay.
          11        Q And who told you about that?                        11      Q If I go to your expert report, I cannot
          12        A The lawyers.                                        12   find -- let me begin even more basically.
          13        Q And what did they tell you about it?                13         The 950 people, you've not performed a study
          14        A That I might not have to go back east.              14   on the entirety of the 950 people, correct?
          15        Q That's pretty --                                    15      A That's correct.
          16        A They were helping me plan my summer.                16      Q You've not published a paper on the 950
          17        Q And you understand, therefore, the problem          17   people, correct?
          18     that's been identified or has been alleged in the        18      A That's correct.
          19     motion is that the people in this case don't have the    19      Q You've not issued an expert report on -- that
          20     records for the 850 people. Do you understand that?      20   presents the data of all the 950 people, correct?
          21        A That's what I've heard, yeah.                       21      A No.
          22        Q And so, basically, is it correct that what          22      Q I'm sorry. Is that correct?
          23     you're saying now is that you believe you can offer      23      A That's correct.
          24     the opinions that you have to offer in this case         24      Q Now, you have said though that you believe
          25     without having to rely upon the full 1,800, rather       25   you can extrapolate from the experience with the

                                                               Page 311                                                      Page 313
           1    you can express your views simply confined to the 950      1   subgroup of the 950 to the 950, right?
           2    people?                                                    2       A That's correct.
           3       A Yeah, I think so for a number of reasons.             3       Q Okay. Now, have you presented an expert
           4       Q Oh, I didn't ask you reasons.                         4   report on that subject?
           5       A Oh, you don't want me to answer that?                 5       A I think it's somewhere in there, but I'm not
           6       Q That's what you're doing and that's --                6   sure where.
           7       A That's basically what I'm doing, yes.                 7       Q Not somebody -- have you actually presented a
           8       Q Okay. And that's basically, fair enough, a            8   formal extrapolation from a subgroup of the 950 to
           9    response to this issue that's been raised?                 9   the 950? I haven't seen it anywhere, but if it
          10       A I guess, you know.                                   10   exists in your report, I'd like to know about it.
          11       Q Okay. Now, in order to get opinions about            11       A I thought there is some -- there's reference
          12    the 950, you don't have analyses of all the 950           12   to it in there somewhere, but I don't know where it
          13    people, correct?                                          13   is exactly. I can find it if you want me to or try
          14       A Not entirely. I do have some analyses                14   to.
          15    that -- I have one in particular that's of help.          15       Q What is -- just tell me, what's the subgroup
          16       Q Well, has it been made available to us?              16   that you're extrapolating from?
          17       A Yeah, it's on the sheet somewhere. I don't           17       A Okay. The -- there's two parts to this.
          18    know where it is, but somewhere it is -- and I can        18   First off is that all 950 of those that have
          19    relate it to you right now if you want to, how we --      19   lawsuits, all sort of -- all filed them before the
          20    how I arrived basically at some notions concerning        20   bankruptcy or shortly -- or around the time of the
          21    that 930 to 950, whatever it is.                          21   bankruptcy or the vast majority of them did. They
          22       Q Hang on for a second.                                22   were all filed somewhere early in this century.
          23          If I have it -- and I don't want something --       23       Q Let's just stop there.
          24       A It's probably on that sheet that you had that        24          Where is that data set out? I'm not aware of
          25    had all the numbers on it of how many people had          25   the 950 broken down into people who filed before and

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           1     after the bankruptcy.                                   1   want to offer an opinion, and you believe that they
           2        A Well, no. Well, almost all of them filed           2   fall into -- they show a similar breakdown,
           3     beforehand and I do know that to be a fact.             3   community, worker, family, but we don't have that
           4        Q And I've not seen that. Do we have the             4   breakdown here today, fair?
           5     analysis?                                               5       A That's fair.
           6        A No, you don't have an analysis of that.            6       Q Okay. Go ahead.
           7        Q Okay. Next step.                                   7       A And based upon that, the probability that the
           8        A The second point is that the breakdown on the      8   statistics in the mortality study will follow through
           9     mortality study was 33 percent for miners. The          9   on the 950 --
          10     remainder -- it was basically almost a third, a        10       Q Okay.
          11     third, a third.                                        11       A -- of what we know about the disease and then
          12        Q You say the mortality study --                    12   we'll see a similar -- similar death rate,
          13        A Yeah.                                             13   ultimately.
          14        Q When you say the mortality study --               14       Q Okay. And that's your extrapolation?
          15        A You extrapolate that --                           15       A That's the extrapolation.
          16        Q Hang on.                                          16       Q Now, is that extrapolation set out in writing
          17        A You --                                            17   anywhere that we can look at?
          18        Q No, no, no. I just want to get it piece by        18       A I think it is, but I don't know where it is,
          19     piece.                                                 19   whether it's in my report or whether it's in the
          20            The breakdown that you say of the mortality     20   data. I think it's in the data that was submitted to
          21     study, who in the mortality study, the 79?             21   you.
          22        A The 79.                                           22       Q Is there any report that explains for us the
          23        Q The 79?                                           23   scientific basis for believing that that
          24        A The 79.                                           24   extrapolation is sound?
          25        Q So if we go to the 79 people, there's a           25       A I doubt there's any specific report, no.

                                                             Page 315                                                       Page 317
           1    breakdown between who was a worker and who was a 1               Q Okay. Now, I want to then, finally, focus on
           2    family member and who was community?                2        epidemiology. Okay?
           3       A Right.                                         3               Is it correct there's no epidemiological
           4       Q Okay. And that's indicated in Exhibit-15,      4        analysis that's been done on the CARD patient
           5    right?                                              5        population? Is that true?
           6       A That's Exhibit- -- yeah, somewhere in there.   6            A Well, yes, there has been because the ATSDR
           7       Q Okay.                                          7        and NASA and all that have followed through and
           8       A And then if you look at the 950 claimants,     8        gotten their exposure histories and haven't published
           9    the breakdown is almost identical. I mean, it's     9        it yet.
          10    within a couple of percentage points.              10            Q Well, I'm talking about -- I'm talking about
          11       Q Where do we see -- where is that done?        11        something I can get ahold of, something that's
          12       A Oh, the lawyers have done it.                 12        available to us.
          13       Q Do I have --                                  13               Is there any available epidemiology on the
          14       A I don't know.                                 14        people at the CARD clinic?
          15       Q Do I have present in some fashion to us here  15            A You know, there's some stuff that just came
          16    in the case the breakout of the 950 by community   16        out recently. There are several things actually you
          17    exposure, family exposures, and worker exposure?   17        might want to -- one is -- there was a pilot study
          18       A I think you do, but I don't know where it is. 18        that was done in 2000.
          19    I mean, they would have given it to you.           19            Q Pilot study? Is that an epidemiologic study?
          20       Q But you don't have it here today?             20        That's a pilot study.
          21       A I do not have it here today.                  21            A Oh, that probably does not qualify, you're
          22       Q So you have the 79 people that we have broken 22        right.
          23    out by community, family, worker?                  23            Q As of the criminal trial which took place a
          24       A Mm-hm. (Answers affirmatively.)               24        few weeks ago --
          25       Q You have the 950 with respect to whom you     25            A I think there's some stuff that's come out

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           1    recently, but I -- I honestly don't know what's           1      Q Okay.
           2    available.                                                2      A -- except for what you have here.
           3       Q Today, can you point to any epidemiological          3      Q Well, but there is no epidemiology that you
           4    study that's been done on the CARD patient                4   presented here on the CARD Clinic, correct?
           5    population?                                               5      A Well, the mortality study is an epidemiologic
           6       A No, except for the one that I've done on the         6   study, sure.
           7    pulmonary functions which is (inaudible)                  7      Q The CARD study?
           8    epidemiologic study. I guess in a sense the Sullivan      8      A No, the mortality study.
           9    study was an epidemiologic study.                         9      Q The mortality study is an epidemiologic
          10       Q That's on ATSDR?                                    10   study?
          11       A And Peipins was certainly an epidemiologic          11      A Sure. Sure, it is.
          12    study. Those are the three that I'm most familiar        12      Q Just what you have in your little expert
          13    with.                                                    13   reports is an epidemiological study?
          14       Q Well, the Peipins study was on the ATSDR            14      A No, this whole thing here becomes an
          15    population, right?                                       15   epidemiologic study.
          16       A Yeah.                                               16      Q Oh, I'm sorry.
          17       Q And we've already -- we already know that, at       17         So you've now said that Exhibit-15, the list
          18    least Judge Malloy* didn't feel it was an                18   of 79 people, is an epidemiological study?
          19    epidemiological study, correct?                          19      A Yeah, it's a descriptive epidemiologic study.
          20       A He -- he said it wasn't.                            20      Q It's --
          21       Q Yeah, that's his --                                 21      A It describes -- it describes in a patient
          22       A Well, he's wrong.                                   22   population certain parameters. That becomes
          23       Q Well, he may be right or wrong, but with            23   epidemiology.
          24    respect to the CARD patient population, you rely upon    24      Q Oh, I see. Let's talk about a controlled
          25    the CARD patient population for your opinions in this    25   epidemiologic study.

                                                              Page 319                                                       Page 321
           1    case, correct?                                            1         There's no controlled epidemiological study
           2       A That's true.                                         2   that's been done on the CARD patient population,
           3       Q And today --                                         3   correct?
           4       A Well --                                              4      A No, and there probably never will be.
           5       Q Well, we went through --                             5      Q There's no controlled epidemiological study
           6       A Let me backtrack a little bit on that one            6   that you can cite to support your opinion that the
           7    before I say yes because a lot of the data that I         7   presentation of severe diffuse pleural thickening at
           8    rely on is -- they are patients at CARD now, but a        8   Libby is different from the presentation of severe
           9    lot of it goes back way beyond when I was actually in     9   diffuse pleural thickening outside of Libby, correct?
          10    the CARD. Okay?                                          10      A No, we've already discussed that.
          11       Q I know. That's your personal knowledge and          11      Q I said -- I'm asking about controlled
          12    that's your experience, but in terms of scientific       12   epidemiological studies. There's no study --
          13    data that you're relying upon, you're relying upon       13      A No, there aren't any.
          14    scientific data from the CARD Clinic, correct?           14      Q Okay. And the same thing would be true
          15       A Yeah, and the stuff that you've seen here.          15   regarding your opinions of progression, correct?
          16       Q Right. That's all -- all the stuff I've been        16   There's no epidemiological study that you can point
          17    seeing here, when it comes to Libby, is data from the    17   to, controlled, that supports those opinions,
          18    CARD Clinic, correct?                                    18   correct?
          19       A Well, there's no place else to get it               19      A That's true.
          20    actually on these people except at the CARD Clinic.      20              MR. BERNICK: Okay. And I have no
          21       Q And today, is it true, that you can't point         21   further questions at this time. Sorry to take so
          22    to any epidemiological work study that's been done       22   much of your time today, Dr. Whitehouse, although we
          23    and available to us on the people from the CARD          23   always enjoy the debate, right?
          24    Clinic, correct?                                         24              THE WITNESS: I'm not so sure about
          25       A That's true --                                      25   that necessarily.

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                                                            Page 322                                                       Page 324
           1               MR. BERNICK: Oh, come on.                    1   various asbestos claimants?
           2          Anybody on the phone have any questions?          2       A Yes, certainly.
           3               MR. SVIRSKY: Yeah. This is Gary              3       Q How many did you consider in total?
           4    Svirsky from O'Melveny & Myers. I have a few            4       A Are you talking about Libby or -- and what
           5    questions for Dr. Whitehouse.                           5   first deposition? In March or two years ago?
           6               MR. BERNICK: How long is it going to         6       Q I'm referring to the deposition in March.
           7    take, roughly?                                          7       A I think --
           8               MR. SVIRSKY: I don't know. It depends        8       Q How many did you consider in total, sir?
           9    on how much Dr. Whitehouse has to say. Maybe twenty     9       A Well, basically, I'm not sure I can answer
          10    minutes. Maybe thirty minutes.                         10   that question. Basically, I see most of the patients
          11               MR. LEWIS: Can we take a break then?        11   at the CARD Clinic at one time or another and I ask
          12               MR. SVIRSKY: I'm happy to defer to          12   most of them about their exposure histories.
          13    anybody else in the room who wants --                  13       Q Could you give an approximate number of the
          14               MR. BERNICK: No, no, we're all dying        14   number of individual exposure histories you
          15    to hear your questions.                                15   considered in rendering your opinion in this case?
          16               MR. SVIRSKY: Oh, okay.                      16       A That's a hard question to answer because I
          17               MR. BERNICK: We're not sure why -- why      17   don't keep track of it, but I'm sure well over a
          18    Arrowood would have any particular interest in this    18   thousand.
          19    case, but that's also a subject of curiosity, so go    19       Q Is it over two thousand, sir?
          20    ahead.                                                 20       A Well, not in Libby, no. It's less than that.
          21          Oh, do you want to take a break?                 21       Q And how many individuals from Libby did you
          22               MR. LEWIS: Just a very short --             22   consider?
          23               MR. BERNICK: We'll take a short break.      23       A Well, that thousand that I told you about is
          24    We'll let you know when we come back.                  24   probably the ones that I've taken exposure histories
          25               MR. SVIRSKY: All right. Let me know         25   from.

                                                            Page 323                                                       Page 325
           1    when you're ready.                                      1      Q I see.
           2               THE VIDEOGRAPHER: We're going off the        2         And are there others outside of Libby that
           3    record. The time now is 4:12 p.m.                       3   you considered in rendering your opinion in this
           4                  (Recess.)                                 4   case?
           5                   (Mr. Bernick exits.)                     5      A Well, yeah, all the patients that I saw for
           6               THE VIDEOGRAPHER: We're back on the          6   Hanford and other asbestos places in the past, mostly
           7    record. The time is now 4:24 p.m.                       7   prior to 2002, and there's probably 500 of those.
           8                    EXAMINATION                             8      Q Okay. And where did you get those patients'
           9    BY MR. SVIRSKY:                                         9   information, the ones outside Libby?
          10        Q Dr. Whitehouse, can you hear me?                 10      A Oh, I took it myself.
          11        A I can.                                           11      Q Now, there's a database that's been referred
          12        Q Okay. Good afternoon. My name is Gary            12   to as the 550 database. Are you familiar with that?
          13    Svirsky. I'm an attorney at O'Melveny & Myers. I       13      A I am.
          14    represent Arrowood Indemnity Company formerly known    14      Q Other than the lost 550 database, how many of
          15    as Royal Indemnity Company.                            15   the patient histories have you considered both inside
          16          I've got just a few questions for you, and       16   Libby or within Libby and outside Libby are still in
          17    since we're doing this by phone, please let me know    17   your possession?
          18    if you can't hear me or something comes across         18      A Oh, the histories? All of them. They're all
          19    garbled and I'll try and restate.                      19   at the CARD Clinic. Is that what -- is that what
          20        A Okay.                                            20   you're referring to in those patients?
          21        Q Fair?                                            21      Q Well, I'm talking -- the CARD Clinic is --
          22        A Understood.                                      22   does not contain the Libby individuals, does it?
          23        Q Okay. Now, Dr. Whitehouse, am I correct that     23      A Yes, it does.
          24    you stated in your first deposition that you have      24      Q It does.
          25    considered hundreds of exposure histories from         25         So you just told me you considered about a

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           1     thousand individuals within Libby; is that correct?       1      A No, I don't have that now, although the
           2        A Or probably more, but I don't know -- you            2   database in Libby does have it.
           3     know, I've seen most of the patients in Libby at one      3      Q I'm sorry. Can you say that again, please?
           4     time or another, but some of them I didn't need to        4      A The Libby database does have it and it now is
           5     take an exposure history from them. It was already        5   nearly at a point where it can function.
           6     well done. I didn't need to do it.                        6      Q But you don't know offhand what the
           7        Q Of those individuals within Libby whose              7   percentage is?
           8     exposure history you considered, how many are still       8      A No.
           9     in your possession?                                       9      Q Did you ever consider how many of the
          10        A They're in the possession of the CARD Clinic,       10   individuals that you -- whose histories you reviewed
          11     every one of them. Every patient that I saw in my        11   worked at blue collar jobs other than Grace?
          12     private practice and at the CARD Clinic's chart          12      A Yes.
          13     remains at Libby unless for some reason it got lost      13      Q And what percentage of individuals would that
          14     when I quit my practice in 2004.                         14   be?
          15        Q And have you produced those in this action,         15      A I don't know the exact percentage, but I know
          16     sir?                                                     16   there were people that worked in the lumber mill
          17        A As far as I know, everything has been               17   which was blue collar jobs and had some exposure to
          18     produced, yes.                                           18   asbestos as well.
          19        Q And what about the patient histories for            19      Q What was -- not as an exact number, but
          20     individuals outside Libby? How many -- you said you      20   what's your best sense of that number?
          21     considered about 500 or so of those; is that correct?    21      A Ah, geez. You know, I really don't know.
          22        A I have none of those charts. Those charts           22   Probably less than ten percent, but I don't know the
          23     have undoubtedly been destroyed by now because           23   number. The lawyers have that number.
          24     there's a seven-year statute of limitations and they     24      Q Did you consider whether any of the
          25     were in the possession of another pulmonary group        25   individuals from Grace had worked at blue collar jobs

                                                               Page 327                                                       Page 329
           1    that act as the -- sort of the safe keeper and             1   other than Grace?
           2    distributor of them after I quit practice, so those        2       A Yes. That's what --
           3    probably do not exist any more because they just           3       Q Is that the ten percent answer you gave me or
           4    finished, I think, in the last couple of years             4   is that a different number?
           5    cleaning out a lot of old charts.                          5       A No, that's that ten percent that I -- that's
           6        Q Now, Dr. Whitehouse, how many of the                 6   not very exact. There were people that worked
           7    individuals whose histories you reviewed claim that        7   outside of Libby around asbestos.
           8    they were exposed to asbestos from sources other than      8       Q And do you know what percentage of
           9    Grace?                                                     9   individuals that was?
          10        A You mean the ones in Libby?                         10       A No.
          11        Q All the individuals you reviewed.                   11       Q Did you ever consider whether any individuals
          12        A Well, the ones that I reviewed, you know, in        12   whose history you reviewed worked in ship building?
          13    my office previously, none of them had Grace              13       A Yeah, there were some that did work in ship
          14    exposures, those 500. The ones that I saw in Libby        14   building and there were some in Libby that had worked
          15    all had exposure in some form or another to Libby         15   in ship building. Some of them were in the Navy
          16    asbestos. They also -- some of them had exposure to       16   also.
          17    other forms of asbestos in their employment.              17       Q How many would that be?
          18        Q How many of the individuals who had --              18       A I have no idea. You're asking me numbers
          19    withdrawn.                                                19   that I haven't kept track of. Not a lot. Probably
          20           What percentage of the individuals had             20   twenty, thirty at the most.
          21    exposure to sources other than Grace?                     21       Q Did you consider how many of the individuals
          22        A I have no idea.                                     22   whose histories you reviewed had done work with brake
          23        Q So is it correct that you did not attempt to        23   linings?
          24    quantify what share of the individuals in Libby had       24       A That question was asked and it was a very
          25    exposure to asbestos from sources other than Grace?       25   small insignificant number.

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           1                   (Ms. Rickards returns from                1       Q And was there any time frame you used for
           2                    recess.)                                 2   temporary residents?
           3       Q (By Mr. Svirsky) Did you do -- did you              3       A No, it was just recorded as to how long they
           4    consider how many individuals had been exposed to        4   lived there or whether they vacationed there or what
           5    brake linings in their homes fixing their own cars?      5   the case may be.
           6       A No, I never asked that question.                    6       Q Did you break out the effects for miners
           7       Q Did you consider how many individuals were          7   versus non-miners?
           8    exposed to gaskets, either professionally or in doing    8       A Oh, yes.
           9    personal repairs?                                        9       Q Did you break out for smokers versus
          10       A Not specifically.                                  10   non-smokers?
          11       Q Is that a no or is there a portion that's          11       A Yeah, we have that in the database too.
          12    not -- specifically that's a yes?                       12       Q And for smokers, you broke it out by how much
          13       A I guess that's a no.                               13   they smoked?
          14       Q Did you ever consider how many of the              14       A Yes.
          15    individuals whose histories you reviewed were exposed   15       Q And do you know how many of the individuals
          16    to any form of insulated piping, either                 16   in Libby were smokers?
          17    professionally in their work or in doing repairs at     17       A No. It's got the highest incidence of
          18    home or elsewhere?                                      18   smoking quitting (sic) in the world, I think, since
          19       A No, there's a fair number that were, but,          19   2000. Almost every smoker quit.
          20    again, I don't have a number on that.                   20       Q Do you know how many were smokers before
          21       Q Did you consider how many individuals worked       21   2000?
          22    with insulated piping not professionally, at home       22       A No, but it probably was like the general
          23    doing repairs?                                          23   population of a blue collar area, and I think a large
          24       A I don't think I asked that.                        24   number of the miners smoked, most of them probably.
          25       Q Did you consider how many people did welding       25       Q What is the ratio for the general population?

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           1    professionally or otherwise?                             1       A What do you mean? Of miners?
           2       A Yeah, we do have that in the database, yes.         2       Q Yeah. You just said it's probably like the
           3       Q Did you specifically consider how many              3   general population of blue collar workers.
           4    individuals worked with welding rods in a                4          What is the ratio of the general population
           5    non-professional setting?                                5   for blue collar workers who were smokers before 2000?
           6       A No, I don't have numbers of any of those            6       A I don't know.
           7    things that you're asking me.                            7       Q Do you know approximately?
           8       Q Well, I wasn't asking for a number, sir. I          8       A No.
           9    was asking whether you considered that.                  9       Q You have no idea?
          10       A I don't remember whether we considered that        10       A No, I don't live in Libby to begin with, and,
          11    or not. I think we just talked about welding.           11   you know, I know some areas where there was blue
          12       Q Now, did you consider the effects of asbestos      12   collar workers, but I don't know what the total is,
          13    exposure as they're differentiated between men and      13   you know. It's a blue collar company town pretty
          14    women?                                                  14   much.
          15       A No, we have not yet.                               15       Q Do you have -- do you have any sense of what
          16       Q Did you ever breakdown --                          16   the general population of blue collar workers in the
          17              MR. LEWIS: We couldn't hear that              17   United States was that smoked before 2000?
          18    question. There was an interruption on the line or      18       A No.
          19    something. I'm sorry, Counsel.                          19       Q Do you know what it was in Washington state?
          20       Q (By Mr. Svirsky) Did you -- for the                20       A No.
          21    individuals whose histories you considered,             21       Q Did you consider how many of the individuals
          22    Dr. Whitehouse, did you ever break it down into         22   from Libby whose histories you considered have
          23    permanent residents of Libby versus temporary           23   alleged asbestos-related bodily injury claims against
          24    residents?                                              24   other defendants other than Grace?
          25       A Yeah, that's all been broken down.                 25       A No, I do not. I only actually know of one,

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           1    but there may be more.                                   1   opinion?
           2        Q I'm sorry. You said you know of one?               2       A That's where it all came from. It came from
           3        A That's the only -- I only know of one.             3   the Libby -- or W.R. Grace's vermiculite mine.
           4        Q How did you learn about that one?                  4   That's where all the asbestos in town came from.
           5        A It was a patient of mine.                          5       Q Other than the asbestos in the mine, did you
           6        Q So other than -- withdrawn.                        6   account for other ambient asbestos in Libby -- in the
           7           So you just learned about it randomly from        7   area of Libby, Montana?
           8    speaking to your patient?                                8       A Not that we're aware of. I don't think there
           9        A It was a patient I saw and he told me about        9   is any other.
          10    it a long time ago, probably close to ten years ago,    10       Q Did you conduct any tests to determine
          11    and I sent a bunch of stuff off to a lawyer             11   whether there was any other asbestos or review any --
          12    somewhere, and I can't even remember where and that's   12   anybody else's tests in that regard?
          13    the last I heard of it.                                 13       A No, not really.
          14        Q So other than randomly finding out that           14       Q Are there activities that disturb asbestos
          15    information from one of your patients, you did not      15   that's naturally occurring to release it into the
          16    specifically look for that information to consider;     16   air?
          17    is that right?                                          17       A You mean in Libby?
          18        A No, I think we did. I think we generally          18       Q Yes.
          19    asked people about legal actions and things and there   19              MR. LEWIS: Object as to the form of
          20    aren't very many people out there that do except for    20   the question.
          21    against Grace.                                          21              MR. SVIRSKY: I'll ask it again or
          22        Q I'm sorry. When you said legal actions, what      22   differently.
          23    were you referring to, sir?                             23       Q (By Mr. Svirsky) Are there activities in
          24        A I was referring to people at the CARD Clinic      24   general anywhere, Libby or elsewhere on the planet,
          25    who had legal actions against other -- other            25   that would disturb asbestos naturally occurring in

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           1    companies other than W.R. Grace.                         1   the environment to release asbestos particles in the
           2       Q And you factored that into your analysis,           2   air?
           3    sir?                                                     3        A Sure, there are. There's lots of them.
           4       A No.                                                 4        Q What are some of those activities,
           5       Q No.                                                 5   Dr. Whitehouse?
           6          How did you quantify the impact of asbestos        6        A Oh, there's one around Sacramento,
           7    from sources other than Grace on the population in       7   California. It's a district where they're building a
           8    Libby that you reviewed for your report?                 8   lot of buildings. There's apparently a bunch of
           9       A In many respects, we actually haven't done so       9   homes in southern California that have it used as
          10    because it's not possible to do it. Most of the         10   fill in their homes, and there's other places, rock
          11    exposure that people had, they weren't even very        11   quarries in New Hampshire have asbestos. There's
          12    familiar with how much exposure they had, and so the    12   probably some asbestos in South Carolina in Grace's
          13    best we can estimate is whether it was a big exposure   13   vermiculite mine. It's all over.
          14    or a small exposure from what they tell us, and aside   14        Q And what activities disturb -- cause the
          15    from that, it's not possible to factor it into          15   release of that asbestos to increase in the air?
          16    anything.                                               16        A Well, the obvious is mining and digging it
          17       Q Now, Dr. Whitehouse, you're aware that             17   up, but aside from that, I don't know. I'm not an
          18    asbestos is naturally present in soil and rock and      18   expert in that and I don't deal with that.
          19    elsewhere in the environment, are you not?              19        Q So is it fair to say that you did not account
          20       A Yes.                                               20   for any factors that might have released naturally
          21       Q And it's a fact that asbestos is naturally         21   occurring asbestos in the area of Libby into the air
          22    present in the area of Libby, Montana, is it not?       22   other than through mining activities?
          23       A No doubt.                                          23        A Oh, no. People went up to the mine and got
          24       Q Did you account for that presence of natural       24   vermiculite and they hauled it down in their pickups
          25    asbestos in Libby, Montana, in rendering your           25   and put it in their backyard and their attics and

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           1    their gardens and paved the school tracks, paved          1       A Well, the EPA has done extensive tests, and
           2    roads. They did all kinds of things with it, and          2   if you need to look at that in detail, you can ask
           3    that was outside of the mining itself.                    3   the EPA for the data which is public data.
           4       Q Did you consider the release of asbestos             4       Q Dr. Whitehouse, my question was whether you
           5    other than what you just described as asbestos that       5   reviewed any materials that measured naturally
           6    was mined and then brought to the town and used?          6   occurring asbestos in the area of Libby, Montana.
           7       A Well, you know, we knew that the lumber mill         7       A No, I have not.
           8    had some chrysotile in pipe insulation. That's the        8       Q Now, who determined what documents or other
           9    only other source of asbestos that we know of.            9   materials you reviewed to prepare your expert report
          10       Q Did you account for that asbestos in your           10   in this case?
          11    analysis?                                                11       A Oh, this is a compilation of articles and
          12       A We haven't done analyses that would -- I'm          12   research and medical stuff that goes back ten years.
          13    not sure what you're talking about. Account for it       13   Large amounts of stuff that I've collected,
          14    in an analyses, tell me what you mean.                   14   literature, particularly large volumes of literature.
          15       Q How did you factor in the asbestos in the           15       Q My question was: Dr. Whitehouse, who
          16    lumber mills in to rendering your report?                16   determined what you reviewed?
          17       A We don't. I haven't.                                17       A I determine what I review.
          18       Q And how did you account for naturally               18       Q So that was solely in your own discretion; is
          19    occurring asbestos elsewhere in the area of Libby,       19   that right?
          20    Montana, other than what was mined and otherwise used    20       A Well, I get things through the clinic
          21    in the town in rendering your report in this case,       21   sometimes. You know, a fellow that I work with in
          22    Dr. Whitehouse?                                          22   the clinic gets articles occasionally, and he has
          23       A We haven't. There isn't any.                        23   PubMed, and occasionally we look up things there, so
          24       Q I'm sorry. You said there isn't any. What           24   there's just a variety, but that's where it comes
          25    do you mean there isn't any?                             25   from.

                                                              Page 339                                                       Page 341
           1       A I don't think there's any other naturally            1       Q Did the attorneys who retained you to render
           2    occurring asbestos around except what's associated        2   a report here direct you to any materials to review
           3    with the mine.                                            3   in connection with your report?
           4       Q Well, perhaps I didn't hear you correctly            4       A Yeah, they've given me materials also.
           5    over the phone. I thought you said you never              5       Q What materials did they give you?
           6    conducted any tests to determine how much naturally       6       A Mostly it's published articles that they run
           7    occurring asbestos there was in Libby, Montana, other     7   across for some reason or another.
           8    than in the mine.                                         8       Q Anything else?
           9       A I don't -- I don't know that you understand.         9       A Not really. The stuff that they have used an
          10    I'm a practicing chest physician, not an analytic        10   accountant to put together is all stuff that I
          11    chemist or anything like that. I don't do that kind      11   developed.
          12    of testing.                                              12       Q Now, did you turn over in this case all the
          13       Q Well, that's fine, sir. I just want to -- I         13   documents that you reviewed or relied upon in
          14    just want to have a record of what you did and didn't    14   rendering your report by March 16, 2009?
          15    do.                                                      15       A I believe I did. The lawyers were
          16          And just so we have it clear, you did not          16   responsible for some of those reports getting sent
          17    conduct any test to determine what naturally             17   too, so I turned over everything I was supposed to.
          18    occurring asbestos there was in Libby, Montana, other    18       Q To whom did you turn everything over to?
          19    than what was in the mine, right?                        19       A Well, John Heberling who's the attorney at
          20       A That's correct.                                     20   Kalispell that is doing a lot of this work is -- he's
          21       Q And you didn't review any materials that            21   the one that has the various documents and that gets
          22    anybody else had prepared to determine how much          22   turned over, things that I've developed and things
          23    naturally occurring asbestos there was in the area of    23   that -- I've written also about things in the
          24    Libby, Montana, other than what was the mine,            24   literature that I've had. It's just -- all of it
          25    correct?                                                 25   goes through him to be delivered to W.R. Grace.

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           1        Q So just to be clear, by March 16 of 2009,          1                MR. LEWIS: That's Exhibit-3 to this
           2    it's your testimony that you have produced to            2   deposition for the record.
           3    Mr. Heberling or his associates or partners              3       Q (By Mr. Svirsky) Now, in addition to
           4    everything that you reviewed or relied upon in           4   Exhibit-3 to this deposition, have you produced any
           5    rendering your report in this case; is that right?       5   documents after May 27, 2009, for production in this
           6        A Yes, and I have produced everything that           6   litigation?
           7    anybody has asked me to produce.                         7       A I don't believe so. I'm not sure. I don't
           8        Q But you don't know whether Mr. Heberling           8   think so.
           9    produced by that date to all the parties to this         9       Q Okay. Now, other than the -- some of the
          10    litigation; is that right?                              10   files in connection with the 1,800 active cases in
          11        A I have no idea.                                   11   paragraph two of your report, are there any other
          12        Q Now, in paragraph two of your expert report,      12   documents that you reviewed or relied upon in
          13    you mention 1,800 active cases. I assume you have a     13   rendering your opinions that have not been produced
          14    copy of your report somewhere?                          14   in this litigation?
          15        A I do.                                             15       A Well, I have a bibliography of about 1,000
          16        Q Do you see that reference to 1,800 active         16   literature articles that I've read, multiple
          17    cases?                                                  17   textbooks.
          18        A Yes.                                              18       Q Leaving aside the list of materials in your
          19        Q Have you turned over all the medical records      19   bibliography, are there any other materials or
          20    in connection with those 1,800 cases?                   20   documents that you relied upon in rendering your
          21        A I haven't personally and I have no idea           21   opinions?
          22    whether they've been turned over at this point or       22       A I don't think so. I think it's all been
          23    not. I don't think all 1,800 have.                      23   produced.
          24        Q How many have been turned over?                   24       Q Other than what you described about the 1,800
          25        A Well, I know all the claimants' records have      25   active cases in paragraph two, right?

                                                             Page 343                                                       Page 345
           1    been turned over and a significant number of my          1       A Yeah, and I don't know what the status of all
           2    records that are not claimants, but I don't know how     2   that is.
           3    many actually totally have been turned over.             3       Q Now, in connection with the so-called 550
           4        Q But not all of the 1,800 have been turned          4   database, was any of the data that was lost there
           5    over in production; is that right, sir?                  5   kept in any other source?
           6        A I don't really know for sure. I understand         6       A No, the data actually is all -- the feds have
           7    there may not be, but that's not my responsibility.      7   all the data. They were given it, the Department of
           8        Q I'm not blaming or accusing you,                   8   Justice for the criminal trial. Unfortunately, the
           9    Dr. Whitehouse. I just want to get the record on         9   names were all redacted and so there's -- there's not
          10    this.                                                   10   really any clear way to identify it except by date of
          11        A Well, that's the best answer I can give you.      11   birth and it can probably be identified that way.
          12    I'm sorry.                                              12   Those are mostly non-claimants, and so there were a
          13        Q Since May 27, 2009, have you produced to          13   lot of charts that were given to the government or
          14    Mr. Heberling or any of the lawyers he works with any   14   given to Grace a long time ago, four, five years ago
          15    additional medical records or documents for             15   that were all redacted except that I understand for
          16    production in this case?                                16   the date of birth, and so it's all retrievable
          17        A Well, we brought here what's called a final       17   because I have a list of the names of the people now,
          18    key which is the names of all the Libby claimants       18   but I don't have any charts that go with them, so
          19    with a number that corresponds, I think, to a           19   it's possible to recreate that, although it'd take
          20    numbering of charts that they already have, and also    20   some work to do it.
          21    in there indicates just their birth date and there's    21       Q I'm sorry. You said it is possible to
          22    initials for people that do not have attorneys or are   22   recreate that -- that data?
          23    not claimants in this case, and those records have      23       A Well, possibly except that unfortunately,
          24    been redacted and sent over, I would think too, and     24   you're not going to get the names because of HIPAA
          25    there's a total of 1,030 in this list.                  25   laws. These were mostly my patients and not CARD

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                                                            Page 346                                                       Page 348
           1    patients. I mean, some of them. Some of them          1     it hourly or piecemeal or another way?
           2    certainly are CARD patients, and I don't know what    2         A Hourly.
           3    the breakdown is.                                     3         Q And how many hours -- what was your hourly
           4        Q And what would you look to to recreate that     4     compensation rate?
           5    data? What information would you look to?             5         A Right now it's 350 for depositions and 300
           6        A You'd have to have all the charts there with    6     for reviewing records, but probably at the beginning
           7    all the date of births, if they're still intact on    7     of this was like -- you know, this all began about
           8    the charts, and then I'd have to review them, and I   8     twelve or fourteen years ago, so it was probably
           9    guess we can tell you which ones have lawsuits and    9     considerably less then.
          10    which ones don't.                                    10         Q So how many hours would you say you've spent
          11           You wouldn't be able to get any further       11     on this case?
          12    information in the ones that don't have lawsuits.    12         A On this case or the bankruptcy or everything
          13    The data on -- you know, the data is basically junk  13     else?
          14    because I stopped keeping it. It was kept sort of    14         Q Yeah, the bankruptcy now. Let me rephrase
          15    erratically after I closed my practice, and so it's  15     that.
          16    not very accurate.                                   16            How many hours did you spend to prepare the
          17           Everybody's interested in that. I'm not sure  17     report that was submitted in this case?
          18    why.                                                 18         A You know, really, I don't know because the
          19        Q Do you still have the charts and the           19     report has been done piecemeal. It keeps getting
          20    background data that you described from which you    20     changed periodically when new data becomes available,
          21    could recreate the 550 database?                     21     and then parts of the old -- some of the parts of
          22        A I do not. I was provided with a chart of the   22     this report go back probably four or five years and
          23    names which came from the CARD Clinic because they 23       other parts are new.
          24    kept a list of who they sent to Grace in 2005 or so, 24                MR. LEWIS: Counsel, we've been going
          25    and I don't have -- I have nothing left on my        25     for over seven hours and I think that's the cutoff

                                                            Page 347                                                       Page 349
           1    computer with that. I had a computer crash and lost     1   point. How much more do you have?
           2    it, and I didn't -- unfortunately, I did not have it    2               MR. SVIRSKY: I'm just about done here.
           3    backed up.                                              3               MR. LEWIS: Okay. Let's speed it up
           4          I suspect I didn't back it up because I knew      4   then, please.
           5    that the CARD had it and that the Department of         5       Q (By Mr. Svirsky) All right. Did you submit
           6    Justice had it and I didn't worry about it because I    6   billing statements for your work here to get
           7    wasn't using it, so I didn't -- we didn't track it      7   compensated?
           8    down at that time. It wasn't worth doing.               8               MR. LEWIS: Objection. Counsel, you're
           9        Q So the CARD Clinic has the background             9   talking about here. This doctor has testified at a
          10    information that one would need to recreate the 550    10   federal criminal trial. He's participated in the
          11    database?                                              11   workup on that.
          12        A They might be able to. They can't do it          12               MR. SVIRSKY: Well, let me just correct
          13    without me.                                            13   that, so it's clear.
          14        Q Have you tried to recreate the 550 database      14               MR. LEWIS: Yeah.
          15    by looking at the CARD Clinic information?             15       Q (By Mr. Svirsky) Did you submit billing
          16        A No.                                              16   statements in general for any work you did in
          17        Q Now, Dr. Whitehouse, how much have you been      17   connection with Libby claimants and bankruptcy or the
          18    paid in connection with your expert opinion and        18   criminal trial or elsewhere so that you could get
          19    testimony in this matter?                              19   paid for your services?
          20        A What, today or when?                             20       A Yeah, I have. Every month, I keep it up to
          21        Q In total.                                        21   date.
          22        A I already told Mr. Bernick -- or was it          22       Q Have those billing statements been produced
          23    Mr. Finch, I guess -- that probably over a long        23   in discovery in this case?
          24    period of time, over $100,000.                         24       A No.
          25        Q And on what basis were you compensated? Was      25       Q Have you received any compensation from any

                                                                                                             88 (Pages 346 to 349)
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                                                                Page 350                                                       Page 352
           1     individual claimant?                                       1   been a lot since 2001. It's about four occupational
           2         A No.                                                  2   medicine cases and no trials and then the criminal
           3         Q Who pays you?                                        3   trial.
           4         A Attorneys.                                           4       Q Have you prepared any report with respect to
           5         Q Mr. Heberling?                                       5   any of the Libby claimants since 2001?
           6         A Mr. Heberling, the Department of Justice.            6       A Oh, yeah, it's a huge report.
           7     There will be a bill that goes to the Grace attorneys      7       Q Okay. Let me clarify. I mean on behalf of
           8     for today.                                                 8   an individual claimant --
           9         Q Are you still -- are you treating any of the         9       A No.
          10     Libby claimants now?                                      10       Q -- for a specific claim.
          11         A Yeah, I still go up there once a month.             11       A No.
          12         Q How many Libby claimants are your patients          12              MS. DeCRISTOFARO: Those are my only
          13     now?                                                      13   questions. Thank you very much.
          14         A Well, I really don't know because we're --          14              THE WITNESS: Okay.
          15     we're -- you know, I see a lot of them once a year,       15              MR. LEWIS: Anyone else?
          16     and I probably see ten to fifteen once a month when       16              THE VIDEOGRAPHER: We are going off the
          17     I'm up there, so I probably see 150, 200 a year. I        17   record. The time is now 5:01 p.m. This is the end
          18     don't know the exact number though.                       18   of disk number four and, herein, ends the deposition
          19                MR. SVIRSKY: Thank you for your -- for         19   for today.
          20     staying behind to answer my questions,                    20                 (Signature reserved.)
          21     Dr. Whitehouse. I don't have anything else.               21                 (Deposition concluded
          22                THE WITNESS: Okay.                             22                   at 5:01 p.m.)
          23                MS. DeCRISTOFARO: Mr. Lewis, this is           23
          24     Elizabeth DeCristofaro. I have just two questions         24
          25     quickly.                                                  25

                                                                Page 351                                                       Page 353
           1               MR. LEWIS: There's no problem with               1
           2    that, ma'am.                                                2
           3                     EXAMINATION                                3               S-I-G-N-A-T-U-R-E
           4    BY MS. DeCRISTOFARO:                                        4
           5        Q Okay. Dr. Whitehouse, my name is Elizabeth            5
           6    DeCristofaro. I just wanted to know -- following up         6
           7    on the questions you were just asked -- have you            7
           8    testified on behalf of a Libby claimant since April         8                       I declare under penalty of perjury
           9    2001?                                                       9   under the laws of the State of Washington that I have
          10        A How did I what?                                      10   read my within deposition, and the same is true and
          11               MR. LONGOSZ: Have you.                          11   accurate, save and except for changes and/or
          12        Q (By Ms. DeCristofaro) Have you testified?            12   corrections, if any, as indicated by me on the CHANGE
          13               MR. LEWIS: Since April 2001?                    13   SHEET flyleaf page hereof. Signed
          14               MS. DeCRISTOFARO: Yes.                          14   in...............WA on the......day
          15        A Oh, yes, since before that.                          15   of.................., 2009.
          16        Q (By Ms. DeCristofaro) Well, no, since that           16
          17    time.                                                      17
          18        A Oh, yeah, I have.                                    18
          19        Q And in what cases have you testified on              19                    ..........................
          20    behalf of a Libby claimant?                                20                    ALAN C. WHITEHOUSE, M.D.
          21        A Well, I testified in several occupational            21                    June 16, 2009
          22    medicine cases. They are actually in the expert            22
          23    report, a list of what I've testified to, so if you        23
          24    have a copy of that, it'll give you the -- give you a      24
          25    list of what I've testified to, and there has not          25   cmz

                                                                                                                 89 (Pages 350 to 353)
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                                                                         Page 354
           1   STATE OF WASHINGTON ) I, CATHY M. ZAK,
                             ) ss CCR# 1922 a duly
           2   County of King     ) authorized Notary
                AU Th fil


                                 Public in and for the
           3                     State of Washington
                  TH e o e w ing


                                 residing at Bellevue,
                    EN rig as

           4                     do hereby certify:
           5
                      TI

           6
                        C

                             That the foregoing deposition of
           7   ALAN C. WHITEHOUSE, M.D., was taken before me and
                          C cer tron ga
                           i



               completed on June 16, 2009, and thereafter was
                            O
                            na



           8   transcribed under my direction; that the deposition
                              PY tifie ica l te
                               l




               is a full, true and complete transcript of the
                                 us




           9   testimony of said witness, including all questions,
                                  e




               answers, objections, motions and exceptions;
                                    le alL




          10
                                      c

                                        d
                                        R




                           That the witness, before examination,
                                          e



                                          E- ly s hno



          11   was by me duly sworn to testify the truth, the whole
               truth, and nothing but the truth, and that the
                                            Tr ign lo




          12   witness reserved the right of signature;
                                              e



                                              an e gy
                                              l




          13               That I am not a relative, employee,
                                                sc d



               attorney or counsel of any party to this action or
          14   relative or employee of any such attorney or counsel
                                                  rip




               and that I am not financially interested in the said
                                                    c



                                                      t




          15   action or the outcome thereof.
          16               IN WITNESS WHEREOF, I have hereunto
               set my hand and affixed my official seal on June 22,
          17   2009.
          18
                                                        .




          19
          20
          21
          22
                        Cathy M. Zak, CCR
          23            Notary Public in and for the State
                        of Washington, residing at Bellevue.
          24
          25




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